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                                         Procedures Manual




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                                                                     Introduction
                                   Purpose
                                   This manual serves as a general overview of how business processes in
                                   mortgage banking are affected by MERS® System policies and
                                   procedures. This information will help you assess the impact of the
                                   MERS® System on your own business and business processes. Use this
                                   manual in conjunction with other sources of instruction and guidelines,
                                   including, but not limited to the following:
                                          MERS® OnLine User Guide
                                           Gives step-by-step instruction for using MERS® OnLine

                                          MERS® Integration Handbook, Volume I
                                           Provides detailed information on becoming MERS® Ready

                                          MERS® Integration Handbook Volume II
                                           Provides the technical specifications for interacting with the
                                           MERS® System. This manual is of most use to Members that
                                           send flat file or EDI X12 transmissions.

                                          MERS® System Reports Handbook
                                           Provides descriptions of available MERS® Reports

                                          MERS® EDI Implementation Guide
                                           For Members who are using the EDI X12 interface

                                          MERS® Quality Assurance Procedures Manual
                                           Details MERS® System requirements for Quality Assurance

                                          MERS® Lite Tool Kit
                                           Useful for Lite Members (Members who don’t service MERS®
                                           System registered loans)

                                   These documents are available from the corporate website at
                                   www.mersinc.org.




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                                   Structure
                                   Each chapter contains four parts:
                                          Overview. The overview gives a brief description of the process
                                           or function and how it relates to the MERS® System.

                                          Impact. The impact states what types of organizations the
                                           process affects.

                                          Business Procedures. The business procedure gives a step-by-
                                           step view of the process, including business-related steps and
                                           general MERS® System instruction. The business procedure lists
                                           information that can be entered onto the MERS® System.
                                           Specific system instruction, including system-required fields, is
                                                               ®
                                           found in the MERS OnLine User Guide. More information
                                           about which fields are required procedurally may be found in
                                           the MERS® Quality Assurance Procedures Manual.
                                          Reports. This section lists reports produced during the business
                                           process. For a detailed description of each report, see the
                                           MERS® System Reports Handbook.




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                                                                                                            ®
                          Membership in the MERS
                                           System
                                     Overview
                                     Participants from all sectors of the real estate finance industry have
                                     varying levels of access and use of the MERS® System. These
                                     participants include lenders, investors, servicers, brokers, custodians,
                                     and title companies. Some participants are Members; some are not,
                                     depending on their needs. Each Member goes through an application
                                     and approval process, which is outlined in the following pages, to
                                     become a Member of the MERS® System.


                                     Impact
                                     This process has potential impact on all new MERS® System Members.


                                     Business Procedure
For more detailed information        1. Submit a completed MERS® System application to MERSCORP, Inc.
regarding technical requirements
and network connectivity, refer to      Offices.
the MERS® System Integration                 You will be assigned an Org ID
Handbook Volume II, which is
available on the corporate website              The MERSCORP Membership Team will work with you on
at www.mersinc.org. The MERS®
EDI Implementation Guide is also                 preliminary steps to get you ready for MERS® System
available on the website.                        integration, including:
                                                     o Identify an implementation Project Manager
                                                     o    Form an integration team
                                                     o    Notify technology vendors of your intention to
                                                          become a MERS® System Member
                                                     o    Notify investors, document custodians, and
                                                          warehouse gestation lenders of your intentions to
                                                          become a MERS® System Member
                                                             o    Set a target implementation date
                                                             o    Determine if new business partner
                                                                  agreements are needed
                                                Once these preliminary steps are done, the Membership
                                                 Manager will recommend your company for integration.

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                                   2.      During integration, you will:
                                            Confirm your implementation date
                                            Confirm your document preparation system has MERS
                                               language
                                            Confirm you can generate a valid MIN
                                            Document your revised MERS® System process flows
                                            Determine your system access and security levels in
                                               accordance with your line of business and transaction
                                               requirements
                                            Install system interfaces to the MERS® System, if needed
                                            Develop the required servicing or origination system and
                                               document preparation enhancements, if needed
                                            Test the required servicing or origination system
                                               enhancements, if needed
                                            Develop and implement a quality assurance program for the
                                               MERS® System, and submit your MERS® System quality
                                               assurance plan to MERSCORP, Inc.
                                            Attend a MERS® OnLine training session
                                            Train your staff on the use of the MERS® System
                                   3.      After integration, you will:
                                            Be given access to the Corporate Resolution Management
                                               System (CRMS) to propose officers of your company as
                                               MERS Signing Officers
                                            Complete the Customer Integration survey


                                   Using a Third Party Originator
                                   As of March 31, 2012, any broker or affiliate originating “MERS as
                                   Original Mortgagee” (MOM) loans must be a MERS® System Member.
                                   You may register the loans on the MERS® System for your broker or
                                   affiliate, but must enter their Org ID in the Originating Org ID field.
                                   If you buy closed loans from a broker or affiliate who is not a MERS®
                                   System Member, you can have the originator assign each loan to
                                   Mortgage Electronic Registration Systems, Inc. and you will need to
                                   register the loans on the MERS® System as Non-MOM, entering the non-
                                   Member originator’s name in the Original Note Holder field.

                                   Reports
                                   No reports are associated with obtaining MERS® System membership.


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                                                          System Security
                                   Overview
                                   There are three levels of identity validation within the MERS® System
                                   security scheme:
                                        Org ID
                                        User ID
                                        User Password
                                   Any attempt to access the system is denied unless all three tiers of
                                   security have been satisfied. MERSCORP, Inc. assigns your Org ID, which
                                   identifies your organization, when your membership application is
                                   approved. At the Org ID level, the system stores your Member
                                   Information (lines of business, contact information, etc.).
                                   Your Lines of Business (LOBs) under Member Information determine
                                   which MERS® System functions you will be able to access. For example,
                                   a Custodian can only view loans for which it is the Custodian, and
                                   cannot access transfer of beneficial rights or loan modifications.
                                   Your MERS® System Administrator is responsible for establishing and
                                   maintaining the security that controls access to the MERS® System and
                                   specific processes within the MERS® System. Your System Administrator
                                   establishes User IDs and Passwords and assigns users to specific roles
                                   that enable certain levels of access in the MERS® System. The System
                                   Administrator also resets passwords, reactivates User IDs, and deletes
                                   unused User IDs.

                                   See the MERS® OnLine User Guide for complete instructions on
                                   setting up and maintaining User IDs and security roles.
                                   As defined by a contractual agreement, your organization may grant
                                   security access to a third party to process specific transactions (e.g.
                                   MERS® System Members that are known as Registrars may be
                                   authorized by you to perform registrations, transfers, updates and lien
                                   releases on your behalf) by setting up a Vendor relationship, but you
                                   may assign User IDs only to persons within your organization.




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                                   Impact
                                   The security process affects the following organizations:
                                          All MERS® System Members
                                          MERSCORP, Inc. Offices


                                   Business Procedure—MERSCORP
                                   Your Business Integration Resource (BIR) enters the following
                                   information on the MERS® System regarding your organization.
                                        Org ID
                                        Company Name
                                        Corporate Address
                                        Phone
                                        Fax
                                        Corporate website address
                                        Parent company, if applicable
                                        FHA approved indicator
                                        Agency ID(s)
                                        Organization’s Line(s) of Business
                                        Contact information
                                        Membership date
                                   Your BIR also provides the MERSCORP Help Desk and Mail Room with
                                   the email address you provide for official notices, including service of
                                   process we receive on your behalf. If this email address changes, you
                                   must notify the Help Desk immediately.


                                   Business Procedure—Member
                                       1. Your MERS® System Project Manager identifies a MERS® System
                                          Administrator.
                                       2. After your Business Integration Resource (BIR) has set up and
                                          activated your company on the MERS® System, your System
                                          Administrator is responsible for keeping the Member
                                          Information current, and notifying MERSCORP if your address,
                                          telephone number, or email address change.




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                                   You are responsible for keeping the following information current once
                                   your organization is activated on the MERS® System.
                                               Company Name
                                                (Notify MERSCORP if this information changes; only
                                                MERSCORP can change Company Name on the MERS®
                                                System)
                                               Corporate Address
                                                (Also notify MERSCORP if this changes)
                                               Phone (Also notify MERSCORP if this changes)
                                               Fax (Also notify MERSCORP if this changes)
                                               Corporate website address
                                               Investor Alternate Address and Indicator
                                               Servicer/Subservicer Alternate Address and Indicator
                                               FHA approved indicator
                                                (Notify MERSCORP if this information changes; only
                                                MERSCORP can change this indicator on the MERS® System)
                                               Agency ID(s)
                                                (Notify MERSCORP if this information changes; only
                                                MERSCORP can change Agency IDs on the MERS® System)
                                               Contact information
                                                (Also notify MERSCORP if primary contact changes.)
                                       3. Your System Administrator assigns each user within your
                                          organization a unique User ID on the MERS® System.
                                       4. Your System Administrator assigns a security role to each User
                                          ID.
                                       5. Your System Administrator resets passwords, deactivates User
                                          IDs and deletes User IDs and Security Roles no longer needed.
                                       6. Your System Administrator maintains your Member Information
                                          section of MERS® OnLine including Address, Phone/Fax
                                          numbers, URL Address and Contact List.
                                       7. Your System Administrator can also give authority to third party
                                          providers so they can perform specific functions on behalf of
                                          your company by setting up a Vendor relationship, but no third
                                          party may be provided a User ID under your Org ID
                                   If the email address to which official notices for your organization
                                   should be sent changes, you must notify the Help Desk immediately.

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                                   Business Procedure—When Using
                                   Third Party Service Providers
                                   Your organization may grant security access to the MERS System to
                                   third parties to process specific transactions on your behalf.
                                   Your System Administrator sets up this security through the Member
                                   Information Relationships section of MERS® OnLine by adding Vendor
                                   relationships. The transactions that may be processed by these vendors
                                   are:
                                            Registrations
                                               Transfers
                                               Lien Releases
                                               Updates
                                               Inquiries
                                   You may not set up a User ID under your Org ID for a third party.


                                   Business Procedure – Associated
                                   Member
                                   The MERS® System provides all Associated Members a central point to
                                   obtain information on a MIN (i.e. current Servicer, current Investor,
                                   Assignment information) with which they are associated.
                                   Any Member can be identified as an Associated Member on a MIN,
                                   provided it is an active MERS® System Member with a valid Org ID. The
                                   following Lines of Business define Associated Members on the MERS®
                                   System:
                                               Collateral Agent
                                               FHLB/FRB
                                               Government Housing Agency
                                               Master Servicer
                                               Mortgage Insurance Co.
                                               Trustee
                                               Warehouse/Gestation Lender
                                               Property Preservation Company
                                               Other


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                                   At the MIN level, the Servicer or Subservicer may identify the following
                                   types of Associated Members:
                                               Collateral Agent
                                               FHLB/FRB
                                               Government Housing Agency
                                               Master Servicer
                                               Mortgage Insurance Company
                                               Trustee
                                               Warehouse/Gestation Lender
                                               Alternate Custodian 1-4
                                               Participation Investor 1-4
                                               Other 1-4
                                               Property Preservation Company 1-4


                                   Reports
                                   The following reports will list Associated Member interest on MINs from
                                   updates received from both batch processing (Flat File/X12) and MERS®
                                   OnLine. For detailed descriptions of these reports, see the MERS®
                                   System Reports Handbook:
                                               Change Notification Report (VB)
                                               MIN Milestone Report (VA)
                                               Registration Rejects/Warning Report (RG)
                                               Seasoned Registration Rejects/Warning Report (RB)
                                               Maintenance Rejects/Warning Report (MB)




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                                   Business Procedure — My MERS
                                   The MERS® System provides you the ability to customize the list of
                                   organizations that appear within the pop up lists on the Registration,
                                   Transfer of Beneficial Rights, Transfer of Servicing Rights and MIN
                                   Information windows through the use of My MERS. This enables you to
                                   see only the list of organizations with which you currently do business.
                                   To customize the pop up lists, you must define those relationships
                                   within your profile and turn on the My MERS option.
                                   Within the Relationships section of the Member Information, you can
                                   select which relationship to view, create or delete. The different types
                                   will appear at the top of the Relationships page in alphabetical order
                                   and include:
                                      Collateral Agent
                                      Custodian
                                      FHLB/FRB
                                      Government Housing
                                      Interim Funder
                                      Investor
                                      Master Servicer
                                      Mortgage Insurance Company
                                      Other
                                      Property Preservation Company
                                      Servicer
                                      Subservicer
                                      Trustee
                                      Vendor
                                       (also included to incorporate Third Party security functionality)
                                     Warehouse/Gestation Lender
                                   Active Members with a line of business equal to the selected
                                   Relationship Type will appear in the pop-up list. (Inactive Members will
                                   not appear in the pop up list.) MERS® System Lite Members will not
                                   show on pop up Org ID lists on a registration or transfer transaction
                                   because it is unlikely another Member will name a Lite Member. Lite
                                   Members can, however, be named in these transactions.
                                   When you have defined your Member Information Relationships, use
                                   the Member Information My MERS option to turn on this option. The
                                   system will not allow you to turn on the My MERS functionality if your
                                   organization has a Vendor Line of Business.


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                                   Business Procedure — Transaction
                                   Default Settings
                                   You can also define default values for the rights holders and option
                                   selections that appear on the Registration, Create TOS, and Create
                                   TOS/TOB pages in MERS® OnLine, using the Member Information
                                   Transaction Default Settings option.
                                   Registration Settings allow you to enter the lien type, MOM indicator,
                                   Pre-Closing indicator, rights holder Org IDs, and Originating Organization
                                   Occupied information you usually enter during Registration. Once
                                   entered in Registration Settings, this information appears whenever you
                                   initiate a new registration, so you don’t need to enter it for each loan.
                                   To enter different information for a particular loan, just enter it as you
                                   would if you hadn’t used Registration Settings.
                                   TOS Settings allow you to enter the rights holder Org IDs and Delete
                                   Current Custodian option you usually enter when creating a Transfer of
                                   Servicing Rights (TOS) or Transfer of Servicing and Beneficial Rights
                                   (TOS/TOB) transaction. Once entered in TOS Settings, this information
                                   appears whenever you initiate a new transfer transaction, so you don’t
                                   need to enter it for each transfer. To enter different information for a
                                   particular transfer, you just enter it the same way you would if you
                                   hadn’t used TOS Settings.


                                   Reports
                                   There are no reports associated with the My MERS or Default
                                   Transaction Settings process.




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                                           Member Information
                                   Overview
                                   Your organization is required to maintain certain portions of your
                                   Member Information to define processing options, billing information,
                                   document handling, and contact information. Your MERS® System
                                   Administrator also maintains information that controls system access
                                   and security. Some portions of the Member Information screens can
                                   only be changed by MERSCORP.
                                   You may change the information within your Member Information at
                                   any time; however, MERSCORP recommends that you designate one
                                   person as a contact for these changes, generally your System
                                   Administrator.
                                   Besides maintaining your Member Information on the MERS® System,
                                   you are responsible for notifying MERSCORP when there is a change to
                                   your corporate name, address, telephone or fax number, or email
                                   address for document images and official notices. You can use the
                                   Company Information Change Request form available on the
                                   corporate website to notify MERSCORP of these changes.
                                   Notification requirements for corporate name changes are described in
                                   the Member Corporate Name Changes chapter. Your notification of
                                   address and email changes should include:
                                          Org ID
                                          Organization Name
                                          Member Type (General, Lite, or Patron)
                                          Other Org IDs affected by change
                                          Name, title, and email address of contact submitting
                                           notification
                                          If address is changing:
                                                o        Old address
                                                o        New address
                                                o        Which offices/contacts are affected
                                                o        Effective Date
                                          If email address is changing:
                                               o       Old email address
                                               o       New email address
                                               o       Effective Date

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                                          If telephone or fax number is changing:
                                                o      Old number
                                                o      New number
                                                o      Effective Date

                                   Impact
                                          The maintenance of the Member Information affects all MERS®
                                           System Members.


                                   Business Procedure—Member
                                       1. You can update the following general information in your
                                          Member Information:
                                               Official Corporate Address
                                                (Used in the Member Summary for your organization)
                                                You must also notify MERSCORP directly if this information
                                                changes
                                               Regular Address
                                                (Used by the MERSCORP Mail Center to distribute original
                                                mortgage documents received for your organization)
                                               Overnight Address, carrier and account information
                                                (Used by the MERSCORP Mail Center to distribute original
                                                mortgage documents received for your organization if you
                                                have chosen to have them delivered via overnight delivery)
                                               Investor Alternate Address and Telephone
                                                (If indicator is selected, this address is used by MERS®
                                                ServicerID, and by the telephone Servicer Identification
                                                System, for MINs on which your organization is the
                                                Investor)
                                               Servicer/Subservicer Alternate Address and Telephone
                                                (If indicator is selected, this address is used by MERS®
                                                ServicerID, and by the telephone Servicer Identification
                                                System, for MINs on which your organization is the Servicer
                                                or Subservicer)
                                               Toll Free Phone number
                                               Corporate Fax number
                                               Corporate Web address
                                               Relationships

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                                       2. You must maintain the following contact information in your
                                          Member Information:
Your organization is responsible for           Title
keeping all contact names,
addresses, email addresses and                 Name
telephone numbers current, and for
notifying MERSCORP if your                     Phone number and extension
corporate name, address, or
                                               Email address
notification email address changes.
                                               Pager number
                                               Fax number
                                               Address
                                               City
                                               State
                                               Zip code
                                               Contact Type
  You can designate multiple                    o      Accounts Billing*
  contacts for all contact types                o      Primary System Administrator*
  except Accounts Billing,
  Primary Customer Service
                                                       (MERSCORP Help Desk refers user security requests for
  and Primary System                                   your organization to this contact)
  Administrator.                                o      Secondary System Administrator
                                                o      Primary Customer Service*
                                                o      Secondary Customer Service
                                                o      Legal*
                                                o      Operational*
                                                       (at least one is required – if only one contact of this
                                                       type remains, it can be updated but not deleted)
                                                o      Property Preservation
                                                       (for MERS® System Members and MERS® Link
                                                       Subscribers to contact regarding property maintenance
                                                       issues)
                                                o      Quality Assurance Officer*
                                                o      Mail Room
                                                o      Executive Sponsor*
                                                o      Compliance Officer
                                                o      Technical
                                                       (Required if using system-to-system interface)
                                                o      eRegistry
                                                       (required for MERS® eRegistry Members)
                                           *Required contact – may be updated, but not deleted.


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                                       3. You must maintain the following option information.
                                               Number of Password Expiration Days. The number of days
                                                before a user’s password expires.
                                               XML Password. The password used to submitting XML
                                                Registration transactions.


                                   Business Procedure—MERSCORP
                                   MERSCORP maintains a portion of your organization’s profile as well.
                                   You can view this information, but you cannot update it. Contact
                                   ppd@mersinc.org if you need MERSCORP to update this information.
                                              Member Name
                                               (MERSCORP requires official notification to update; see
                                               Member Corporate Name Changes)
                                              Parent Org
                                              Lines of business
                                              FHA approval flag
  If Overnight Mail is                        Investor Options
  requested, you must
  provide MERSCORP                            Servicer Options
  with your Corporate
  Airbill Number.
                                              Subservicer Options
                                              Agency IDs
                                              Document Handling Instructions
                                              Registration by Others flags
                                               (May be used to block other Members from registering a
                                               loan showing your organization as Investor, Servicer, or
                                               Subservicer.)
                                              Automated Password Reset flag
                                               (Allows users to establish challenge questions to be used to
                                               log into the system if they forget their password)
                                              eRegistry and eDelivery Options


                                   Reports
                                   No reports are associated with maintaining the Member Information.




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                                   Business Procedure - Member
                                   Lockout
                                   In the event an Investor is involved in a dispute with a Warehouse
                                   Lender, Servicer or Subservicer, the Investor can request that
                                   MERSCORP take action to prevent activity on the disputed MINs by that
                                   Servicer/Subservicer.
                                   1. The Investor will notify MERSCORP in writing of the dispute with the
                                      Servicer/Subservicer or Warehouse Lender, and produce proof of
                                      ownership.
                                   2. MERSCORP will process the request within five business days of
                                      receipt.
                                   3. MERSCORP can process a lockout at any of several levels:
                                       Lockout all activity for an Org ID
                                       Lockout all activity for a specified LOB for an Org ID
                                          Lockout activity on specific MINs for an Org ID
                                   4. Regardless of the lockout level, all Org IDs associated with impacted
                                      MINs can view MIN information. Also, a transfer transaction will be
                                      allowed if it transfers the MIN out of the relationship between the
                                      Member in troubled status and the disputing Member.
                                   5. The Investor will notify MERSCORP when the dispute is settled and
                                      when the restriction to system or MIN access for that
                                      Servicer/Subservicer can be reactivated.

                                   Reports
                                   Error messages appear on the following reports for processing that was
                                   stopped due to a Servicer being locked out. For detailed descriptions of
                                   these reports, see the MERS® System Reports Handbook:
                                        Seasoned Registration Rejects /Warnings (RB)
                                        Registration Rejects/Warnings (RG)
                                        Transfer of Beneficial Rights Rejects (BF)
                                        Physical Transfer of Servicing Rights (SC)
                                        Foreclosure Reject Report (DF)
                                        Payoff Reject Report (DP)
                                        Transfer to Non-MERS Status Reject Report (DQ)
                                        Default by Servicer to Non-Member Rejects Report (DR)
                                        Assumption Rejects/Warnings (AB)
                                        Maintenance Rejects/Warnings (MB)




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Member Corporate Name Changes
                                   Overview
                                   Because of mergers, acquisitions and other business events, your
                                   corporate name as recorded in the MERS® System may need to be
                                   changed. Please review the MERS® System Membership Agreement,
                                   Rules of Membership, and Terms and Conditions for policies pertaining
                                   to these events.
                                   You must notify MERSCORP in writing at least 30 days before a name
                                   change becomes effective. MERSCORP will make the change on the
                                   MERS® System.


                                   Impact
                                          This process has potential impact on all MERS® System
                                           Members.


                                   Business Procedure
                                       1. MERSCORP requires official written notification for all corporate
                                          name changes. Use the Company Information Change
                                          Request form available on the corporate website.
                                           The notification must be completed by an officer of your
                                           company and sent to MERSCORP no less than thirty (30)
                                           calendar days before the effective date.
                                           The notification must include the following information:
                                               Member Org ID
                                               Old corporate name
                                               New corporate name
                                                (Must be unique within MERS® System)
                                               Effective date of the name change
                                               Reason for name change (e.g. merger)
                                               Member Type (General, Lite, or Patron)
                                               Other Org IDs affected by change
                                               Name, title, and email address of company officer
                                                submitting notification

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                                       2. MERSCORP updates your corporate name in the MERS® System
                                          on the effective date specified.
                                       3. The new corporate name appears anywhere your member
                                          name is linked to its Org ID. For example, on all pop up lists in
                                          the MERS® System, registered loans and batch transactions in
                                          the system, and reports produced thereafter will show the new
                                          name. However, the Assignee and Assignor fields are free form
                                          fields and are not linked to the Member’s Org ID; therefore, the
                                          name change will not appear in those fields.
                                       4. If you have a Corporate Resolution, you will need to request one
                                          with your new company name using the Corporate Resolution
                                          Management System (CRMS).


                                   Reports
                                   No reports are associated with changing Member Information.




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      Mortgage Identification Number
                                (MIN)
                                         Overview
                                         The Mortgage Identification Number (MIN) is the unique 18-digit
 A MIN in X12 file or flat file format
 does not include dashes between         number permanently assigned to a mortgage registered on the MERS
 the components.                         System. To process information on the MERS® System, you must enter
                                         the MIN.
                                         A MIN consists of 18 digits, composed of three components of numeric
                                         characters:
                                                Component 1: Seven-digit organization identification number
                                                 (Org ID) of the organization that generated the MIN*. You will
                                                 be notified by MERSCORP of your Org ID. Like the rest of the
                                                 MIN, the Org ID never changes, regardless of servicing transfers.
                                                 For example, in the MIN 9594567-0123456789-8, the Org ID is
                                                 9594567.
                                                 *The exception to this is MINs generated through MERS® 1-2-3,
                                                  which begin with 1230000.
                                                Component 2: 10 numeric characters of a sequence number
                                                 assigned by you. You can use existing numbers, such as loan
                                                 numbers, as the sequence number, or you can use randomly
9594567-0123456789-8                             generated sequence numbers, as long as you never re-use the
                                                 number. For example, in the MIN 9594567-0123456789-8, the
                                                 sequence number is 0123456789.
                                                Component 3: One numeric check digit calculated by you using
                                                 the Mod 10 Weight 2 Algorithm, listed in the Business
                                                 Procedure of this section. For example, in the MIN 9594567-
                                                 0123456789-8, the check digit is 8.
                                         A MIN is unique and must never be reused. However, it can be
                                         reactivated if it was deactivated because servicing was sold to a non-
                                         MERS® System Member Servicer then transferred back to a MERS®
                                         System Member. The new Servicer would then register the MIN to
                                         reactivate it.


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                                    The MERS® System validates MINs at registration by checking for
                                    duplicate MINs, ensuring the check digit is properly calculated, and that
                                    the first seven digits of the MIN match an Org ID set up in Member
                                    Information in the MERS® System.


                                    Impact
                                    This process has potential impact to the following types of
                                    organizations:
                                           Servicers
                                           Subservicers

                                           Originators
                                           Third-Party Originators

                                           Investors
                                           Document Custodians

                                           Associated Members


                                    Business Procedure for Creating a
                                    MIN
                                        1. The seven numeric digits of your Org ID will be assigned by
                                           MERSCORP.
                                        2. Determine the 10 numeric characters of the sequence number.
Your company assigns the unique         3. Determine the check digit, using the MOD 10 Weight 2
10-digit sequence number. You
can never re-use a sequence                Algorithm. The calculation follows:
number.
                                            A.   The units (i.e., the rightmost) position and every alternate position of the base
Your company may have a utility                  number (from right to left) are multiplied by two. Any carry is added to the
that automatically calculates the                product of the next multiplication operation. If there is a carry on the last
check digit for you.                             multiplication operation, it is immediately added to the product.

                                            B.   The digits in the products and the digits in the base number not multiplied by two
                                                 are added together.

                                            C.   The total is subtracted from the next higher number ending in zero. If the total
                                                 ends in zero, the number is subtracted from itself.

                                            D.   The difference is the check digit.




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                                   Example:          Org ID = 9594567        Sequence # = 0123456789



                                   Base Number:                9    5    9   4    5   6    7   0    1   2    3   4    5   6    7   8    9



                                   Alternate Positions         9         9        5        7        1        3        5        7        9

                                   Times 2:                    x2       x2       x2       x2       x2       x2       x2       x2       x2

                                                               (1+8+1) 9          1        4        2        7        1        5        8




                                   Digits Not Multiplied:      5         4        6        0        2        4        6        8



                                   Cross-Footed:               10 +5 + 9 + 4 + 1+ 6 + 4 + 0 + 2 + 2 + 7 + 4 + 1 + 6 + 5 + 8 + 8= 82



                                   Next Higher Number Ending in Zero:                                                              90

                                   Minus Cross-Footed Total:                                                                       82

                                   Check Digit:                                                                                    8



                                        4. The MERS® System validates the MINs at registration by
                                           checking for duplicate MINs, and ensuring the check digit is
                                           properly calculated, and that the first seven digits of the MIN
                                           match an Org ID set up in Member Information on the MERS®
                                           System.




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     See Quality Assurance Procedures       DOCUMENT                     PROCESS               REQUIREMENT
     Manual for the location of the MIN
     on documents. However,
     individual county recording            Mortgage or Deed of          Loan registered at   The MIN and Servicer
     requirements may vary. If there is     Trust                        origination          Identification System (SIS)
     a conflict with county requirements,                                                     number (888-679-MERS) are
     comply with the county
                                                                                              required on the security
     requirements.
                                                                                              instrument for MOM loans.
                                                                                              The MIN is highly
                                                                                              recommended on non-MOM
                                                                                              security instruments.
                                            Note                         Loan registered at   It is highly recommended that
                                                                         origination          you include the MIN on the
                                                                                              Note. Check with individual
                                                                                              investors for specific delivery
                                                                                              requirements.
                                            Assignment                   Loan registered at   The MIN and the SIS number
For blanket assignments, the
                                                                         origination          are required on the
corresponding MIN must appear
with each security instrument                                                                 Assignment To MERS.
covered by the blanket                                                   Loan registered      The MIN and the SIS number
assignment.
                                                                         more than 270        are required on the
                                                                         days after note      Assignment To MERS.
                                                                         date.
                                            Lien Release/ Satisfaction   Payment in full of   The MIN and the SIS number
                                                                         mortgage             are required on the lien
                                                                                              release for MOM and Non-
                                                                                              MOM loans.
                                            Assumption                   Change in            The MIN and the SIS number
                                                                         Borrower             are required on any
                                                                                              assumption recorded in the
                                                                                              county land records for MOM
                                                                                              and Non-MOM loans.
                                            Modification                 Change in loan       The MIN and the SIS number
                                                                         terms                are required on any
                                                                                              modification recorded in the
                                                                                              county land records for MOM
                                                                                              and Non-MOM loans.
                                            Subordination                Subordination to     The MIN and the SIS number
                                            Agreement                    additional loan      are required on any
                                                                                              subordination agreement
                                                                                              recorded in the county land
                                                                                              records for MOM and Non-
                                                                                              MOM loans.




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  MOM and Non-MOM Loan Registration
                                   Overview
                                   Registration is the process for entering information to activate a loan on
                                   the MERS® System. You can register:
    There are three methods         A MOM loan you have just closed
    of submitting Registration         (Note: As of March 31, 2012, only a MERS® System Member may
    transaction to MERS:
                                       originate a MOM loan.)
     Using our browser-
                                    A seasoned loan you’ve purchased
      based application,
      MERS OnLine.                 A loan originated on a standard security instrument and then
     System to System                 assigned to Mortgage Electronic Registration Systems, Inc. (“MERS”)
     Using a synchronous
                                    A loan for which the prior registration was reversed
      XML transaction               A loan that was assigned out of MERS and deactivated for reason of
                                       Transfer to non-MERS Status and then assigned back to MERS when
                                       purchased by a MERS® System Member.
                                    A loan that was assigned out of MERS and deactivated for reason of
                                       Reinstated or Modified option 1, not assigned back to MERS, and is
                                       later assigned back to MERS.
                                    A loan that was assigned out of MERS and deactivated for reason of
                                       Assigned from MERS for Default or Bankruptcy, and is later assigned
                                       back to MERS.
                                   For closed loans on which MERS is neither the original mortgagee nor
                                   the assignee, see iRegistration. For loans that have not yet closed, see
                                   Pre-Closing.
                                   As the Registering Member you are required to enter the Investor and
                                   Servicer (and Subservicer if applicable) Org IDs at registration. Once you
                                   register a loan, you have 7 calendar days, including the registration
                                   date, to make any necessary changes to the registration information.
                                   Thereafter, the MIN information can only be updated by the current
                                   Servicer or Subservicer (unless there is a default by the Servicer or
                                   MERSCORP receives alternative instructions from the investor).
    There are two formats for
    System-to-System data:         You can identify other MERS® System Members with an interest on a
     Flat File transmission
                                   particular loan, including document custodian and associated Members,
                                   if applicable. Although it is not a requirement of the MERS® System,
     EDI X12 transaction.
                                   Interim Funders can show their security interest in a loan on the MERS
                                   System by having the registering Member complete the Interim Funder
                                   field or associated Member field. The system will auto populate the
                                   Agency ID field, if the Investor requires it and if that ID is included on
                                   your Member Information.

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                                    You must register on the MERS® System all loans closed with “MERS as
                                    Original Mortgagee” (MOM) security instruments within 7 calendar days
                                    of the Note Date, even if you immediately or subsequently sell the loan
                                    to a non-MERS member. For a MOM loan, you must also enter
                                    Originating Org ID at Registration as of March 31, 2012.
                                    You must register the loan being assigned to MERS on the MERS®
                                    System within 7 calendar days of the effective transfer date. The
                                    effective transfer date is the earlier of the date defined in the Purchase
                                    and Sale Agreement on which the buyer begins servicing the loans on its
                                    servicing system, or the assignment date. For a Non-MOM or
                                    iRegistration loan, you must enter Originating Org ID if the originator
                                    has an Org ID, or Original Note Holder if the originator does not have an
                                    Org ID, within 90 days of the Registration Date.
                                    The buyer of a non-registered MOM loan is allowed 14 calendar days
                                    from the Note/Funding Date in which to register the loan on the MERS®
                                    System. In addition, the seller must initiate all Transfer of Servicing
                                    Rights transactions within five calendar days of the effective transfer
                                    date. As always, if a specific investor’s requirements are more stringent
                                    than the MERS® System requirements, the investor’s requirements
                                    supersede MERS® System policy.

                                    Impact
                                    The loan registration process affects the following types of
       Government Housing
       Agencies, Mortgage           organizations:
       Insurance Cos,
       Trustees,                    Primary Members:
       Warehouse/Gestation           Servicers
       Lenders, etc. are known
       as Associated Members         Subservicers
       and may be named              Originators
       during registration
       processing.                   Third-Party Originators
                                     Investors
                                     Custodians
                                     Interim Funders
                                 Associated Members:
                                     Collateral Agent
                                     FHLB/FRB
                                     Government Housing Agencies
                                     Master Servicer


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                                          Mortgage Insurers
                                          Trustee
                                          Warehouse/Gestation Lenders
                                          Alternate Custodian (up to 4 entries)
                                          Participation Investor (up to 4 entries)
                                          Other (up to 4 entries)
                                          Property Preservation Company (up to 4 entries)


                                       Business Procedure – Initial
                                       Registration
                                       1. Close the loan on a security instrument that names MERS as the
                                          original mortgagee and send it to the recorder’s office.
                                          Or, close the loan on a standard security instrument, prepare an
                                          assignment to MERS, and send both to the recorder’s office.
                                       2. Enter the MIN on the MERS® System.
                                       3. The MERS® System validates the MIN.
                                       4. Enter the loan information:
                                                 Lien type – 1st or Subordinate Lien which accommodates all
                                                  liens subsequent to the first
                                                 Note Date
                                                 Note Amount
An Interim Funder can remove its                 Funding Date (date interest starts to accrue, if different
security interest from the MERS
System at any time.                               from Note Date)
Option 2 Transfers of Beneficial                 Owner Occupied Flag
Rights with interim funding
interests will appear on an
                                                 FHA/VA Case Number or MI Certificate Number
exception report, noting co-existing             MOM indicator:
beneficial interests.                             o Defaults to MOM – MERS is the original mortgagee on
                                                      the security instrument
                                                  o Set to Non-MOM only if the loan was originated on a
                                                      standard security instrument and assigned to MERS
                                                  o For loans neither originated with MERS as mortgagee
                                                      nor assigned to MERS, see the iRegistration chapter
                                                 Pre-Closing Indicator:
                                                  o Defaults to No
                                                  o For loans that have not yet closed, see the Pre-Closing
                                                      Registration chapter.


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                                               Originating Org ID (required for MOM loans as of March 31,
                                                2012, and for Non-MOM or iRegistration if originator is a
                                                MERS® System Member)
                                               Original Note Holder (required if originator is not a
                                                MERS® System Member)
                                               Servicer
                                               Subservicer
                                               Investor (use 1000002 if Investor is not a MERS® System
                                                Member)
                                               Document Custodian
                                               Interim Funder (only if MERS® System Member)
                                               Associated Member(s)
                                    5. Enter borrower information exactly as it appears on the origination
    Enter all names that appear
    on the origination or
                                       or servicing system:
    servicing system.                          Borrower Name:
                                                o Corporate Name
    One Primary Borrower and
    up to three Co-Borrowers
                                                    (Business, Trust, or other non-individual)
    may be entered on the                       OR
    Registration page.
                                              o First Name
    Additional Co-Borrowers                   o Middle Name or initial
    must be entered as a MIN
    Information Borrower
                                              o Last Name
    update.                                   o Name Suffix
    For foreign nationals with no          Social security number or tax ID
    SSN or Tax ID, enter
    111111111 for SSN.                        (required for primary borrower)
                                       6. Enter property information exactly as it appears on the
                                          origination or servicing system:
                                           Street number
     For properties without
                                           Street name
     street numbers, as in                 Street designator (e.g. ST, BLVD, etc.)
     Rural Route addresses,
                                           Street direction (e.g. N, S, SE, etc.)
     the property street
     number is not required.               Unit type (e.g. Condo, Co-op, Apt, etc.)
                                           Unit number
                                           City
                                           State
                                           ZIP code and extension
                                       7. Enter the following required legal description information
                                          exactly as it appears on the origination or servicing system:
                                           Property County or FIPS Code

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                                       8. Enter the following miscellaneous information, if applicable:
                                           Investor loan number, if required by the Investor
                                           Agency ID, if required by the Investor
                                           Investor pool number for agency investors
                                           Securitization Trust name for private pools
                                       9. Enter the following Modification Agreement information
                                          (required for construction-to-permanent and some CEMA
                                          loans):
                                           Modification Agreement Note Date
                                           Modification Agreement Note Amount
                                       10. Enter the following assignment information on the MERS®
                                           System if the loan is not recorded with MERS as the original
                                           mortgagee on the security instrument.
                                            Assignment type
                                            Assignee name and address
                                            Assignor name and address
                                       11. Submit the transaction.
                                       12. The MERS® System validates the registration and loan status
                                           reflects an “Active (Registered)” status.
                                       13. If the MIN matches the MIN of an eNote record registered on
                                           the MERS® eRegistry, and the loan information entered on the
                                           MERS® System does not match the loan information on the
                                           MERS® eRegistry, a Mismatched MIN/eNote Record (EJ) report
                                           will be generated for each rights holder.
                                       14. The registration appears on the MIN-level milestones.
                                       15. For primary rights holders on the loan (for example, Investor,
                                           Servicer, Interim Funder and Custodian), the Registration
                                           Verification report, and/or the Seasoned Registration
                                           Verification report is generated.
                                       16. For Associated Members on the loan, the MIN Milestones
                                           report is generated.
                                       17. As the registering Member, you are charged the registration
                                           fee. The fee appears on your next monthly invoice from
                                           MERSCORP.
                                       18. If you have made any errors in the registration information, you
                                           can correct them for the first seven calendar days (including
                                           registration date) as the registering Member. Thereafter, only
                                           the current Servicer or Subservicer can update the information.




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                                   Business Procedure – Post-Closing
                                   Registration
                                   If a loan is registered as a Pre-Closing on the MERS® System, you can
                                   register it as an active MOM or Non-MOM loan once it closes. To
  Note: If the Pre-Closing
  was performed via batch
                                   register it as an active iRegistration loan, see Post-Closing iRegistration.
  or XML and contains                  1. Enter the MIN on the MERS® System as a Registration
  more than four
  borrowers, only the first            2. MERS® OnLine validates the MIN, and displays the Registration
  four will remain if you
  register the MOM or Non-
                                          page populated with the information from the Pre-Closing
  MOM loan in MERS®                       registration.
  OnLine
                                       3. Check all loan information and update as needed. Be sure to
                                          update the Pre-Closing indicator to No, and enter a Note Date if
                                          one was not entered for the Pre-Closing.
                                       4. Submit transaction.
                                       5. The MERS® System validates the registration and loan status
                                          reflects an “Active (Registered)” status.
                                       6. If the MIN matches the MIN of an eNote record registered on
                                          the MERS® eRegistry, and the loan information entered on the
                                          MERS® System does not match the loan information on the
                                          MERS® eRegistry, a Mismatched MIN/eNote Record (EJ) report
                                          will be generated for each rights holder.
                                       7. The Post-Closing registration appears on the MIN-level
                                          milestones, and the Registration Date in MIN Information
                                          reflects the most recent registration.
                                       8. The Registration Verification report and/or Seasoned
                                          Registration Verification report is generated or primary rights
                                          holders on the loan (for example, Investor, Servicer, Interim
                                          Funder and Custodian) and the Pre-Closing Registering Member.
                                       9. For Associated Members on the loan, the MIN Milestones
                                          report is generated.
                                       10. A Post-Closing registration fee is charged when you register a
                                           Pre-Closing loan as a Post-Closing MOM or Non-MOM loan.
                                       11. If you have made any errors in the registration information, you
                                           can correct them for the first seven calendar days (including
                                           registration date) as the registering Member. Thereafter, only
                                           the current Servicer or Subservicer can update the information.


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                                   Business Procedure – Re-registration
                                   after Reversal
                                   If a loan is in registration reversal status on the MERS® System, you can
                                   correct the information for that loan and re-register it.
                                       1. Enter the MIN on the MERS® System as a Registration
                                       2. MERS® OnLine validates the MIN, and displays a summary of the
                                          loan information, along with the
                                          Re-Registration menu
                                       3. Check all loan information and update as needed, using the
                                          options available on the Re-Registration menu
                                       4. Select Re-Register from the Re-Registration Loan page.
                                       5. The MERS® System validates the registration and loan status
                                          reflects an “Active (Registered)” status.
                                       6. If the MIN matches the MIN of an eNote record registered on
                                          the MERS® eRegistry, and the loan information entered on the
                                          MERS® System does not match the loan information on the
                                          MERS® eRegistry, a Mismatched MIN/eNote Record (EJ) report
                                          will be generated for each rights holder.
                                       7. The registration appears on the MIN-level milestones.
                                       8. For primary rights holders on the loan (for example, Investor,
                                          Servicer, Interim Funder and Custodian), the Registration
                                          Verification report, and/or the Seasoned Registration
                                          Verification report is generated.
                                       9. For Associated Members on the loan, the MIN Milestones
                                          report is generated.
                                       10. As the registering Member, you are charged the registration
                                           fee. The fee appears on your next monthly invoice from
                                           MERSCORP.
                                       11. If you have made any errors in the registration information, you
                                           can correct them for the first seven calendar days (including
                                           registration date) as the registering Member. Thereafter, only
                                           the current Servicer or Subservicer can update the information.




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                                       Business Procedure – Re-registration
                                       after Deactivation
                                       If a loan has been deactivated on the MERS® System for any reason
                                       other than Foreclosure Complete or Paid in Full, that loan can be re-
                                       registered using the existing MIN if it is later assigned to MERS. For
                                       loans assigned to the Member rather than to MERS, see iRegistration
                                       after Deactivation.
                                           1. Prepare an Assignment To MERS, and send it to the recorder’s
                                              office.
                                               Include the existing MIN, and the SIS telephone number, on
                                                  the assignment
                                           2. Enter the MIN on the MERS® System as a Registration
                                           3. The MERS® System validates the MIN and displays the loan
Even if the loan was                          information
originally recorded with
MERS as mortgagee, since                   4. For MOM Indicator, select Non-MOM (if loan is not assigned to
it must be assigned back                      MERS, see iRegistration after Deactivation).
into MERS it is no longer
considered a MOM loan.                     5. Enter the new Servicer Org ID.
                                           6. Check the remaining loan information to ensure it is correct.
                                              Note: No changes are allowed to Security Instrument
                                              information when a deactivated loan is being re-registered.
                                              OnLine Security Instrument fields will be disabled, and Security
                                              Instrument data in batch and XML transactions will be ignored.
                                           7. Submit the transaction.
                                           8. The MERS® System validates the registration and loan status
                                              reflects an “Active (Registered)” status.
                                           9. The registration appears on the MIN-level milestones.
                                           10. For primary rights holders on the loan (for example, Investor,
                                               Servicer, Interim Funder and Custodian), the Registration
                                               Verification report, and/or the Seasoned Registration
                                               Verification report is generated.
                                           11. For Associated Members on the loan, the MIN Milestones
                                               report is generated.
                                           12. If the MIN matches the MIN of an eNote record registered on
                                               the MERS® eRegistry, and the loan information entered on the
                                               MERS® System does not match the loan information on the
                                               MERS® eRegistry, a Mismatched MIN/eNote Record (EJ) report
                                               will be generated for each rights holder.

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                                       13. As the registering Member, you are charged the registration
                                           fee. The fee appears on your next monthly invoice from
                                           MERSCORP.
                                       14. Enter the assignment information for the Assignment To MERS.
                                       15. Enter any assignments, assumptions, etc. which occurred
                                           between the loan being deactivated and
                                           re-registered.
                                       16. If you have made any errors in the registration information, you
                                           can correct them for the first seven calendar days (including
                                           registration date) as the registering Member. Thereafter, only
                                           the current Servicer or Subservicer can update the information.


                                   Reports
                                   The following reports are generated during the Loan Registration and
                                   Seasoned Loan Registration process. For a detailed description of each
                                                         ®
                                   report, see the MERS System Reports Handbook:
                                          Registration Verification Report
                                          Registration Rejects/Warnings Report
                                          MINs for the Same Primary Borrower SSN, Property, and First
                                           Lien- Daily Report
                                          MINs for the Same Primary Borrower SSN, Property, and First
                                           Lien- Monthly Report
                                          Mismatched MIN/eNote Record Report
                                          Seasoned Registration Verification Report
                                          Seasoned Registration Rejects/ Warnings Report
                                          Delinquent MERS as Original Mortgagee Registrations
                                           Report
                                          MIN Milestone Report for Associated Members




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                                                              ®
                                          MERS iRegistration
                                   Overview
                                   iRegistration is the process for entering information to activate on the
                                   MERS® System a loan for which Mortgage Electronic Registration
    There are three methods        Systems (“MERS”) is not the mortgagee. iRegistration can be used for:
    of submitting an
    iRegistration transaction         A loan you have just closed
    to MERS:
                                      A seasoned loan you’ve purchased
     Using our browser-
      based application,              A loan for which the prior registration was reversed
      MERS OnLine.

     System to System
                                      A loan that was deactivated for reason of Transfer to non-MERS
                                       Status and then purchased by a MERS® System Member but not
     Using a synchronous
      XML transaction                  assigned to MERS
                                      A loan previously registered as a Pre-Closing that has closed
                                       (for loans that have not yet closed, see Pre-Closing)
                                   As the Registering Member you are required to enter the Investor and
                                   Servicer (and Subservicer if applicable) Org IDs at registration. Once you
                                   register a loan, you have seven calendar days, including the registration
                                   date, to make any necessary changes to the registration information.
                                   Thereafter, the MIN information can only be updated by the current
                                   Servicer or Subservicer (unless there is a default by the Servicer or
    There are two formats for      alternative instructions from the investor).
    System-to-System data:
                                   You can identify other MERS® System Members with an interest on a
     Flat File transmission
                                   particular loan, including document custodian and associated Members,
     EDI X12 transaction.
                                   if applicable. Although it is not a requirement of the MERS® System,
                                   Interim Funders can show their security interest in a loan on the MERS
                                   System by having the registering Member complete the Interim Funder
                                   field or associated Member field.
                                   The system will auto populate the Agency ID field, if the Investor
                                   requires it and if that ID is included on your Member Information.




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                                    Impact
                                    The iRegistration process affects the following types of organizations:
       Government Housing
       Agencies, Mortgage           Primary Members:
       Insurance Cos,
       Trustees,                       Servicers
       Warehouse/Gestation
       Lenders, etc. are known         Subservicers
       as Associated Members
       and may be named
                                       Originators
       during registration
                                       Third-Party Originators
       processing.
                                       Investors
                                       Custodians
                                       Interim Funders
                                 Associated Members:
                                       Collateral Agent
                                       FHLB/FRB
                                       Government Housing Agencies
                                       Master Servicer
                                       Mortgage Insurers
                                       Trustee
                                       Warehouse/Gestation Lenders
                                       Alternate Custodian (up to 4 entries)
                                       Participation Investor (up to 4 entries)
                                       Other (up to 4 entries)
                                       Property Preservation Company (up to 4 entries)




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                                       Business Procedure – iRegistration
                                         1. Close the loan on a standard security instrument.
                                         2. Enter the MIN on the MERS® System using a Registration
                                            transaction.
                                         3. The MERS® System validates the MIN.
                                         4. Enter the loan information:
An Interim Funder can remove its               Lien type – 1st or Subordinate Lien (which accommodates all
security interest from the MERS
System at any time.                             liens subsequent to the first)
Option 2 Transfers of Beneficial               Note date
Rights with interim funding                    Note amount
interests will appear on an
exception report, noting co-existing           Funding date (optional)
beneficial interests.                          Owner Occupied flag
                                               FHA/VA Case Number or MI Certificate Number
                                               MOM indicator: Select “iRegistration”
                                               Pre-Closing Indicator: Select “No”
                                               Originating Org ID (if originator is a MERS® System Member)
                                               Original Note Holder (if originator is not a MERS® System
                                                Member)
                                               Servicer
                                               Subservicer
                                               Investor (use 1000002 if Investor is not a Member)
                                               Document Custodian
                                               Interim Funder (only if MERS® System Member)
                                               Associated Member(s)
                                         5. Enter borrower information exactly as it appears on the
   One Primary Borrower and
                                            origination or servicing system:
   up to three Co-Borrowers
                                               Borrower Name:
   may be entered on the
   Registration page.                           o    Corporate Name
   Additional Co-Borrowers                           (Business, Trust, or other non-individual)
   must be entered as a MIN
   Information Borrower                         OR
   update.
                                                o    First Name
                                                o    Middle Name or initial
                                                o    Last Name
                                                o    Name Suffix
     For foreign nationals with no
     SSN or Tax ID, enter                      Social security number or tax ID
     111111111 for SSN.                         (required for primary borrower)




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                                       6. Enter property information exactly as it appears on the
                                          origination or servicing system:
                                           Street number
                                           Street name
     For properties without
     street numbers, as in                 Street designator (e.g. ST, BLVD, etc.)
     Rural Route addresses,                Street direction (e.g. N, S, SE, etc.)
     the property street
                                           Unit type (e.g. Coop, Apt, etc.)
     number is not required.
                                           Unit number
                                           City
                                           State
                                           ZIP code
                                       7. Enter the following legal description information exactly as it
                                          appears on the origination or servicing system:
                                           Property County or FIPS Code
     Agency ID is required             8. Enter miscellaneous information if applicable:
     when registering loans
     sold to Fannie Mae or                 Investor loan number, if required by the Investor
     Freddie Mac.                          Agency ID, if required by the Investor
                                           Investor pool number for agency investors
       Pool Number is required
       when registering loans
                                           Securitization Trust name for private pools
       issued in a Ginnie Mae
       or Fannie Mae pool.             9. Modification Agreement information is optional:
                                           Modification Agreement Note Date
                                           Modification Agreement Note Amount
                                       10. Assignment information is optional, but MERS may not be
                                           included as either Assignor or Assignee.
                                       11. Submit the transaction.
                                       12. The MERS® System validates the registration, and loan status
                                           reflects an “Active (Registered)” status.
                                       13. If the MIN matches the MIN of an eNote record registered on
                                           the MERS® eRegistry, and the loan information entered on the
                                           MERS® System does not match the loan information on the
                                           MERS® eRegistry, a Mismatched MIN/eNote Record (EJ) report
                                           will be generated for each rights holder.
                                       14. The registration appears on the MIN-level milestones.




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                                       15. For primary rights holders on the loan (for example, Investor,
                                           Servicer, Interim Funder and Custodian), the Registration
                                           Verification report, and/or the Seasoned Registration
                                           Verification report is generated.
                                       16. For Associated Members on the loan, the MIN Milestones
                                           report is generated.
                                       17. As the registering Member, you are charged the registration
                                           fee, unless the loan you are registering was already registered
                                           as a Pre-Closing. The fee appears on your next monthly invoice
                                           from MERSCORP.
                                       18. If you have made any errors in the registration information, you
                                           can correct them for the first seven calendar days (including
                                           registration date) as the registering Member. Thereafter, only
                                           the current Servicer or Subservicer can update the information.




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                                   Business Procedure – Post-Closing
                                   iRegistration
                                   If a loan is registered as a Pre-Closing on the MERS® System, you can
                                   register it as an active iRegistration once it closes. To register it as an
  Note: If the Pre-Closing
  was performed via batch
                                   active MOM or Non-MOM loan, see Post-Closing Registration.
  or XML and contains                  1. Enter the MIN on the MERS® System as a Registration
  more than four
  borrowers, only the first            2. MERS® OnLine validates the MIN, and displays the Registration
  four will remain if you
  register the iRegistration
                                          page populated with the information from the Pre-Closing
  in MERS® OnLine                         registration.
                                       3. Check all loan information and update as needed. Be sure to
                                          update the Pre-Closing indicator to No, and enter a Note Date if
                                          one was not entered for the Pre-Closing.
                                       4. Submit transaction.
                                       5. The MERS® System validates the registration and loan status
                                          reflects an “Active (Registered)” status.
                                       6. If the MIN matches the MIN of an eNote record registered on
                                          the MERS® eRegistry, and the loan information entered on the
                                          MERS® System does not match the loan information on the
                                          MERS® eRegistry, a Mismatched MIN/eNote Record (EJ) report
                                          will be generated for each rights holder.
                                       7. The registration appears on the MIN-level milestones, and the
                                          Registration Date in MIN Information reflects the most recent
                                          registration.
                                       8. The Registration Verification report and/or Seasoned
                                          Registration Verification report is generated or primary rights
                                          holders on the loan (for example, Investor, Servicer, Interim
                                          Funder and Custodian) and the Pre-Closing Registering Member.
                                       9. For Associated Members on the loan, the MIN Milestones
                                          report is generated.
                                       10. No registration fee is charged when you register a Pre-Closing
                                           loan as an iRegistration.
                                       11. If you have made any errors in the registration information, you
                                           can correct them for the first seven calendar days (including
                                           registration date) as the registering Member. Thereafter, only
                                           the current Servicer or Subservicer can update the information.


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                                   Business Procedure – iRegistration
                                   after Reversal
                                   If a loan is in registration reversal status on the MERS® System, you can
                                   correct the information for that loan and re-register it as an
                                   iRegistration.
                                       1. Enter the MIN on the MERS® System as a Registration
                                       2. MERS® OnLine validates the MIN, and displays a summary of the
                                          loan information, along with the
                                          Re-Registration menu.
                                       3. Check all loan information and update as needed, using the
                                          options available on the Re-Registration menu. Be sure the Pre-
                                          Closing indicator is set to No, and the MOM indicator is set to
                                          iRegistration.
                                       4. Select Re-Register from the Re-Registration Loan page.
                                       5. The MERS® System validates the registration and loan status
                                          reflects an “Active (Registered)” status.
                                       6. If the MIN matches the MIN of an eNote record registered on
                                          the MERS® eRegistry, and the loan information entered on the
                                          MERS® System does not match the loan information on the
                                          MERS® eRegistry, a Mismatched MIN/eNote Record (EJ) report
                                          will be generated for each rights holder.
                                       7. The registration appears on the MIN-level milestones.
                                       8. For primary rights holders on the loan (for example, Investor,
                                          Servicer, Interim Funder and Custodian), the Registration
                                          Verification report, and/or the Seasoned Registration
                                          Verification report is generated.
                                       9. For Associated Members on the loan, the MIN Milestones
                                          report is generated.
                                       10. As the registering Member, you are charged the registration
                                           fee. The fee appears on your next monthly invoice from
                                           MERSCORP.
                                       11. If you have made any errors in the registration information, you
                                           can correct them for the first seven calendar days (including
                                           registration date) as the registering Member. Thereafter, only
                                           the current Servicer or Subservicer can update the information.


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                                   Business Procedure – iRegistration
                                   after Deactivation
                                   If a loan has been deactivated on the MERS® System for any reason
                                   other than Foreclosure Complete or Paid in Full, that loan can be re-
                                   registered using the existing MIN if it is later assigned to a MERS®
                                   System Member. For loans assigned to MERS rather than to the
                                   Member, see Re-Registration after Deactivation.
                                   1. Include the existing MIN on the assignment
                                   2. Enter the MIN on the MERS® System as a Registration
                                   3. The MERS® System validates the MIN and displays the loan
                                      information
                                   4. Enter the new Servicer Org ID
                                   5. Check the remaining loan information to ensure it is correct. If the
                                      loan was assigned to MERS, see Re-Registration after Deactivation.
                                      If the loan was assigned directly to the Member, the MOM indicator
                                      should be iRegistration.
                                   6. Submit the transaction.
                                   7. The MERS® System validates the registration and loan status reflects
                                      an “Active (Registered)” status.
                                   8. The registration appears on the MIN-level milestones.
                                   9. For primary rights holders on the loan (for example, Investor,
                                      Servicer, Interim Funder and Custodian), the Registration
                                      Verification report, and/or the Seasoned Registration Verification
                                      report is generated.
                                   10. For Associated Members on the loan, the MIN Milestones report is
                                       generated.
                                   11. If the MIN matches the MIN of an eNote record registered on the
                                       MERS® eRegistry, and the loan information entered on the MERS®
                                       System does not match the loan information on the MERS®
                                       eRegistry, a Mismatched MIN/eNote Record (EJ) report will be
                                       generated for each rights holder.
                                   12. As the registering Member, you are charged the iRegistration fee.
                                       The fee appears on your next monthly invoice from MERSCORP.




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                                   13. If you have made any errors in the registration information, you can
                                       correct them for the first seven calendar days (including registration
                                       date) as the registering Member. Thereafter, only the current
                                       Servicer or Subservicer can update the information.



                                   Reports
                                   The following reports are generated during the iRegistration process.
                                   For a detailed description of each report, see the MERS® System
                                   Reports Handbook:
                                          Registration Verification Report
                                          Registration Rejects/Warnings Report
                                          MINs for the Same Primary Borrower SSN, Property, and First
                                           Lien- Daily Report
                                          MINs for the Same Primary Borrower SSN, Property, and First
                                           Lien- Monthly Report
                                          Mismatched MIN/eNote Record Report
                                          Seasoned Registration Verification Report
                                          Seasoned Registration Rejects/ Warnings Report
                                          MIN Milestone Report for Associated Members




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        Conversion from iRegistration
                         to Non-MOM
                                   Overview
                                   If a loan registered on the MERS® System as an active iRegistration is
                                   later assigned to MERS, this change must be reflected on the MERS®
                                   System by converting the loan from an iRegistration to a Non-MOM.
                                   Conversions may only be performed from iRegistration to Non-MOM.
                                   The Servicer or Subservicer performs the conversion using a batch or
                                   online Registration transaction.
                                   Servicer and Investor cannot be changed in a conversion transaction. An
                                   Interim Funder can be added, but not changed or deleted. Assignment
                                   information may be added, but not updated or deleted. Other data on
                                   the record may be updated, and system edits follow registration rules.
                                   You must perform the conversion transaction on the MERS® System for
                                   the loan being assigned to MERS within seven calendar days of the
                                   assignment date.


                                   Impact
                                   The conversion process has potential impact to the following types of
                                   organizations:
                                      Servicers
                                      Subservicers
                                      Investors
                                      Document Custodians
                                      Associated Members




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                                   Business Procedure
                                       1. Prepare an Assignment To MERS, and send it to the recorder’s
                                          office.
                                       2. The Servicer or Subservicer submits the MIN to the MERS®
                                          System in a Registration transaction.
                                       3. The MERS® System validates the MIN. If it is an active
                                          iRegistration that is not in a foreclosure status, and the
                                          submitting Member is its Servicer or Subservicer, it is eligible for
                                          conversion.
                                       4. If performed in MERS® OnLine, the existing loan data is
                                          displayed on the Registration page, with the MOM indicator set
                                          to “Non-MOM” and the Investor and Servicer fields grayed out.
                                       5. In batch, all registration data must be submitted. Investor and
                                          Servicer must match those already on the MIN, and a MOM
                                          Indicator of N must be submitted.
                                       6. Interim Funder may be added if none exists, but not removed or
                                          changed.
                                       7. Enter the following assignment information:
                                               Assignment type
                                               Assignee name and address
                                               Assignor name and address
                                       8. Submit the transaction.
                                       9. The MERS® System validates the registration and loan status
                                          reflects an “Active (Registered)” status.
                                       10. If the MIN matches the MIN of an eNote record registered on
                                           the MERS® eRegistry, a Mismatched MIN/eNote Record (EJ)
                                           report will be generated for each rights holder.
                                       11. The conversion appears on the MIN-level milestones.
                                       12. For primary rights holders on the loan (for example, Investor,
                                           Servicer, Interim Funder and Custodian), the Conversion
                                           Verification report is generated.
                                       13. For Associated Members on the loan, the MIN Milestones
                                           report is generated.
                                       14. As the converting Member, you are charged the conversion fee.
                                           The fee appears on your next monthly invoice from MERSCORP.

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                                   Reports
                                   The following reports are generated during the Conversion process. For
                                   a detailed description of each report, see the MERS® System Reports
                                   Handbook:
                                          Conversion Verification Report
                                          Conversion Rejects/Warnings Report
                                          MINs for the Same Primary Borrower SSN, Property, and First
                                           Lien
                                          Mismatched MIN/eNote Record Report
                                          MIN Milestone Report for Associated Members




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                                Pre-Closing Registration
                                   Overview
                                   A Pre-Closing is a loan registered on the MERS® System before it has
                                   closed. It is not active, so cannot be updated, transferred, or
    There are three methods
    of submitting a Pre-           deactivated. A Pre-Closing may be registered with a MOM indicator of
    Closing transaction to         iRegistration, MOM or Non-MOM.
    MERS:

     Using our browser-
                                   When registering a Pre-Closing, you are required to enter the Investor
      based application,           and Servicer Org IDs. Note Date is optional, but if entered may not be in
      MERS OnLine.
                                   the past; it may be the current date or up to a year in the future.
     System to System
                                   Once the Pre-Closing is registered, it cannot be updated, but the Pre-
     Using a synchronous
      XML transaction
                                   Closing registration can be reversed if it was done in error.
                                   A Pre-Closing can be registered as an active iRegistration, MOM or Non-
    There are two formats for
    System-to-System data:
                                   MOM loan once the loan closes in a transaction known as post-closing
                                   registration, and loan information may be updated at post-closing.
     Flat File transmission

     EDI X12 transaction.         Loans in a Pre-Closing status do not contain Assignment information. If
                                   this data is submitted in a Pre-Closing registration transaction, it is
                                   ignored.
                                   The organization registering the Pre-Closing loan receives the
                                   registration verification report if the same MIN is later registered as an
                                   active loan by another Member.

                                   Impact
                                   The Pre-Closing process affects the following types of organizations:
                                   Primary Members:
                                    Servicers
                                    Subservicers
                                    Originators
                                    Third-Party Originators
                                    Investors
                                    Custodians
                                    Interim Funders




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                                   Associated Members:
      Government Housing
      Agencies, Mortgage               Collateral Agent
      Insurance Cos,                   FHLB/FRB
      Trustees,
      Warehouse/Gestation              Government Housing Agencies
      Lenders, etc. are known          Master Servicer
      as Associated Members
      and may be named                 Mortgage Insurers
      during registration.             Trustee
                                       Warehouse/Gestation Lenders
                                       Alternate Custodian (up to 4 entries)
                                       Participation Investor (up to 4 entries)
                                       Other (up to 4 entries)
                                       Property Preservation Company (up to 4 entries)


                                   Business Procedure – Pre-Closing
                                       1. Submit the MIN to the MERS® System in a Registration
                                          transaction.
                                       2. The MERS® System validates the MIN.
                                       3. Enter the loan information:
                                               Lien type – 1st or Subordinate Lien (which accommodates all
                                                liens subsequent to the first)
                                               Expected Note date (optional, up to 365 days in future)
                                               Note amount
                                               Owner Occupied Flag
                                               FHA/VA Case Number or MI Certificate Number
                                               MOM indicator: Choose MOM, Non-MOM or iRegistration
                                               Pre-Closing indicator: Choose “Yes”
                                               Originating Org ID (if originator is a MERS® System Member)
                                               Original note holder name (if originator is not a MERS®
                                                System Member)
                                               Servicer
                                               Subservicer
                                               Investor
                                               Interim Funder (only if MERS® System Member)
                                               Document Custodian
                                               Associated Member(s)



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                                       4. Enter borrower information as it appears on the origination
                                          system:
                                               Borrower Name:
                                                o Corporate Name
                                                    (Business, Trust, or other non-individual)
                                                OR
     One Primary Borrower and
     up to three Co-Borrowers
                                                o      First name
     may be entered on the                      o      Middle name
     Registration page.
                                                o      Last name
                                                o      Name Suffix
     For foreign nationals with no
                                               Social security number or tax ID
     SSN or Tax ID, enter
     111111111 for SSN.                         (required for primary borrower)
                                       5. Enter property information as it appears on the origination
                                          system:
For properties without street                  Street number
numbers, as in Rural Route
addresses, the property street                 Street name
number is not required.
                                               Street designator (e.g. ST, BLVD, etc.)
                                               Street direction (e.g. N, S, SE, etc.)
                                               Unit type (e.g. Coop, Apt, etc.)
                                               Unit number
                                               City
                                               State
                                               ZIP code and extension
                                       6. Enter the following miscellaneous information, if applicable:
                                           Investor loan number, if required by the Investor
                                               Agency ID, if required by the Investor
                                       7. No Assignment information may be entered for a Pre-Closing.
                                       8. Submit the transaction.
                                       9. The MERS® System validates the registration and loan status
                                          reflects a “Pre-Closing” status.
                                       10. The Pre-Closing registration appears on the MIN-level
                                           milestones.
                                       11. For primary rights holders on the loan (for example, Investor,
                                           Servicer, Interim Funder and Custodian), the Pre-Closing
                                           Verification report is generated.
                                       12. For Associated Members on the loan, the MIN Milestones
                                           report is generated.

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                                       13. As the registering Member, you are charged the Pre-Closing
                                           registration fee. The fee appears on your next monthly invoice
                                           from MERSCORP.
                                       14. You cannot update any information on a loan in Pre-Closing
                                           status. To correct an error, you must reverse the registration of
                                           the MIN and then re-register it with the correct information.
                                       15. Once the loan closes, you can register it as an iRegistration
                                           without paying an additional fee, or as a MOM or Non-MOM for
                                           an additional fee, and loan information may be updated as part
                                           of this post-closing registration transaction.


                                   Business Procedure – Pre-Closing
                                   after Reversal
                                   If a loan is in registration reversal status on the MERS® System, you can
                                   correct the information for that loan and re-register it as a Pre-Closing.
                                       1. Enter the MIN on the MERS® System as a Registration.
                                       2. In batch, enter all registration information as you would for a
                                          Pre-Closing that has never been registered.
                                       3. In MERS® OnLine:
                                               A summary of the loan information from the previous
                                                registration is displayed along with the Re-Registration
                                                menu.
                                               Check all loan information and update as needed, using the
                                                options available on the Re-Registration menu.
                                               Be sure the Pre-Closing indicator is set to Yes.
                                               No assignment information may be entered for a Pre-
                                                Closing.
                                               Select Re-Register from the Re-Registration Loan page.
                                       4. The MERS® System validates the registration and loan status
                                          reflects a “Pre-Closing” status.
                                       5. The Pre-Closing registration appears on the MIN-level
                                          milestones.
                                       6. For primary rights holders on the loan (for example, Investor,
                                          Servicer, Interim Funder and Custodian), the Pre-Closing
                                          Verification report is generated.


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                                       7. For Associated Members on the loan, the MIN Milestones
                                          report is generated.
                                       8. As the registering Member, you are charged the Pre-Closing
                                          registration fee. The fee appears on your next monthly invoice
                                          from MERSCORP.
                                       9. You cannot update any information once the registration
                                          transaction is complete. To correct an error, you must reverse
                                          the registration of the MIN and then re-register it with the
                                          correct information.
                                       10. Once the loan closes, you can register it as an iRegistration
                                           without paying an additional fee or as a MOM or Non-MOM for
                                           an additional fee.




                                   Reports
                                   The following reports are generated during the Pre-Closing Registration
                                   process. For a detailed description of each report, see the MERS®
                                   System Reports Handbook:
                                          Pre-Closing Registration Verification Report
                                          Pre-Closing Registration Rejects/Warnings Report
                                          MIN Milestone Report for Associated Members




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                                           Registration Reversal
                                       Overview
                                       A Registration Reversal is for reversing a loan that has been registered
                                       in error.
                                       You can also use Registration Reversal if you register a loan with the
                                       incorrect Servicer or Investor; you would then immediately re-register it
                                       using the correct information.
                                       The registering Member may reverse a registration for 30 days starting
                                       on the Registration Date. Thereafter only the Servicer can reverse the
                                       registration.
                                       If a loan is registered as an iRegistration and MERS becomes the
                                       mortgagee through an assignment, you can use the Conversion
                                       transaction to convert the iRegistration to a Non-MOM. If a loan is
                                       registered as an iRegistration and recorded in the land records as a
                                       MOM, the iRegistration registration will need to be reversed in order to
                                       register the loan as a MOM. Similarly, if a loan is registered as a MOM or
                                       Non-MOM but MERS is never the mortgagee, the registration will need
  Registration Reversal may
  be processed through                 to be reversed in order to register the loan as an iRegistration.
  MERS OnLine, X12 or flat
  file transactions
                                       Impact
                                       The loan registration reversal process affects the following types of
                                       organizations:
                                          Servicers
  Only the servicer, subservicer          Subservicers
  or Member that originally
  registered the MIN can                  Originators
  perform this process.
                                          Third-Party Originators
  Also, if the beneficial rights for
  a MIN have been transferred,            Investors
  the registration can only be
                                          Custodians
  reversed if the current
  Investor transfers the MIN              Interim Funders
  back to the registering
  Member.                                 Associated Members




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                                   Business Procedure
                                       1. Select Registration from the Reversals menu.
                                       2. Enter the MIN.

                                       3. MERS System validates the MIN.
                                       4. The MERS System validates the registration reversal and
                                          changes the loan status to “Registration Reversal”.
                                       5. The registration reversal appears on the MIN-level milestones.
                                       6. For Members with an interest in the loan (for example, Investor,
                                          Servicer, Interim Funder and Custodian), the Registration
                                          Reversal Verification report, and/or the Registration Reversal
                                          Rejects/Warnings report, is generated.
                                   NOTE: No fee is assessed to the Member performing the registration
                                   reversal, but the applicable registration fee will still be assessed for the
                                   initial registration.
                                       7. For Associated Members on the loan, the MIN Milestones
                                          report is generated.
                                       8. All registration information is retained for use if the MIN is re-
                                          registered.
                                       9. If the MIN is re-registered, the normal registration fee will
                                          apply.


                                   Reports
                                   The following reports are generated as a result of the Registration
                                   Reversal process. For a detailed description of each report, see the
                                   MERS® System Reports Handbook:
                                   *   Registration Reversal Verification Report
                                   *   Registration Reversal Rejects/Warnings Report
                                   *   MIN Milestone Report for Associated Members




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                                                   Co-op Processing
                                   Overview
                                   Although the MERS System does not have a process designed
                                   specifically for the documents and requirements associated with co-ops,
                                   this process is available using current functionality.


                                   Impact
                                   Co-op processing affects any organization that registers, maintains, or
                                   deactivates Co-op loans.


                                   Business Procedure
                                   1. Register the MIN associated with co-ops in the same method as any
                                      registration, which can be accomplished through batch processing
                                      or through MERS OnLine.
                                   2. When identifying the property address, enter Co-op in the Unit Type
                                      field and name the applicable unit number in the Unit Number field.
                                      These fields may also be mapped through batch file processing.
                                   3. If Mortgage Electronic Registration Systems, Inc. (“MERS”) is being
                                      established as the “Original Secured Party”, set the MOM Indicator
                                      to Y.
                                   4. If MERS is not the “Original Secured Party”, but has been named
                                      through an assignment or UCC-3 filing, set the MOM Indicator to N.
                                   5. If MERS is not the “Original Secured Party”, and is not named
                                      through an assignment or UCC-3 filing, set the MOM Indicator to
                                      iRegistration.
                                   6. When the loan is paid in full, file a UCC-3 selecting Termination on
                                      the UCC-3 form. Process this transaction as a Deactivation/Paid in
                                      Full on the MERS System.




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         Reverse Mortgage Processing
                                   Overview
                                   No separate functionality is required for reverse mortgage processing.
                                   Registrations and other transactions for reverse mortgages are
                                   performed as for other loans.


                                   Impact
                                   Reverse mortgage processing affects any organization that registers,
                                   maintains, or deactivates reverse mortgages.


                                   Business Procedure
                                   1. Register the MIN associated with the reverse mortgage in the same
                                      method as any registration, which can be accomplished through
                                      batch processing or through MERS OnLine.
                                   2. When identifying the Note Amount, use the Maximum Claim
                                      Amount from the Note. This field may also be mapped through
                                      batch file processing.
                                   3. Track life of loan events as for other mortgage loans.




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       Construction Loan Processing
                                   Overview
                                   Construction loans may be modified to become permanent loans once
                                   construction is complete, or they may be paid off by a permanent loan.
                                   In the first case, both the construction and permanent loans are
                                   registered on the MERS® System as one loan. In the second case, each
                                   loan is processed separately on the MERS® System.

                                   Impact
                                   Construction loan processing affects any organization that registers,
                                   maintains, or deactivates construction loans.

                                   Business Procedure–One-Step Closing
                                   This is where the construction loan is modified to become the
                                   permanent loan. You can close the construction loan as a MOM loan
                                   and record the modification with Mortgage Electronic Registration
                                   Systems, Inc. (“MERS”) as mortgagee, saving the cost and effort of
                                   recording an assignment, or you can close the construction loan on a
                                   standard document and assign it to MERS after it is modified to become
                                   permanent. (Note: In either case, selling the servicing more than 270
                                   days after the original note date will incur a seasoned transfer fee.)

                                   Closed on a MOM Security Instrument
                                   The MERSCORP Law Department (mers@mersiinc.org) is available for
                                   assistance with changing the language on the security instrument to
                                   make it a MOM loan.

                                       1. The MOM security instrument must be:
                                               Given a valid MIN
                                               Sent for recording in accordance with state or investor
                                                guidelines
                                               Registered on the MERS® System within seven calendar days
                                                of the Note Date (or Funding Date for escrow states).
                                       2. When construction is completed, the modification agreement
                                          must reflect MERS as the mortgagee and must be signed by an
                                          approved Signing Officer from your company. (The MERSCORP
                                          Law Department is available for assistance with changing the
                                          language on the modification agreement.)

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                                       3. Update the MERS® System to reflect the modification.

                                       4. If the permanent loan is sold to another MERS® System
                                          Member, transfer the rights in the same manner as other MERS®
                                          System loans.

                                       5. If the loan is sold to a non-MERS® System member:

                                               Deactivate the MIN in the MERS® System in accordance with
                                                MERS® System requirements.

                                               Prepare and send for recording an Assignment From MERS,
                                                using your approved Signing Officer to sign on behalf of
                                                MERS.


                                   Closed on a Standard Security Instrument and
                                   Assigned to MERS
                                       1. Close the loan using the standard construction loan security
                                          instrument used today. There is no MIN and no registration on
                                          the MERS® System. MERS is not the mortgagee.

                                       2. When construction is completed, prepare and send for
                                          recording the standard modification agreement. MERS is not
                                          the mortgagee.

                                       3. Following the modification, prepare an Assignment To MERS,
                                          place a valid MIN on the assignment and send it for recording,
                                          in accordance with MERS® System requirements for assigning
                                          loans to MERS.

                                       4. Register the loan on the MERS® System as a Non-MOM, in
                                          accordance with MERS® System requirements, entering the
                                          information from the origination or servicing system.

                                       5. If the permanent loan is sold to another MERS® System
                                          Member, transfer the rights in the same manner as other MERS®
                                          System registered loans.

                                       6. If the loan is sold to a non-MERS® System member after being
                                          assigned to MERS and registered:

                                               Deactivate the MIN in the MERS® System in accordance with
                                                MERS® System requirements.




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                                               Prepare and send for recording an Assignment From MERS,
                                                using your approved Signing Officer to sign on behalf of
                                                MERS.


                                   Closed on a Standard Security Instrument and
                                   Not Assigned to MERS (iRegistration)
                                   You may register a loan that does not have MERS as mortgagee as an
                                   iRegistration at origination, or before or after modification, because
                                   MERS is never the mortgagee. Transfers must be reflected, and selling
                                   the servicing more than 270 days after the original note date incurs a
                                   seasoned transfer transaction fee.

                                       1. Close the loan using the standard construction loan security
                                          instrument used today, and register it on the MERS® System as
                                          an iRegistration. MERSCORP recommends including the MIN on
                                          the security instrument for identification.

                                       2. When construction is completed, prepare and send for
                                          recording the standard modification agreement; MERS is not
                                          the mortgagee. MERSCORP recommends including the MIN on
                                          the modification agreement for identification. Update the
                                          MERS® System to reflect the modification date and amount.

                                       3. If the permanent loan is sold to another MERS® System
                                          Member, create a transfer transaction in the usual manner.

                                       4. If the loan is sold to a non-MERS® System member after being
                                          registered:

                                               Deactivate the MIN in the MERS® System in accordance with
                                                MERS® System requirements.

                                               Prepare and send for recording a standard assignment;
                                                MERS is not the mortgagee.




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                                   Business Procedure–Two-Step Closing
                                   This is where the construction loan is paid off by the permanent loan.
                                   You can close the construction loan as MOM, non-MOM, or
                                   iRegistration; however, since it is a separate loan from the permanent
                                   loan, it will incur a separate registration fee.
                                   1. The construction loan may be closed using either a MOM or
                                      standard Security Instrument.
                                       If closed on a MOM security instrument, the loan must be:
                                           Given a valid MIN

                                          Sent for recording in accordance with state or investor
                                           guidelines

                                          Registered on the MERS® System as a MOM loan within seven
                                           calendar days of the Note Date

                                          Processed as a Payoff on the MERS® System when it is paid off
                                           by the permanent loan

                                       If loan is closed on a Non-MOM security instrument, then assigned
                                       to MERS:
                                           The assignment must be:

                                                   Given a valid MIN

                                                   Executed and recorded

                                          The loan must be registered on the MERS® System as a Non-
                                           MOM loan within seven calendar days of the Assignment Date

                                          Payoff must be processed on the MERS® System when it is paid
                                           off by the permanent loan

                                       If loan is neither closed on a MOM security instrument nor assigned
                                       to MERS, but is registered as an iRegistration:
                                           Give the loan a valid MIN

                                          Register it on the MERS® System as an iRegistration

                                          Process as a Payoff on the MERS® System when it is paid off by
                                           the permanent loan

                                   2. When construction is completed, register the permanent loan on
                                      the MERS® System, with a valid MIN, as you would any other loan.




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                                   3. If the permanent loan is sold to another MERS® System Member,
                                      create a transfer transaction as for other MERS® System registered
                                      loans.
                                   4. If the permanent loan is sold to a non-MERS® System member:

                                          Deactivate the MIN in the MERS® System in accordance with
                                           MERS® System requirements.

                                          For a MOM or Non-MOM loan, prepare and send for recording
                                           an Assignment From MERS, using your signing officer to sign on
                                           behalf of Mortgage Electronic Registration Systems, Inc.




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                     Registered Loans in Rated
                                    Securities
                                   Overview
                                   MERS® System registered loans may be included in rated securities
                                   issued by MERS® System Members. Assignments normally recorded
                                   naming the Trustee as mortgagee of record are eliminated for all MERS®
                                   System registered loans in the securitization. It is acceptable to
                                   combine MERS® System registered and non-registered loans in the
                                   securitization.
                                   The process model is for the securitization Trustee to be named as the
                                   current Investor on the MINs. It is not necessary for the Trustee to be
                                   an active Investor. Any MERS® System Member may choose to be a
                                   passive Investor and let the MERS® System process confirmations
                                   automatically.
                                   MERS® System Member Trustees possess established MERS® System Org
                                   IDs and should supply these to the issuers.
                                   The securitization serial number must be placed in the Pool Number
                                   field on the MERS® System for the MINs involved for an Agency
                                   securitization. For non-Agency securitizations, place the trust name in
                                   the Securitization field.


                                   Impact
                                   This process has potential impact on the following types of
                                   organizations:
                                      All Members




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                                   Business Procedure
                                   ISSUER:
                                       1. Obtain the MERS® System Org ID for the securitization Trustee
                                          from the Trustee.
                                       2. Pool loans and issue Securitization.
                                       3. Identify MERS® System registered loans included in the
                                          Securitization.
                                       4. Process Transfer of Beneficial Rights Option 2 naming
                                          Securitization Trustee as new Investor.
                                       5. Update Pool Number field for Agency securitization; for non-
                                          Agency securitizations update Securitization field.
                                   TRUSTEE
                                       1. Supply MERS® System Org ID to Issuer
                                       2. Confirm Transfer of Beneficial Rights Option 2 (if acting as active
                                          Investor).
                                       3. Review and reconcile MERS® System Reports.
                                   CUSTODIAN
                                       1. Review and reconcile MERS® System reports.



                                   Reports
                                   The following reports are generated as a result of the Registered Loans
                                   in Rated Securities process. For a detailed description of each report,
                                   see the MERS® System Reports Handbook:
                                   *   Transfer of Beneficial Rights Rejects/Warnings
                                   *   Pending Transfer of Beneficial Rights
                                   *   Overdue Transfer of Beneficial Rights
                                   *   Physical Transfer of Beneficial Rights
                                   *   Maintenance Verification Report
                                   *   Maintenance Reject/Warnings




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              Transfer of Beneficial Rights
                                   Overview
                                   The Transfer of Beneficial Rights (TOB) transaction is used to track the
                                   transfer of beneficial rights from one investor to another.
                                   There are two types of investors in the MERS® System:
                                      Member Investors (Investors who are MERS® System Members)
                                       Member Investors sign a MERS® System Application, pay MERS®
                                       System membership fees, and have full access to the MERS® System.
                                       As a Member Investor, you have the choice of processing
                                       confirmations of Transfer of Beneficial Rights transactions and
                                       all other transactions manually or automatically.
                                      Non-Member Investors
                                       Non-Member Investors do not sign a MERS® System Application or
                                       pay MERS® System fees and have no ability to access the MERS®
                                       System, confirm MERS® System transactions or retrieve MERS®
                                       System reports. They must be represented on the MERS® System
                                       with Org ID 1000002.
                                   There are two types of TOB transactions on the MERS® System, either of
                                   which may be initiated online or via batch.
                                      Option 1
                                       Used only by Option 1 (or Agency) investors such as Freddie Mac,
                                       Ginnie Mae, and Fannie Mae, to claim investor rights on loans
                                       transmitted to them. Option 1 transfers require no confirmation,
                                       and remove any Interim Funder or Warehouse/Gestation Lender
                                       interests from the loan.
                                      Option 2
                                       Used by most MERS® System Members. Option 2 transfers require
                                       confirmation from the new Investor. They do not remove Interim
                                       Funder or Warehouse/Gestation Lender interests from the loan.
                                   The MERS® System will allow a MIN to co-exist in an Option 2 TOB batch
                                   and a Transfer of Servicing (TOS) batch only if the New Servicer and New
                                   Investor are the same entity.
                                   The MERS® System will allow a MIN to co-exist in an Option 1 TOB batch
                                   and a Flow or Seasoned TOS batch.

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                                          Transfer of Beneficial Rights
                                          Overview
                                          Although the MERS® System tracks changes in ownership of the
                                          beneficial ownership rights for loans registered on the MERS® System,
                                          the MERS® System cannot transfer the beneficial ownership rights to the
                                          debt. The debt can only be transferred by properly endorsing the
                                          promissory note to the transferee. As a MERS® System Member you
                                          have two options for tracking a transfer of beneficial rights to another
                                          Member: Option 1 and Option 2. The determination of whether Option
                                          1 or Option 2 is used is based on the Membership Profile of the
                                          purchasing investor.
                                          Option 1
An Option 1 transfer can be
                                          In an Option 1 transfer, the Investor transfers beneficial rights on a
created in either flat file/EDI           system other than the MERS® System and that system then initiates the
X12 mode or online.                       MERS® System transaction.
                                          Loans in an Option 1 batch that have not been registered are
                                          automatically reprocessed (“cycled”) until the loans have been
                                          registered, up to ten (10) calendar days from the Transfer Date. Option
                                          1 investors receive notification when MIN cycling begins through the
                                          Transfer of Beneficial Rights Reject Report.
                                          If you include MINs that are not registered in your agency transmission,
                                          you will receive an abbreviated version of the Transfer of Beneficial
                                          Rights Reject Report listing these unregistered MINs. It is your
                                          responsibility to register these MINs immediately, entering your MERS®
                                          System Org ID in the Investor field. If you register them after the 10 day
                                          cycling process is over, you must name the Agency in the Investor field.
                                          An Option 1 Transfer of Beneficial Rights will replace any Option 2
                                          investor on the loan. The investor that was removed during the Option
                                          1 process is notified of its removal by the Investor Removed by Option 1
                                          TOB report. Additionally, Interim Funder and Warehouse Gestation
                                          Lender interests are released automatically in an Option 1 beneficial
                                          rights transfer. No confirmations are required for Option 1 transfers.
                                          If a MIN is included in an Option 1 and an Option 2 beneficial rights
                                          transfer batch at the same time, when the Option 1 beneficial rights
                                          transfer is completed, the duplicate MIN is deleted from the Option 2
                                          beneficial rights transfer. The MINs that were deleted from the Option
                                          2 beneficial rights transfer appear on the MINs Deleted from Transfer of
                                          Beneficial Rights Report. Non-duplicate MINs remain in the Option 2
                                          transfer batch.



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                                   MINs can exist simultaneously in an Option 1 beneficial rights transfer
                                   batch and a transfer of servicing batch. See Transfer of Servicing
                                   Rights for details.
                                   Important dates for beneficial rights transfer (Option 1) are:

                                          Transfer creation date: the date the Investor creates the
                                           beneficial rights transfer on the MERS® System
                                          Transfer Date: the date the beneficial rights are transferred to
                                           the new Investor. May be the same as the Transfer Creation
                                           Date or the current processing date if the Transfer Creation
                                           Date is in the past.

                                       Transfer
                                       creation                                    -
                                         date                                Transfer Date




                                                                          Beneficial rights transfer




                                     The Transfer Date cannot be changed nor the transfer canceled on
                                   Option 1 beneficial rights transfers.
                                   Option 2

                                   An Option 2 beneficial rights transfer is initiated on the MERS® System
                                   by the Servicer or Subservicer. The New Investor cannot be an Option 1
                                   Investor.
                                      The Servicer or Subservicer creates a pending beneficial rights
                                       transfer batch. Beneficial rights transfers can be created in flat
                                       file/EDI X12 mode and on MERS® OnLine.
                                      The current Investor and the new Investor confirm or reject the
                                       transfer.
                                          If the current Investor does not have the Approval of Option 2
                                           beneficial transfer option selected in its Member Information
                                           Options, its confirmation is automatic.
                                          If the new Investor does not have the Approval of Option 2
                                           beneficial transfer option selected in its Member Information
                                           Options, its confirmation is automatic.
                                          If you reject the transfer using MERS® OnLine, you can provide a
                                           Reject Reason. Reject Reason definitions are specific to each
                                           investor.

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                                          If the new Investor has indicated in its Member Information that
                                           Investor Loan Number, Pool Number, or Agency ID is required, then
                                           the new Investor must supply the data for each MIN when it
                                           confirms the MINs.
                                          On the Transfer Date, the MERS® System will process all transfers
                                           confirmed by that date. The MERS® System will process transfers as
                                           they are confirmed until the Expiration Date. Confirmation and
                                           reject activity for each processing cycle is reported on the Physical
                                           Transfer of Beneficial Rights report. This report is non-cumulative.
                                          The Interim Funder removes its security interests in the loans. It is
                                           not necessary to have the Interim Funder interests removed for the
                                           beneficial rights transfer to be registered. Completed transfers with
                                           interim funding interests not released appear on the Coexisting
                                           Security Interest Report.
                                          The Warehouse Gestation Lender’s interests are automatically
                                           removed when a Transfer of Servicing rights processes, or removed
                                           by the Servicer or Subservicer if servicing is not transferred.
                                       While a transfer is pending, all parties named in the batch can view the
If you create a transfer               pending transaction using the View List of Batches feature in MERS®
Batch that has missing                 OnLine, and make the following changes:
MINs, or MINs that
shouldn’t be included, use                The new Investor can confirm or reject MINs in the batch at any
the Modify Batch option in                 time prior to the Expiration Date.
      ®
MERS OnLine to correct it
while the Batch is in
                                          The new Investor can change transfer confirmations (for example,
pending or overdue status.                 reject a previously confirmed loan) any time prior to the Transfer
This activity will produce a               Date.
Modified Batch –Transfer of
Beneficial Rights report                  The party initiating the batch can change the Transfer Date. This will
                                           remove any confirmations made before the date was changed, so
                                           all MINs will have to be confirmed again.
                                          The new Investor can change the investor loan and pool numbers to
                                           reflect its own information
                                          The initiating Member can add MINs to the batch any time prior to
                                           the completion date, but the new MINs will have to be confirmed by
                                           the new Investor before they will be transferred.
                                          The initiating Member can delete any MIN from the batch, as long
                                           as that MIN has not been confirmed by the new Investor.



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                                       The initiating Member can cancel the entire batch any time prior to
                                        the completion of the batch on Option 2 transfers, as long as the
                                        new Investor has not confirmed the transfer.
                                   Loans not completely confirmed or rejected by the Expiration Date (31
                                   days from the Transfer Date or from the Creation Date if Transfer Date
                                   is prior) are noted on the Expired Transfer Report, and the transfer
                                   batch status changes from transfer overdue to transfer Pending Delete.
                                   Important dates for beneficial rights transfer (Option 2) are:

                                           Transfer creation date: the date the Servicer or Subservicer
                                            creates the beneficial rights transfer transaction on the MERS®
                                            System
                                           Transfer Date: the date the beneficial rights are transferred to
                                            the new Investor. May be the same as the Transfer Date or
                                            within 30 days of that date.
                                           Transfer Expiration date: 31 days after the Transfer Date MINs
                                            not confirmed or rejected by the expiration date will revert back
                                            to their original Investor.


                             Transfer                                                                                 Transfer
                                                                                                                      Expiration
                             creation
                                                                                                                      Date
                               date                              Transfer Date
                                                                                                                          31 days
                                                           Transfer Date confirmations                                    after
                                                                                                                           Transfer Date
                                                                                         Beneficial rights transfer




                                     If the Transfer Date is before the Transfer creation date, the Transfer
                                   deletion date will be 31 days after the Transfer creation date.

                                   Impact
                                   The Transfer of Beneficial Rights process affects the following types of
                                   organizations:

                                           Servicers
                                           Subservicers
                                           Investors
                                           Interim funding lenders


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                                                   Document custodians
                                                   Associated Members
                                            Business Procedure—Option 1
For Option 1, the loan must be              This option is used when the seller registers the loan on the MERS®
registered on MERS. The MERS®               System, listing itself as the Investor, and then sells the loan to an Option
System Member selling beneficial
rights delivers loans to the investor       1 Investor. The seller must include the MIN on the transmission to the
as it did before, but must include the      Option 1 investor. The Investor then initiates the transfer of beneficial
MIN in the transmission. The
investor then transfers beneficial
                                            rights from its own system and the process below begins.
rights for the loans it has agreed to
purchase and updates MERS.
                                                1. The new Investor creates a batch transaction that transfers
                                                   beneficial rights to itself on the MERS® System.
                                                2. When the Transfer Date is reached, the MIN is transferred.
       Loans that are rejected from the         3. If the MIN has not been registered by the Transfer Date, the
       batch transaction should be
       updated by the Investor in MERS®            batch continues to cycle for up to ten days.
       OnLine using the Option 1 transfer
       of beneficial rights.                    4. Loans not registered within the ten day window may be
       MINs rejected due to non-                   registered with the new Investor’s Org ID in the Investor field,
       registration are automatically              or after registration the new Investor can update the loan in
       reprocessed up to 10 calendar
       days from the Transfer Date.
                                                   MERS® OnLine using the Option 1 Transfer of Beneficial Rights.
       Option 1 investors are notified
       when the reprocessing cycle
                                                5. Registered loans that are rejected from the batch transaction
       begins through the Transfer of              can be updated by the new Investor in MERS® OnLine using the
       Beneficial Rights Reject Report.
                                                   Option 1 Transfer of Beneficial Rights.
                                                6. The transfer of beneficial rights appears on the MIN-level
                                                   milestones, audit history, and transfer audit history.
                                                7. The Originator or Servicer, old Investor, new Investor, and
                                                   Custodian of the transfer of beneficial rights receive a Physical
                                                   Transfer of Beneficial Rights Report.
                                            Note: This process is also used by some investors to reflect each
                                            additional principal advance against a Home Equity Conversion
                                            Mortgage (HECM). The system generates the usual milestone, audit
                                            history, transfer audit history, and report entries for each advance
                                            reported as an option 1 TOB, but the same option 1 investor appears as
                                            both previous and new investor.




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                                       Business Procedure—Option 2
                                       The seller uses this option when selling to an Option 2 Investor. The
                                       seller enters the transfer of beneficial rights transactions on the MERS®
                                       System, and the Investor can choose whether to confirm or reject the
                                       transfer.
The Transfer Date can be a past        1. The current Servicer or Subservicer creates a pending beneficial
date, up to 60 calendar days before
the transaction origination date, or      rights transfer batch on the MERS® System, including the following
up to 180 days in the future.             information:
                                              Transfer Date
                                              Current Investor
                                              New Investor
                                              New Custodian (if applicable)
                                             MINs
                                       2. The MERS® System validates the information.
                                       3. The initiating Member and current Investor receive a Pending
                                          Transfer of Beneficial Rights Report.
                                       The initiating Member may:
                                              Cancel the Option 2 Transfer of Beneficial Rights anytime before
                                               it is confirmed by the new Investor.
                                             Use the Modify Batch option in MERS® OnLine to add MINs to or
                                              delete MINs from the batch while it is in pending or overdue
                                              status. This activity will produce a Modified Batch –Transfer of
                                              Beneficial Rights Report.
The MERS® System checks daily          4. The current and new Investors confirm or reject the transfer at the
to determine if the Transfer Date
has been reached.                         batch, pool, securitization, or loan level.
If the new Investor does not                  If the Investor is a Passive Investor the confirmation is
confirm the transfer by the transfer           automatic.
date, the MERS System reflects
an overdue transfer status for the           If the new Investor has indicated that Investor Loan Number,
loan(s).                                      Pool Number, Agency ID, or any combination of the three is
                                              required, then the new Investor must supply the data fields for
                                              each MIN.
                                       5. The MERS® System updates the Investor information on the Transfer
                                          Date or on the date that the Investor confirms the transfer,
                                          whichever is later.
                                       6. The transfer of beneficial rights appears on the MIN-level
                                          milestones, audit history, and transfer audit history.



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                                   7. The current Servicer, new Investor, old Investor, and old and new
                                      Document Custodians receive a Physical Transfer of Beneficial
                                      Rights Report.

                                   Processing
                                   Before the Transfer Effective Date the system will:
                                          Automatically remove a MIN from the pending TOB option 2
                                           batch if it is transferred by a TOB option 1 transaction,
                                           deactivated, or registration reversed. This will be reported on
                                           the Physical Transfer of Beneficial Rights (BB) report.
                                          Automatically cancel the batch if all MINs have been removed
                                           from it. This will be reported on the Canceled Transfer of
                                           Beneficial Rights (BG) report.
                                   On the Transfer Effective Date the system will:
                                         Remove from the batch all confirmed MINs
                                          Update the rights holder for all confirmed, active MINs
                                          Update milestones, audit history, and transfer audit history for
                                           each transferred MIN
                                          Mark these MINs as transferred on the Physical Transfer of
                                           Rights Report (BB)
                                          Remove from the batch all MINs rejected by the confirming
                                           Member (all MINs with at least one confirmation indicator set
                                           to “N”) and MINs removed by the system due to the MIN
                                           becoming deactivated or re-registered with a different servicer
                                          Mark these MINs as rejected or removed on the Physical
                                           Transfer of Rights Report (BB)
                                          If any unconfirmed MINs remain in the batch, the system will
                                           change the batch status to “Overdue” and list the remaining
                                           MINs on the Overdue Transfer of Rights Report (BC)
                                   NOTE about the Physical Transfer of Rights Report (BB):
                                   This report is NOT cumulative. You must review it each time it is
                                   produced to see the activity from the previous cycle.
                                   After the Transfer Effective Date, for each processing cycle after
                                   the Transfer Effective Date, the system will:
                                          Remove from the overdue batch all newly confirmed MINs
                                          Update the rights holder for these MINs
                                          Update milestones, audit history, and transfer audit history for
                                           the MINs


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                                          Mark these MINs as transferred on the Physical Transfer of
                                           Rights Report (BC)
                                          Remove from the batch all MINs newly rejected by the
                                           confirming Member (all MINs with at least one confirmation
                                           indicator set to “N”) and MINs removed by the system due to
                                           the MIN becoming deactivated or re-registered with a different
                                           Investor. These MINs will be marked as rejected or removed on
                                           the Physical Transfer of Rights Report (BB)
                                   If there are any remaining, active unconfirmed MINs in the overdue
                                   batch, they will continue to be listed on Overdue Transfer of Rights
                                   Report (BC)

                                   If there are unconfirmed MINs in a batch 20 days after the Transfer
                                   Effective Date, the system will display a message on the Welcome Page
                                   for both the initiating and confirming Members.

                                   On the Transfer Expiration Date (30 days from the Transfer Date, or
                                   from the Creation Date if later), the system will:
                                        Produce an Expired Transfer (BD) report listing any unconfirmed
                                          MINs
                                        Mark the batch as “Pending Delete” and stop all further
                                          processing on the batch
                                        Not change the Investor field



                                   Reports
                                   The following reports are generated during the Transfer of Beneficial
                                   Rights process. For a detailed description of each report, see the
                                   MERS® System Reports Handbook:
                                   *   Pending Transfer Of Beneficial Rights Report
                                   *   Modified Batch – Transfer of Beneficial Rights
                                   *   Physical Transfer of Beneficial Rights Report
                                   *   Overdue Transfer of Beneficial Rights Report
                                   *   MINs Transferred to a Non-MERS Servicer Report
                                   *   Transfer of Beneficial Rights Rejects Report
                                   *   Canceled Transfer of Beneficial Rights Report
                                   *   Expired Transfer of Beneficial Rights Report
                                   *   MINs Deleted from Transfer of Beneficial Rights Report
                                   *   Investor Removed by Option 1 Transfer of Beneficial Rights Report
                                   *   Summary of Transfer of Beneficial Rights Rejects Report
                                   *   MIN Milestone Report for Associated Members



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                                   Transfer of Beneficial Rights to
                                   Non-MERS® System Member
                                   Investors
                                   Overview
                                   It is not a requirement that an Investor be a MERS® System Member for
                                   a loan to remain on the MERS® System. For private investors, where an
                                   assignment in the Investor’s name is not required, the loans may be
                                   transferred by inserting Org ID 1000002 in the New Investor field. (The
                                   name “Undisclosed Investor” will appear in the Member Summary for
                                   this Org ID, and “Contact Servicer” will display for address and contact
                                   names.)
                                   The following criteria must be met to use this Org ID:
                                      No assignment has been recorded naming the Investor as
                                       mortgagee of record. (If Investor requires an assignment out of
                                       Mortgage Electronic Registration Systems, Inc., see Transfer to
                                       Non-MERS Status deactivation.)
                                      The Investor does not desire to be a MERS® System Member.
                                      The Investor does not wish to view information on the MERS®
                                       System for loans on which it owns the Beneficial Rights, and does
                                       not wish to review any MERS® System reports for transactions
                                       associated with those loans.


                                   Impact
                                   This process has potential impact on the following types of
                                   organizations:
                                          All MERS® System Members

                                   Business Procedure
                                   1. As part of the normal Investor Approval process for transfers or loan
                                      deliveries, you must notify the Investor of your intent to name
                                      Mortgage Electronic Registration Systems, Inc. as the Mortgagee of
                                      Record by delivering a MOM security instrument or through an
                                      assignment to Mortgage Electronic Registration Systems, Inc.


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                                   2. You will identify non-MERS® System member investor loans and
                                      transfer the beneficial rights in the MERS® System using
                                      Organization ID 1000002 as New Investor.

                                   Reports
                                   The following reports are generated for beneficial rights transfer to a
                                   non-Member. For a detailed description of each report, see the
                                   MERS® System Reports Handbook:
                                   *   Physical Transfer of Beneficial Rights Report
                                   *   Transfer of Beneficial Rights Rejects Report
                                   *   Summary of Transfer of Beneficial Rights Rejects Report
                                   *   MIN Milestone Report for Associated Members




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                         Removing Interim Funder
                               Security Interests
                                   Overview
                                   Interim funding interests are removed from the MERS System in two
                                   situations:

                                          Indirectly by the investor when an Option 1 transfer of
                                           beneficial rights is completed and the Interim Funder is
                                           removed from the loan record by an investor purchase
                                          Directly by the Interim Funder when it has been reimbursed,
                                           either by the Lender, Investor, or another Interim Funder
                                   The Interim Funder can remove its security interest from the MERS
                                   System at any time; however, it is not necessary to have the interim
                                   funding interest removed for the beneficial rights transfer to occur. On
                                   Option 2 transfers, completed transfers with existing interim funding
                                   interests will appear on an exception report, which notes the coexisting
                                   beneficial interests.
                                   If the Option 1 beneficial rights transfer is used, the interim funding
                                   interests are removed automatically. The Interim Funder reviews any
                                   wiring instructions provided to it by the originator as applicable and
                                   contacts the seller of the beneficial interests if there are problems.

                                   If the Option 2 beneficial rights transfer is used, the Interim Funder
                                   removes its security interests before or after the transfer of beneficial
                                   rights has been completed to the new investor.


                                   Impact
                                   The Removal of Interim Funder Security Interests affects the following
                                   types of organizations:
                                          Interim funding organizations
                                          Investors
                                          Servicer
                                          Subservicers
                                          Associated Members



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                                   Business Procedure—TOB Option 1
                                   The following business procedure is used for removing Interim Funder
                                   security interests with a TOB Option 1 transaction:
                                       1. The Servicer registers the loan, identifying an Interim Funder
                                          entity as holder of a secured interest on the MERS® System.
                                       2. The Servicer sells the loan to an Option 1 Investor (Fannie Mae
                                          for example) and includes the MIN in its loan delivery
                                          transmission.
                                       3. The new Option 1 Investor creates a batch transaction that
                                          updates the MERS® System. The beneficial interest on the sold
                                          loan(s) is transferred to the investor, and the Interim Funder is
                                          automatically removed.
                                       4. The removal of Interim Funder appears on the MIN-level
                                          milestones.
                                       5. The Interim Funder organization receives a Release of Security
                                          Interests by Interim Funder Verification Report
                                       6. The Interim Funder reviews any wiring instructions provided to
                                          it by the lender as applicable and contacts the seller of the
                                          beneficial interests if there are problems.

                                   Business Procedure—TOB Option 2
                                       1. The Servicer registers the loan, identifying the Interim Funder at
                                          registration as holder of a secured interest on the MERS®
                                          System.
                                       2. The Servicer then initiates an Option 2 transfer of beneficial
                                          rights on the MERS® System.
                                       3. The Investor purchasing the beneficial rights confirms or rejects
                                          the transfer of beneficial rights.
                                       4. The Interim Funder verifies that its advance on this loan has
                                          been repaid, usually because of the investor purchase.
                                       5. The Interim Funder removes its secured interest on the MERS
                                          System.
                                       6. The removal of Interim Funder appears on the MIN-level
                                          milestones.
                                       7. The Investor, the Interim Funder, the Servicer or Member
                                          selling the rights and the Document Custodian (if applicable)
                                          receive a Release of Security Interests by Interim Funder
                                          Verification Report.



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                                   Reports
                                   The following reports are generated during the interim funding process.
                                                                                           ®
                                   For a detailed description of each report, see the MERS System
                                   Reports Handbook:
                                   *   Coexisting Security Interests Report
                                   *   Release of Security Interests by Interim Funder Report
                                   *   Interim Funding Reject Report
                                   *   MIN Milestone Report for Associated Members




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 Removing Warehouse/Gestation
      Lender Security Interests
                                   Overview
                                   Warehouse Gestation Lender interests are removed from the MERS
                                   System in three ways:

                                           Indirectly when an Option 1 transfer of beneficial rights is
                                            completed
                                           Indirectly when a Transfer of Servicing rights is completed
                                           Directly by the Servicer or Subservicer
                                   It is not necessary to have the Warehouse Gestation Lender interest
                                   removed for a beneficial rights transfer to occur. Completed Option 2
                                   transfers with existing Warehouse Gestation Lender interests will
                                   appear on an exception report, which notes the coexisting beneficial
                                   interests.
                                   If the Option 1 beneficial rights transfer is used, the Warehouse
                                   Gestation Lender interests are removed automatically. The Warehouse
                                   Gestation Lender reviews any wiring instructions provided to it by the
                                   originator as applicable and contacts the seller of the beneficial
                                   interests if there are problems.


                                   Impact
                                   The Removal of the Warehouse Gestation Lender security interests
                                   affects the following types of organizations:
                                           Interim funding organizations
                                           Investors
                                           Servicer
                                           Subservicers
                                           Associated Members




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                                   Business Procedure—TOB Option 1
                                   The following business procedure is used for removing Warehouse
                                   Gestation Lender security interests using a TOB Option 1 transaction:
                                       1. The Servicer registers the loan, identifying the Warehouse
                                          Gestation Lender entity as holder of a secured interest on the
                                          MERS® System.
                                       2. The Servicer sells the loan to an Option 1 Investor (Fannie Mae
                                          for example) and includes the MIN in the loan delivery
                                          transmission.
                                       3. The new Option 1 Investor creates a batch transaction that
                                          updates the MERS® System. The beneficial interest on the sold
                                          loan(s) is transferred to the investor, and the Warehouse
                                          Gestation Lender is automatically removed from the MIN
                                       4. The removal of Warehouse Gestation Lender appears on the
                                          MIN-level milestones.

                                       5. The Warehouse Gestation Lender organization receives a MIN
                                          Milestone Report for Associated Members and a Change
                                          Notification Report.
                                       6. The Warehouse Gestation Lender reviews any wiring
                                          instructions provided to it by the lender as applicable and
                                          contacts the seller of the beneficial interests if there are
                                          problems.


                                   Business Procedure—TOB Option 2
                                       1. The Servicer registers the loan, identifying the Warehouse
                                          Gestation Lender at registration as holder of a secured interest
                                          on the MERS® System.
                                       2. The Servicer then initiates an Option 2 transfer of beneficial
                                          rights on the MERS® System.
                                       3. The Investor purchasing the beneficial rights confirms or rejects
                                          the transfer of beneficial rights.




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                                       4. The Coexisting Security Interests Report informs the Investor
                                            and Warehouse Gestation Lender of their mutual security
                                            interests.
                                       5. The Warehouse Gestation Lender verifies that its advance on
                                          this loan has been repaid, usually because of the investor
                                          purchase.
                                       6. The Warehouse Gestation Lender’s interest is automatically
                                          removed by a Transfer of Servicing Rights, or removed by the
                                          Servicer or Subservicer if servicing is not transferred.
                                       7. The removal of Warehouse Gestation Lender appears on the
                                          MIN-level milestones.
                                       8. The Warehouse Gestation Lender receives the MIN Milestone
                                          Report and the Change Notification Report.


                                   Reports
                                   The following reports are generated during the removal of Warehouse
                                   Gestation Lender security interests process. For a detailed description
                                                                 ®
                                   of each report, see the MERS System Reports Handbook:
                                   *   Coexisting Security Interests Report
                                   *   MIN Milestone Report for Associated Members
                                   *   Change Notification Report.




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                 Transfer of Servicing Rights
                                    Overview
                                    There are two types of servicing rights transfers: flow transfer of
                                    servicing rights and transfer of seasoned servicing rights. The MERS®
                                    System defines flow transfers of servicing rights as those completed 270
                                    calendar days or less after the note date. A seasoned transfer of
                                    servicing rights is one that occurs more than 270 days after the note
                                    date. MERSCORP, Inc. management reserves the right to examine the
                                    Purchase and Sale Agreement under which a sale and transfer of
                                    servicing rights occurs if there is doubt whether a particular transfer
                                    meets the flow criteria.
                                    Note: Both seller and buyer are responsible for completing the transfer
                                    on the MERS® System in a timely manner. The determination of
                                    whether a transfer is seasoned (and therefore incurs a seasoned
                                    transfer fee) is based on how long after the note date the loan is
                                    transferred on the MERS® System.
                                    The MERS® System will distinguish the difference between flow and
                                    seasoned transfers of servicing rights and bill the applicable fee for
                                    seasoned transfers. There is no fee for flow transactions regardless of
                                    how many flow transactions a MIN undergoes.
                                    When a TOS transaction contains both flow and seasoned MINs, the
                                    MERS® System will move the flow and seasoned MINs to separate
                                    batches. If submitted through the Flat File/EDI X12, the system will
                                    create additional batches for each Investor involved in the batch.
                                    In a flow batch, if the sale and transfer dates submitted are not equal,
                                    the MERS® System will change the sale date to equal the transfer date.
NOTE FOR FLAT FILE/EDI X12
USERS: To update the MIN with       If the Investor (such as Ginnie Mae) requires Servicer Agency ID, the
Agency ID without affecting the     new Servicer must provide its Agency ID either at the MIN level or in its
confirmations, use a 252
transaction with “N” (No) for
                                    Member Information (which will then populate the MIN with the
Confirmation action code, and       Agency ID) after confirmations and before transfer occurs. If the batch is
Confirmation for Effective Date.    already created but is lacking Agency IDs, the Servicer can update each
Both fields must contain “N” in
                                    MIN in the batch. Servicers with more than one Agency ID for that
order to bypass the confirmation
edits. Refer to the Integration     Investor must update each MIN unless the Agency ID to be used is
Handbook Volume II and the EDI      included in their MERS® System Member Information. To update a TOS
Implementation Guide for details.   batch, the Servicer will use the Confirm Batch transaction.
                                    When a current Servicer sells servicing rights to loans it services to a
                                    new Servicer, the roles of any Subservicer (both current and new) and
                                    Investor are considered. Any combination of these roles is supported in
                                    the MERS® System.

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                                   A MIN can only exist in one transfer of servicing rights at a time, and can
                                   only exist in an Option 2 TOB transaction and a TOS transaction
                                   simultaneously if the New Servicer and New Investor are the same
                                   entity. If a conflict occurs, the following happens:
                                      In MERS® OnLine, the second transaction rejects during creation
                                       and the batch cannot be created until the “conflicting” batch is
                                       processed or canceled or the “conflicting” MIN is removed from the
                                       batch to be created.
                                      In a Flat File/EDI X12 process, the batch is created if at least one
                                       MIN is valid. MINs that already exist in a TOS or TOB Option 2 batch
                                       will reject and appear on the reject report. The MERS® System
                                       automatically creates the appropriate batches based on the current
                                       Investor listed on the MIN for batch transactions, for MINs that
                                       match the flow criteria.
                                   A MIN can exist in a TOS batch and an Option 1 TOB batch
                                   simultaneously.
                                      If some of the MINs in the TOS batch are also in the Option 1 TOB,
                                       the system will automatically delete the duplicate MINs from the
                                       TOS batch, and create a new batch for them using the new Investor
                                      If all the MINs in the TOS batch are also in the Option 1 TOB, a new
                                       batch is not created, and the existing TOS batch is updated with the
                                       new Investor.


                                   Impact
                                   The transfer of servicing rights process has potential impact to the
                                   following types of organizations:
                                          Servicers
                                          Subservicers
                                          Investors
                                          Document Custodians
                                          Associated Members
                                   The general process in a Transfer of Servicing rights is:
                                    The current Servicer or Subservicer creates a pending transfer of
                                      servicing rights on the MERS® System and specifies the new Servicer
                                      and/or Subservicer, Investor, Sale Date (if different from the
                                      Transfer Date), Transfer Date, and new Document Custodian.
                                       The Servicer may create a Transfer of Servicing Rights
                                          transaction when a Subservicer is also named on the MIN.


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                                           The new Servicer, any Subservicer, Custodians, and the Investor
                                            (if required) are notified of the pending transfer by a Pending
                                            Transfer of Servicing Rights Report.
                                        The initiating Member can cancel the transfer batch anytime
                                            before the transfer takes place.
                                        The initiating Member can change the Transfer Date anytime
                                            before the Transfer Date is reached, as long as no MINs in the
                                            batch have been confirmed.
                                        If the new Servicer is a Non-MERS member, or for an
                                            iRegistration, the current Servicer is responsible for preparing
                                            and recording assignments in the county land records
                                            evidencing the transfer of title to the new Servicer.
                                        If the new Servicer is a Non-MERS Member, a deactivation
                                            transaction is used instead of the TOS transaction. (See
                                            Transfer to Non-MERS Status.)
                                      The confirmation for the initiating Member is automatic.
                                        If the Servicer creates the TOS, the confirmation for the Current
                                            Servicer is automatic.
                                        If the Subservicer creates the TOS, the confirmation for the
                                            Current Subservicer is automatic, and the Current Servicer must
                                            confirm the transfer.
                                      If there is a New Subservicer, the New Subservicer confirms the
                                       transfer, and the New Servicer does not confirm.
                                        When the Current Servicer creates a batch naming itself as the
                                            New Subservicer, the confirmation for the New Subservicer is
                                            automatic.
                                        When the Current Subservicer creates a batch naming itself as
                                            the New Servicer, and naming a New Subservicer, the New
                                            Subservicer is required to confirm the transfer.
                                        When the Current Subservicer creates a batch naming itself as
                                            the New Subservicer, the confirmation for the New Subservicer
                                            is automatic.
                                      If there is no New Subservicer, the New Servicer confirms the
                                       transfer.
                                        When the Current Subservicer creates a batch naming itself as
                                            the New Servicer without naming a New Subservicer, the
                                            confirmation for the new Servicer is automatic.
                                      For seasoned transfers only, if the Investor has specified in Member
                                       Information that it must confirm transfers of servicing rights on its
                                       loans, the Investor confirms the transfer.




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                                      The New Servicer (or New Subservicer if present), Current Servicer,
                                       or Investor (only for seasoned loans, and only if Investor has
                                       specified in Member Information that it must confirm transfers of
                                       servicing rights) may reject the transfer any time before the transfer
                                       date.
                                        If you reject the transfer as the New Servicer or New
                                            Subservicer, using MERS® OnLine, you can choose from a
                                            dropdown list of Reject Reasons. Specific definitions for these
                                            Reject Reasons are determined by each Member.
                                      On the Transfer Date, and on each processing day that the batch
                                       remains in overdue status:
                                        MINs that have been confirmed by all necessary parties will
                                            transfer to the new Servicer and/or Subservicer.
                                             If the Investor has indicated in its Member Information that
                                                 Agency ID is required, the System will automatically update
                                                 each MIN in the batch with the Agency ID listed in the new
                                                 Servicer’s Member Information. The Agency ID will update
                                                 to null values if the new Investor does not require Agency
                                                 ID.
                                             Any existing Warehouse Gestation Lender is removed from
                                                 the MIN.
                                             The current Custodian remains on the MIN unless a new
                                                 Custodian, or the remove Custodian indicator, is specified
                                                 when the transfer is created.
                                             Associated Members (with the exception of Warehouse
                                                 Gestation Lender) identified on each transferred MIN
                                                 remain with that MIN
                                                  The current Servicer or Subservicer can delete the
                                                     Associated Member anytime before the transfer takes
                                                     place.
                                                  Once the transfer has taken place, the new Servicer or
                                                     Subservicer can update Associated Member
                                                     information.
                                             After the transfer is complete, the old Servicer or
                                                 Subservicer cannot update the loans.
                                      MINs that are rejected by any party will be removed from the batch
                                       without being transferred.
                                      MINs that are neither confirmed nor rejected will remain in the
                                       batch in an overdue status.
                                             MINs can still be confirmed while batch status is overdue.
                                      If any MINs remain in the batch on the Transfer Expiration Date (30
                                       days after the Transfer Date or batch creation date, whichever is
                                       later), the batch will be cancelled, and the remaining MINs will not
                                       be transferred.


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                                   Flow Transfer of Servicing Rights
                                   Note Date

                                   MINs with a note date 270 or fewer calendar days from the Transfer
                                   Date will be processed in a flow TOS batch.
                                      If the Flow TOS Flat File/EDI X12 transaction is used:
                                       If the note date on one or more MINs is more than 270 days before
                                       the Transfer Date, the flow transfer of servicing rights batch is
                                       created without those MINs. The following error message appears
                                       for the rejected MINs on the Transfer of Servicing Rights Reject
                                       Report: “Transfer Date is past the cutoff for a flow transaction”
                                          Use the TOS Flat File/EDI X12 transaction instead of the Flow
                                           TOS Flat File/EDI X12 transaction if you also have seasoned
                                           MINs to transfer. It will separate flow and seasoned MINs into
                                           separate transfer batches, and you will be charged only for the
                                           seasoned transfers.
                                   Sale Date/Transfer Date

                                   Because there is not a “staging” period in a flow transfer of servicing,
                                   the MERS® System defaults the Sale Date to the value in the Transfer
                                   Date field.
                                      In MERS® OnLine, the Sale Date is automatically set equal to the
                                       Transfer Date when you complete the Transfer Date field.
                                      In a Flat File/EDI X12 process, the Sale Date is set equal to the
                                       Transfer Date when the batch is created on the MERS® System. If
                                       the initiator of a TOS transaction enters a value in the Sale Date field
                                       for the batch, the following warning message appears on the
                                       Rejects/Warnings report for the flow TOS batch: “Sale Date is not
                                       allowed.”
                                   No Investor Confirmation of Flow Transfer of Servicing

                                   To reflect current industry practices, an investor does not have the
                                   ability to confirm a flow transfer of servicing transaction, regardless of
                                   the approval options indicated in Member Information. The approval
                                   options indicated in Member Information apply to seasoned transfer of
                                   servicing transactions.
                                   Milestones Updated
                                   The milestones generated for MINs that transfer successfully in a flow
                                   TOS are labeled “Transfer of flow servicing rights.”




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                                   Seasoned Transfer of Servicing
                                   Rights
                                   Note Date
                                   MINs with a note date more than 270 calendar days before the Transfer
                                   Date will be processed in a seasoned TOS batch.
                                   Sale Date and Transfer Date
                                   The Sale Date is when the buyer purchases the servicing rights. The
                                   Transfer Date is when the new Servicer or Subservicer begins the
                                   physical servicing of the loan. The dates are specified in the purchase
                                   and sale agreement between the buyer and seller of servicing rights.
                                      The buyer purchases the servicing rights on the Sale Date, and the
                                       buyer physically begins servicing the loans on the Transfer Date.
                                      The transfer on the MERS® System takes place on the Transfer Date
                                       if all necessary confirmations have been made.
                                      The transfer batch on the MERS® System is cancelled 30 days after
                                       the Transfer Date or transfer batch creation date, whichever is later,
                                       if all necessary confirmations have not been made.
                                   Investor Confirmation
                                   An Investor may choose to confirm seasoned TOS transactions for loans
                                   on which they are the Investor. The approval option is set by
                                   MERSCORP, Inc. in Member Information. This approval option applies to
                                   seasoned TOS only.
                                   Milestones Updated
                                   The milestones generated for MINs that transfer successfully in a
                                   seasoned TOS are labeled “Transfer of seasoned servicing rights.”




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                                       Involuntary Transfer/Default by
                                       Servicer—Loans transferred to a
                                       MERS® System Member
The system currently represents an        The Involuntary Transfer/Default by Servicer TOS in which loans are
involuntary transfer as a default by       transferred to a MERS® System Member is processed by MERSCORP,
the Servicer, although there may
be more reasons for an involuntary         Inc. for most Members:
transfer than the Servicer
defaulting.                               The Investor contacts the MERSCORP, Inc. corporate offices when
                                           they have made a decision to transfer servicing from a Servicer on
                                           the MERS® System. The Investor identifies the current Servicer, new
                                           Servicer, Sale Date, and Transfer Date.
                                          The Investor may ask MERSCORP to temporarily set the Lockout
                                           Flag for the Servicer. When the Lockout Flag is set for a Member,
                                           that Member is not able to log on to MERS® OnLine or perform any
                                           transactions on the MERS® System, including X12 or flat file
                                           transactions. A more specific lockout may be set to affect all loans
                                           on the MERS® System that are associated with that Servicer for that
                                           Investor. MERSCORP will notify via email all Members impacted by
                                           the lockout.
                                          The Investor instructs MERSCORP which loans to transfer.
                                               o If any loans included in the involuntary transfer/default by
                                                   Servicer transaction also exist in another TOS batch,
                                                   MERSCORP assumes the role of the initiator of the pending
                                                   TOS batch and deletes these MINs from the pending
                                                   transaction. All parties involved in the canceled TOS batch
                                                   will receive a Canceled Transfer of Servicing Rights Report.
                                          MERSCORP initiates a transfer of servicing transaction on behalf of
                                           the current Servicer.
                                          The Investor confirms the transfer of servicing transaction if they
                                           have signified on their member profile they wish to approve
                                           servicing transfers.
                                          The new Servicer is also required to confirm the transfer of
                                           servicing.
                                          Reporting and milestone generation are identical to the other
                                           transfer of servicing processes.
                                          If the old Servicer has a Subservicer, MERSCORP assumes the role of
                                           that Subservicer (only for purposes of updating the MERS® System
                                           and does not actually service or subservice any loans) and creates
                                           separate transfer of servicing transactions on behalf of the
                                           Subservicer. The current Subservicer may also be instructed to
                                           perform the transfers.

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                                      MERSCORP may give Option 1 Investors access to an Option 1 TOS
                                       transaction for default by servicer. The Option 1 TOS allows the
                                       current Investor on a loan to complete a Transfer of Servicing
                                       transaction without confirmation being required from either the old
                                       or new Servicer.
                                          Once this transaction type is authorized by MERSCORP for their
                                           organization, the Option 1 Investor can create Option 1 TOS
                                           transactions in MERS® OnLine, or through flat files or EDI
                                           transactions.
                                          An Option 1 TOS batch cannot be confirmed, rejected, or
                                           modified, but it may be cancelled by the initiator if it was
                                           created in error.
                                          An Option 1 TOS cannot be performed on:
                                                o   A MIN where the Servicer and Investor are the same
                                                    (use TOS or TOS/TOB transaction instead)
                                                o   A MIN in a pending Option 1 TOB batch
                                                o   A MIN in a pending Option 2 TOB batch initiated by the
                                                    Investor (Investor can cancel TOB batch and then create
                                                    Option 1 TOS batch)
                                          A MIN included in an Option 1 TOS batch will be removed from
                                           any existing transfer batch, and will not be allowed to be
                                           included in any new transfer batch, initiated by the Servicer or
                                           Subservicer:
                                                o   Option 2 TOB
                                                o   TOS
                                          A MIN will be automatically removed from a pending Option 1
                                           TOS batch if it is included in a new Option 1 TOB batch.
                                          The Member Options page in MERS® OnLine denotes if a
                                           Member is allowed to perform Option 1 TOS transactions


                                   Involuntary Transfer/Default by
                                   Servicer—Loans transferred to a non-
                                   MERS® System Member Servicer
                                   See Deactivations chapter, Involuntary Transfer/Default by
                                   Servicer section.




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                                   Processing
                                    During the creation of a TOS batch…
                                    If a MIN already exists in an Option 2 TOB batch, and the New
                                    Investor Org ID for the TOB batch is the same as the New Servicer Org
                                    ID for the TOS batch, then that MIN cannot be rejected from the TOS
                                    batch.
                                    If SOME MINs in the TOS batch are also in an Option 1 TOB batch, the
                                    system will:
                                     Delete the duplicate MINs from the pending TOS batch
                                     Create a new TOS batch containing the duplicate MINs
                                     Carry over confirmation settings to the new batch (for example, if
                                         you have confirmed the transfer for three MINs, those three MINs
                                         will show a confirmed status)
                                     Set the Agency ID for each MIN in the new batch to match the
                                         value (if any) in the TOB Option 1 batch
                                     Report the duplicate MINs on the MINs Deleted From Pending TOS
                                         Rights Report (SI)
                                    The current Servicer/Subservicer should remind the new
                                    Servicer/Subservicer that the duplicate MINs are in a new TOS batch,
                                    and any changes to confirmations or rejections must be completed
                                    before the transfer occurs.
                                    If ALL MINs in the TOS batch are also in an Option 1 TOB batch, the
                                    system will:
                                     Update the Investor of the existing TOS to the new Investor in the
                                         TOB Option 1
                                     Set the Agency ID for each MIN in the new batch to match the
                                         value (if any) in the TOB Option 1 batch


                                   On the Transfer Effective Date…
                                    (or in the current processing cycle if the Transfer Date is less than the
                                    current date) the system will:
                                     Remove from the batch all confirmed MINs,
                                     Update the rights holder for all confirmed, active MINs,
                                     Update milestones for each transferred MIN
                                     Mark these MINs as transferred on the Physical Transfer of Rights
                                       Report (SC)
                                     Remove from the batch all rejected MINs (all MINs with at least one
                                       confirmation indicator set to “N”) and MINs removed by the system
                                       due to the MIN becoming deactivated or re-registered with a
                                       different servicer


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                                     Mark these MINs as rejected or removed on the Physical Transfer of
                                       Servicing Rights Report (SC)
                                     If there are any remaining unconfirmed MINs left in the batch, the
                                       system will change the batch status to “Overdue” and list only the
                                       remaining MINs on the Overdue Transfer of Servicing Rights Report
                                       (SE)
                                    NOTE about the Physical Transfer of Servicing Rights Report (SC): This
                                    report is NOT cumulative. You must review it each time it is produced
                                    to see the activity from the previous cycle.

                                   After the Transfer Effective Date…
                                   For each processing cycle, the system will:
                                      Remove from the overdue batch all newly confirmed MINs,

                                      Update the rights holder for these MINs,

                                      Update milestones for each transferred MIN

                                      Mark these MINs as transferred on the Physical Transfer of Servicing
                                       Rights Report (SC)

                                      Remove from the batch all MINs newly rejected by the confirming
                                       Member (all MINs with at least one confirmation indicator set to
                                       “N”) and MINs removed by the system due to the MIN becoming
                                       deactivated or re-registered with a different servicer

                                      Mark these MINs as rejected or removed on the Physical Transfer of
                                       Servicing Rights Report (SC)
                                       If there are any remaining active, unconfirmed MINs in the overdue
                                       batch, they will be listed on the Overdue Transfer of Servicing Rights
                                       Report (SE)
                                       If there are unconfirmed MINs in a batch 20 days after the Transfer
                                       Effective Date, the system will display a message on the Welcome
                                       Page for both the initiating and confirming Members.

                                   On the Transfer Expiration Date…
                                   (30 days from the Transfer Date or from the Creation Date if Transfer
                                   Date is prior) the system will:

                                      Produce the Expired Transfer of Servicing Report (SD) listing any
                                       unconfirmed MINs
                                      Mark the batch as “Pending Delete” and stop all further processing
                                       on the batch.




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                                         Business Procedure
                                          1. The current Servicer or Subservicer (or Investor for an Option 1
                                             TOS) initiates the transfer transaction by entering the following
The seller must initiate all
                                             loan transfer information:
Transfer of Servicing Rights
transactions within five                         Sale Date (used for seasoned transfer only)
calendar days of the                              The Sale Date may be a future date or up to 60 calendar
effective transfer date.                          days prior to the transaction creation date. On a Flow TOS,
The effective transfer date                       Transfer Date is used for Sale Date.
is the date defined in the                       Transfer Date
Purchase and Sale                                Org ID of current Investor
Agreement on which the                           Org ID of current Servicer
buyer begins servicing the
                                                 Org ID of current Subservicer (if applicable)
loans on its servicing
system.
                                                 Org ID of new Servicer
                                                 Org ID of new Subservicer (if applicable)
If you create a transfer                         Org ID of new Custodian (if applicable)
Batch that has missing                           MIN(s)
MINs, or MINs that
                                          4. The MERS® System validates the information.
shouldn’t be included, use
the Modify Batch option on                3. The current and new Servicer, Subservicer, Investor, Document
      ®
MERS OnLine to correct it                    Custodian, and Interim Funder of the loans to be transferred
while the Batch is in                        receive and review a Pending Transfer of Servicing Rights Report
pending or overdue status.                   every day the transfer is in a pending status.
This activity will produce a
Modified Batch –Transfer of               4. The old and new Servicers reconcile the transfer information.
Servicing Rights Report                   5. The new Servicer or Subservicer confirms the transfer (except
                                             for an Option 1 TOS).
                                          6. On a seasoned transfer of servicing rights, the Investor confirms
Once this transaction has been               the transfer (if applicable).
completed, the seller no longer has
update access to transferred loans.       7. The transfer takes place on the Transfer Date.
                                          8. If a Warehouse/Gestation Lender appeared on the MIN before
                                             the transfer, it is removed.
                                          9. If a Property Preservation Company appeared on the MIN
                                             before the transfer, it is removed.
                                          10. The transfer of servicing rights appears on the MIN-level
                                              milestones.
If the transfer is still not confirmed    11. The current and new Servicer, Subservicer, Investor Document
30 calendar days after the Transfer
Date, the seller remains in the
                                              Custodian, and Interim Funder receive a Physical Transfer of
Servicer field on the MERS®                   Servicing Rights Report.
System.
                                          12. All Associated Members on the MIN receive the MIN Milestone
                                              Report for Associated Members.

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                                       13.




                                   Reports
                                   The following reports are generated during the Transfer of Servicing
                                   Rights process. For a detailed description of each report, see the
                                   MERS® System Reports Handbook:
                                   *   Pending Transfer of Servicing Rights Report
                                   *   Sale of Servicing Rights Report
                                   *   Modified Batch – Transfer of Servicing Rights
                                   *   Physical Transfer of Servicing Report
                                   *   Expired Transfer of Servicing Rights Report
                                   *   Overdue Transfer of Servicing Rights Report
                                   *   Transfer of Servicing Rejects Report
                                   *   Canceled Transfer of Servicing Rights Report
                                   *   Current Investor Changes for Pending Transfer of Servicing
                                       Rights Report
                                   *   MINs Deleted from Pending Transfer of Servicing Rights
                                       Report
                                   *   MIN Milestone Report for Associated Members




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                                  TOS/TOB Combination
                                   Overview
                                   This chapter describes how to perform a single transaction, called a
                                   TOS/TOB Combo, to reflect a Transfer of Servicing Rights (TOS) and an
                                   Option 2 Transfer of Beneficial Rights (TOB). The transaction has the
                                   same requirements and undergoes the same processing criteria as the
                                   TOS and TOB Option 2 transactions outlined in the Transfer of
                                   Servicing Rights and Transfer of Beneficial Rights chapters.
                                   Both beneficial and servicing rights must be transferring from a single
                                   Member to a single Member, but you can also designate a new
                                   Subservicer. You can designate a new Document Custodian, or delete all
                                   Document Custodians on the MINs in the TOS/TOB Combo batch.
                                   Like the TOS, the TOS/TOB Combo will only generate a transaction fee if
                                   the transfer date is more than 270 days later than the note date.
                                   A MIN contained in a TOS/TOB Combo may exist simultaneously in an
                                   Option 1 TOB. However, any MIN contained in a TOS/TOB Combo
                                   cannot exist simultaneously in another TOS or an Option 2 TOB.
                                   This transaction may only be initiated by the current Servicer or
                                   Subservicer on the MIN, and may be performed either in MERS OnLine
                                   or by EDI X12/Flat File.


                                   Impact
                                   The transfer of servicing rights process has potential impact to the
                                   following types of organizations:

                                               Servicers
                                               Subservicers

                                               Investors
                                               Document Custodians

                                               Associated Members



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                                   Transfer Dates
                                   The Member that creates the TOS/TOB Combo transaction will identify
                                   both a Transfer Date and Beneficial Rights Transfer Date. The Transfer
                                   Date may be up to 180 days after, or up to 30 days before, the transfer
                                   creation date. The Beneficial Rights Transfer Date cannot be later than
                                   the TOS date, but may be a retroactive date within 60 calendar days of
                                   the transaction creation date.
                                   The transfer dates may be changed any time prior to the transfer
                                   completion date by the Member that created the transaction, and the
                                   entire batch may be canceled by the Member that created the
                                   transaction anytime before it is confirmed by the receiving Member.
                                   All MINs identified in the TOS/TOB Combo transaction must be “Active
                                   (Registered)”. MINs with a note date 270 or fewer calendar days prior to
                                   the transaction effective date will create a Flow TOS/TOB batch. MINs
                                   with a note date more than 270 calendar days prior to the transaction
                                   effective date will create a Seasoned TOS/TOB batch, for which the
                                   transferring Member will be billed the applicable fee.
                                   If SOME of the MINs in the pending TOS/TOB batch also exist in a TOB
                                   Option 1 batch, the system will:

                                          Delete the duplicate MINs from the pending TOS/TOB batch

                                          Report the duplicate MINs on the “MINs Deleted From Pending
                                           TOS Rights” report (SI) and the “MINs Deleted from Transfer of
                                           Beneficial Rights” report (BH)

                                          Create a new Flow TOS batch containing any duplicate MINs
                                           with a note date 270 or fewer days before the transfer date.
                                           The MINs left in the original TOS/TOB are not affected.

                                          Carry over confirmation settings to the new batch (for example,
                                           if you have confirmed the transfer for three MINs, those three
                                           MINs will show a confirmed status)

                                          Set the Agency ID for each MIN in the new batch to match the
                                           value (if any) in the TOB Option 1 batch
                                   The current Servicer/Subservicer should remind the new
                                   Servicer/Subservicer that the duplicate MINs are in a new TOS batch,



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                                   and any changes to confirmations or rejections must be completed
                                   before the transfer occurs.
                                   If ALL MINs in the pending TOS/TOB batch are also in an Option 1
                                   transfer of beneficial rights batch, the system will:

                                          Delete any seasoned MINs from the pending TOS/TOB batch.

                                          Report the deleted MINs on the “MINs Deleted From Pending
                                           TOS Rights” report (SI) and the “MINs Deleted from Transfer of
                                           Beneficial Rights” report (BH).

                                          Change the transfer type of the batch from TOS/TOB Combo to
                                           Flow TOS. This batch will retain the original batch number.

                                          Update the Investor of the Flow TOS batch to the new Investor
                                           named in the TOB Option 1

                                          Set the Beneficial Transfer date to null since it will not be used
                                           in the resulting Flow TOS

                                          Set the Agency ID for each MIN in the new batch to match the
                                           value (if any) in the TOB Option 1 batch
                                   Once a transfer is created and pending, all parties named in the batch
                                   can view the pending transaction using the View List of Batches feature
                                   in MERS® OnLine.
                                   Once a transfer is created:
                                          The transfer initiator can:
                                                o   Add MINs using Modify Batch any time before the
                                                    transfer is completed.
                                                o   Delete MINs from the batch using Modify Batch, as long
                                                    as the MINs have not yet been confirmed by the
                                                    receiving party.
                                                o   Change the Transfer Date.
                                                o   Cancel the entire batch any time prior to the
                                                    completion of the batch

                                          The new or old Servicer/Investor can confirm or reject loans
                                           from the batch at any time prior to the Transfer Date.




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                                          The investor loan and pool numbers can be changed by the new
                                           Investor to reflect its own information
                                          If the initiating Member named an incorrect Document
                                           Custodian or Subservicer in the batch, the batch must be
                                           cancelled and recreated.

                                   Business Procedure
                                   The seller initiates the TOS/TOB Combo either in MERS® OnLine or via
                                   batch.

                                      The Sale Date will default to the Transfer Date entered. A seasoned
                                       TOS/TOB will use the Sale Date if one is entered; a flow TOS/TOB
                                       will ignore any Sale Date entered and use the Transfer Date.
                                      The Transfer Date and Beneficial Rights Transfer Date field values
                                       can be changed any time prior to transfer completion by the
                                       Member who created the TOS/TOB transaction.
                                      The transfer can be canceled any time prior to transfer completion
                                       by the Member that created the transaction.
                                      The current Investor and the current Servicer must have the same
                                       Org ID.
                                      The MIN Information window will reflect that a MIN currently exists
                                       in a pending TOS/TOB batch.
                                      The TOS batch confirmation transaction will be used to confirm the
                                       TOS/TOB Combo transaction. A TOS/TOB combo transaction can be
                                       confirmed via MERS® OnLine or through a flat file/EDI X12
                                       transmission.
                                      The New Servicer/Investor only confirms the servicing rights
                                       transfer; the beneficial rights transfer does not have to be
                                       confirmed separately.
                                      The old or new Servicer/Investor may reject the transfer by MIN,
                                       Pool Number or batch any time before the Transfer Date.
                                          If you reject the transfer as the new Servicer/Investor, using
                                           MERS® OnLine, you can choose from a dropdown list of Reject
                                           Reasons. Specific definitions for these Reject Reasons are
                                           determined by each Servicer/Investor.
                                      Both the beneficial rights and the servicing rights will transfer to the
                                       party named in the New Servicer/Investor field.



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                                         The TOS/TOB transaction will not allow the party named in the new
                                          Servicer/Investor field to be an Option 1 Investor.
                                         The completed TOS will remove Warehouse Gestation Lender
                                          interests from the MINs.
If a transfer of servicing batch is      The completed TOS will remove Property Preservation Company
not confirmed by the Transfer Date,
the loan status on MERS System           Associated Members from the MINs.
reflects an overdue status.
                                         Two milestones will be added for each TOS/TOB transaction: one for
                                          the Servicing Rights Transfer, and one for the Beneficial Rights
                                          transfer.
                                         TOS/TOB Combo transactions will be recorded on the Transfer of
                                          Servicing Reports.
                                         The MERS System will cancel the remaining MINs in a TOS/TOB
                                          Combo transaction on the transfer deletion date (31 calendar days
                                          after the servicing rights Transfer Date, or 31 calendar days after the
                                          servicing rights transfer creation date if the servicing rights Transfer
                                          Date is retroactive)
                                         For MINs in a TOS/TOB Combo transaction where the transaction is
                                          canceled, the system will automatically reverse the servicing rights
                                          transferred at the Sale Date.
                                         The current and new Servicer, Subservicer, Investor, Document
                                          Custodian, and Interim Funder receive a Physical Transfer of
                                          Servicing Rights Report.
                                         All Associated Members on the MIN receive the MIN Milestone
                                          Report for Associated Members.




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                                   Reports
                                   The following reports are generated during the TOS/TOB Combination
                                   process. For a detailed description of each report, see the MERS®
                                   System Reports Handbook:
                                      Canceled Transfer of Beneficial Rights Report
                                      Canceled Transfer of Servicing Rights Report
                                      Current Investor Changes for Pending Transfer of Servicing Rights
                                       Report
                                      Expired Transfer of Beneficial Rights Report
                                      Expired Transfer of Servicing Rights Report
                                      Investor Removed by Option 1 Transfer of Beneficial Rights Report
                                      MIN Milestone Report for Associated Members
                                      MINs Deleted from Transfer of Beneficial Rights Report
                                      MINs Deleted from Pending Transfer of Servicing Rights Report
                                      Modified Batch – Transfer of Servicing Rights
                                      Overdue Transfer of Servicing Rights Report
                                      Pending Transfer of Servicing Rights Report
                                      Physical Transfer of Servicing Report
                                      Sale of Servicing Rights Report
                                      Summary of Transfer of Beneficial Rights Rejects Report
                                      Transfer of Beneficial Rights Rejects Report
                                      Transfer of Servicing Rejects Report




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                                                                Deactivations
                                   Overview
                                   This chapter explains the processes for deactivating a loan on the MERS®
                                   System. Loans are deactivated if the debt no longer exists (e.g. at
                                   payoff), or if it is assigned out of Mortgage Electronic Registration
                                   Systems, Inc. (“MERS”) (e.g. when servicing or beneficial rights are sold
                                   to a non-MERS® System member).
                                   A deactivation can be reversed if it was performed in error; see the
                                   Deactivation Reversals chapter.
                                   If a loan that was deactivated because it was assigned out of MERS is
                                   later assigned back to MERS, it can be re-registered; see Re-
                                   registration After Deactivation.


                                   Involuntary Transfer/Default by
                                   Servicer (MERSCORP Only
                                   Transaction)
                                   Overview
                                   The involuntary transfer/default by Servicer deactivation is performed
                                   only by MERSCORP on behalf of an Investor. This may occur when the
                                   Investor transfers servicing from the current Servicer and places the
                                   servicing with a non-MERS® System Member Servicer. If an involuntary
                                   transfer/default by Servicer occurs and the servicing rights are
                                   transferred to another MERS® System Member, the transfer is processed
                                   as a transfer of servicing rights (TOS) transaction.




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                                         Impact
                                         The Default by Servicer process affects the following types of
                                         organizations:
  Although an involuntary transfer                  Servicers
  affects these parties, only the
  investor can initiate an involuntary
                                                    Subservicers
  transfer deactivation.
                                                    Investors

                                                    Custodians
                                                    Associated Members


                                         Business Procedure
                                         MERSCORP performs the following procedures on behalf of the
                                         Investor:
                                             1. Select Involuntary Transfer as the deactivation reason on the
                                                MERS® System.
                                             2. Enter the assignee information :

“Non-MERS Servicer” is listed on                    Name
the Organization Lists that displays
when you click on the Servicer                      Address
field.
                                                    City
                                                    State
                                                    Zip Code

                                                    Contact
                                                    Phone

                                                    Extension
                                             3. Enter the Servicers information :

                                                    Current Servicer Org ID
                                                    Current Subservicer Org ID
                                                    New Servicer Org ID
                                                    New Subservicer Org ID


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                                       4. The MERS® System updates the new Servicer and Subservicer if
                                          present.
                                       5. The involuntary transfer/default by servicer deactivation
                                          appears on the MIN-level milestones.
                                       6. The MERS® System sends a report to the Investor, Servicer,
                                          Subservicer, Custodian, and Interim Funder (if applicable).
                                       7. The Servicer or Investor forwards the assignment to the
                                          recorder and adheres to the assignment processing procedures
                                          described in this manual and in the Quality Assurance
                                          Procedures Manual.
                                       8. If the loan is later assigned to a MERS® System Member, it can
                                          be re-registered (see Re-registration after Deactivation).


                                   Reports
                                   The following reports are generated during the Default by Servicer
                                   deactivation process. For a detailed description of each report, see the
                                   MERS® System Reports Handbook:
                                   *   Deactivation Summary Report
                                   *   Default by Servicer—Servicing Transferred to Non-MERS
                                       Servicer Verification Report
                                   *   MIN Milestone Report for Associated Members




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                                   Foreclosure
                                   Overview
                                   The MERS® System Foreclosure process is governed by the following
                                   rules:
                                      The investor determines whether foreclosure proceedings are to be
                                       conducted in the name of the Servicer or another party.
                                      If Mortgage Electronic Registration Systems, Inc. (“MERS”) is the
                                       mortgagee of record, through its Corporate Resolution the MERS®
                                       System Member servicing the loan executes an Assignment From
                                       MERS to the foreclosing party, and records the assignment promptly
                                       at the Servicer’s expense.
                                   The Servicer reports the foreclosure activity on the MERS® System by
                                   choosing one of the following Pending options
                                      Deactivated - Assigned from MERS for Default or Bankruptcy
                                      Foreclosure Pending (Option 3), iRegistration (for iRegistration)
                                   The Servicer will reinstate a loan if the reasons for foreclosure are
                                   resolved. The following two options enable the Servicer to reflect that
                                   the pending foreclosure has stopped and the loan has reinstated:
                                          Reinstated or modified (Option 2)
                                           (Must be used if pending Option 2)
                                          Reinstated or Modified (Option 3), iRegistration
                                           (Must be used if pending Option 3)
                                   To reinstate a loan that has been Assigned from MERS for Default or
                                   Bankruptcy, use the Registration transaction (see Re-registration after
                                   Deactivation or iRegistration after Deactivation).
                                   The option listed below enables the Servicer to complete the
                                   foreclosure on an iRegistration or a loan previously in a pending Option
                                   2 foreclosure status:
                                        Foreclosure complete
                                           (loan deactivated on MERS® System)
                                   The final option enables the Servicer to correct an invalid foreclosure
                                   status and place the loan in an active (not in foreclosure) status:
                                          Foreclosure status reset
                                   This option also can be used to reset the foreclosure status for an
                                   iRegistration in Reinstated or Modified Option 3 status if it is assigned to
                                   MERS and needs to be converted to a Non-MOM, because an
                                   iRegistration cannot be converted while it is in Modified Option 3
                                   status.



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                                      Foreclosure and MIN Deactivation
A MIN that is deactivated by a        The foreclosure options that cause MIN deactivation are:
foreclosure complete cannot be
reactivated, but the deactivation            Foreclosure complete
can be reversed if it was performed
in error; see Deactivation
                                             Deactivated - Assigned from MERS for Default or Bankruptcy
Reversals.                            Note: a Foreclosure Complete deactivation also can be cascaded to the
                                      MERS® System from the MERS® eRegistry when the eNote is charged off.
                                      This transaction will appear as “Foreclosure Complete – eReg” on
                                      reports, milestones, and audit history.
                                      The foreclosure options that do not cause the loan to be deactivated are
                                      listed below:
                                             Foreclosure Pending (Option 3), iRegistration.
                                             Reinstated or Modified (Option 3), iRegistration
                                             Reinstated or modified (Option 2)

                                      Impact
                                      This process has potential impact to the following types of
                                      organizations:
                                           Servicers
                                           Subservicers
                                           Investors
                                           Trustees
                                           Associated Members
                                      Business Procedure
                                      1. The investor determines whether foreclosure proceedings are
                                         conducted in the name of the Servicer, or a different party
                                         designated by the investor.
                                      2. If MERS is the mortgagee of record, the Servicer executes an
                                         Assignment From MERS before initiating the foreclosure, and
                                         promptly sends it for recording.
                                      3. The Servicer updates the MERS® System to indicate that a
                                         foreclosure is pending when the Servicer’s attorney performs the
                                         first legal action.
                                      4. If the default is cured, the Servicer updates the MERS® System to
                                         reflect the reinstatement/modification.
                                      5. Once the Servicer has liquidated the loan on its servicing system (at
                                         completion of the foreclosure sale or at the end of the redemption
                                         period) it deactivates the loan on the MERS® System.


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                                   6. The Servicer or Subservicer may insert a Property Preservation
                                      Company Org ID, or the Property Preservation
                                      Company may insert itself, on the loan even if the loan is in
                                      Foreclosure Complete status.


                                   Reports
                                   The following reports are generated during the foreclosure process. For
                                   a detailed description of each report, see the MERS® System Reports
                                   Handbook:
                                   *   Foreclosure Verification Report
                                   *   Foreclosure Reject Report
                                   *   Past Due Foreclosure Terminations Report
                                   *   Deactivation Summary Report
                                   *   MIN Milestone Report for Associated Members




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                                   Paid in Full (includes Short Sales,
                                   Deeds in Lieu, and Charge Offs not
                                   associated with a foreclosure
                                   completion)
                                   Overview
                                   A Paid in Full deactivation is used to deactivate loans when the Servicer
                                   accepts payoff funds. This also includes short sales, deeds-in-lieu, and
                                   charge-offs not associated with a foreclosure completion.
                                   When the Servicer deactivates a loan, the loan status changes to
                                   inactive, and the current date is set as the deactivation date. Loans
                                   which are paid in full cannot be reactivated. The deactivation can be
                                   reversed if it was performed in error.
                                   Note: a Paid in Full deactivation also can be cascaded to the MERS®
                                   System from the MERS® eRegistry when the eNote is paid off. This
                                   transaction will appear as “Paid Off – eReg” on reports, milestones, and
                                   audit history.

                                   Impact
                                   This process affects the following types of organizations:
                                          Servicers
                                          Subservicers
                                          Investors
                                          Associated Members




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                                       Business Procedure—Paid in Full
Only the loan Servicer or                  1. The Servicer or Subservicer receives payment in full.
Subservicer can enter a paid in full
deactivation.                              2. The Servicer or Subservicer processes a deactivation on the
                                              MERS® System indicating the loan has been paid in full.
                                           3. The paid in full deactivation appears on the MIN-level
                                              milestones.
                                           4. The Servicer or Subservicer prepares and records the lien
                                              release.

                                                  For MOM and Non-MOM loans, Mortgage Electronic
                                                   Registrations Systems, Inc. must be named as the current
                                                   mortgagee on the lien release documents, and the MIN and
                                                   SIS telephone number must be included on the documents
                                                   as described in the Quality Assurance Procedures
                                                   Manual.
                                           5. If applicable, the Member is also responsible for notifying the
                                              MERS® System that a mortgage previously reported as paid in
                                              full has not been paid in full by performing a reversal on the
                                              MERS® System.


                                       Reports
                                       The Paid in Full process uses the following reports. For a detailed
                                       description of each report, see the MERS® System Reports
                                       Handbook:
                                       *   Paid in Full Verifications Report
                                       *   Payoff Reject Report
                                       *   Deactivation Summary Report
                                       *   MIN Milestone Report for Associated Members




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                                   Transfer to Non-MERS Status
                                   Overview
                                   A Transfer to Non-MERS Status deactivation is used to deactivate a loan
                                   when it is sold to a Servicer who is not a member of the MERS® System,
                                   when a loan where Mortgage Electronic Registration Systems, Inc,
                                   (“MERS”) is the mortgagee of record is assigned out of MERS, or when
                                   an iRegistration will no longer be tracked on the MERS® System.
                                   For loans where MERS is the mortgagee of record, the Servicer must
                                   prepare and record an assignment from MERS to the new Servicer or
                                   Investor at its own expense.

                                   Impact
                                   This process affects the following types of organizations:
                                          Servicers
                                          Subservicers
                                          Investors
                                          Associated Members

                                   Business Procedure—Transfer to Non-MERS
                                   Status
 Only the loan Servicer or             1. The Servicer or Subservicer processes a deactivation on the
 Subservicer can enter a
 Transfer to non-MERS                     MERS® System by selecting the Transfer to Non MERS Status
 Status deactivation. The                 option and entering the following information:
 Investor can initiate this
 transaction through                       Current Servicer Org ID
 instructions to MERSCORP,
 Inc. Offices.                             New Servicer Org ID (9999999)
                                       2. For loans where MERS is the mortgagee, the Servicer enters the
                                           following assignee information:
                                            Name
The Transfer to Non-
MERS Status transaction
                                            Address
must be processed on the                    City
MERS® System within five
calendar days of the event
                                            State
that caused the                             Zip Code
deactivation.
                                            Contact
                                            Phone number
                                   (Note: for an iRegistration that is not being assigned, use the Servicer’s
                                   information.)



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                                       3. The Transfer to non-MERS Status deactivation appears on the
                                          MIN-level milestones.
                                       4. The Servicer or Subservicer prepares the assignment at its own
                                          expense.
                                       5. The Servicer or Subservicer forwards the assignment to the
                                          county recorder.
                                       6. If the loan is later assigned to MERS, it can be re-registered (see
                                          Re-registration after Deactivation). If the loan is later
                                          assigned to a MERS® System Member who wants to track it on
                                          the MERS® System, it can be re-registered as an iRegistration
                                          (see iRegistration after Deactivation).


                                   Reports
                                   The Transfer to Non-MERS Status process uses the following reports.
                                                                                          ®
                                   For a detailed description of each report, see the MERS System
                                   Reports Handbook:
                                   *   Transfer to Non-MERS Status Verifications Report
                                   *   Transfer to Non-MERS Status Reject Report
                                   *   Deactivation Summary Report
                                   *   MIN Milestone Report for Associated Members




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                                 Deactivation Reversals
                                   Overview
                                   If a MIN is deactivated in error, the Servicer must reverse its inactive
                                   status using the Deactivation Reversal transaction.
                                   The deactivation cannot be reversed if an assignment has been sent or
                                   recorded removing Mortgage Electronic Registration Systems, Inc.
                                   (“MERS”) as the mortgagee of record. However, such a loan may be re-
                                   registered if it is assigned back to MERS; see Re-registration after
                                   Deactivation.
                                   The deactivation also cannot be reversed on the MERS® System if it was
                                   cascaded from the MERS® eRegistry. You would need to reverse the
                                   deactivation on the MERS® eRegistry, cascading the deactivation
                                   reversal to the MERS® System.
                                   The reversal process involves:

                                          Verify the loan information is current and accurate
                                          Process the reversal.
                                   If information on the MIN is incorrect or out of date, the Servicer must
                                   correct it in MIN Information after processing the reversal.


                                   Impact
                                   The reversal process has potential impact on the following types of
                                   organizations:

                                          Servicers
                                          Subservicers
                                          Investors

                                          Associated Members




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                                   Business Procedure
                                       1. Verify that the deactivation can be reversed.
                                       2. Access Reversals, then Deactivation, in MERS® OnLine.
                                       3. Enter the MIN.
                                       4. Submit the reversal transaction.
                                       5. If any corrections need to be made to the loan information,
                                          make the changes in MIN Information.




                                   Reports
                                   There are no reports associated with the reversal process.




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                          Modification Agreements
                                   Overview
                                   You do not need to report Modification Agreement information to the
                                   MERS® System except for CEMAs and construction loans. However,
                                   when a loan currently registered on the MERS® System is modified, you
                                   must place the existing MIN (and SIS number for MOM and Non-MOM
                                   loans) on the Modification Agreement prior to recordation.
                                   When a loan has been modified before being registered on the MERS®
                                   System, you should:
                                        Place the MIN from the security instrument (and SIS number for
                                         MOM and Non-MOM loans) on the Modification Agreement
                                         prior to recordation.
                                        Register the loan on the MERS® System using the Note Date and
                                         Note Amount from the original note.
                                   When assigning a loan to Mortgage Electronic Registration Systems, Inc.
                                   (“MERS”):
                                        Assign the existing loan to MERS with a new MIN.
                                        Place the new MIN and SIS number on the Modification
                                         Agreement prior to recordation.
                                        Register the new MIN on the MERS® System using the Note Date
                                         and Note Amount from the original note.

                                   Impact
                                   The Modification Agreement process affects the following types of
                                   organizations:
                                        Servicers
                                        Subservicers
                                        Originators
                                        Third-party originators
                                        Investors
                                        Associated Members




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                                   Business Procedure
                                   When the existing loan is a MERS® System-registered loan:
                                   1. The Servicer places the existing MIN (and SIS number for loans with
                                      MERS as mortgagee) on the Modification Agreement and other
                                      applicable documents, and sends the documents for recording.
                                   When assigning a loan to MERS:
                                   1. The existing loan is assigned to MERS with a new MIN.
                                   2. The Lender/Servicer places the new MIN and the SIS number on the
                                      assignment, Modification Agreement, and other applicable
                                      documents prior to recordation.
                                   3. The Lender/Servicer prepares and records the assignment,
                                      Modification Agreement, and other applicable documents.
                                   4. The Lender/Servicer registers the MIN using the Note Date and
                                      Amount from the original loan.


                                   Reports
                                   The following reports are generated during the modification process.
                                                                                          ®
                                   For a detailed description of each report, see the MERS System
                                   Reports Handbook:
                                   *       MIN Milestone Report for Associated Members




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         Consolidation, Extension, and
             Modification Agreements
                                   Overview
                                   If state law requires a lender to pay taxes only on additional funding of
                                   an existing loan or a new loan, the lender may choose a Consolidation,
                                   Extension, and Modification Agreement (CEMA) or Modification,
                                   Extension, and Consolidation Agreement (MECA) to consolidate or
                                   extend the term of an existing loan with or without additional funding
                                   to save the taxes associated with refinancing. This practice is
                                   predominantly found in New York. On the MERS® System, a CEMA or
                                   MECA is processed either as a deactivation and a new registration, or as
                                   a MIN update, depending on whether the consolidating Lender and the
                                   current Servicer are the same entity.
                                   The processing of a CEMA or MECA has two parties: the current Servicer
                                   (the party that currently services the existing mortgage) and the new
                                   consolidating lender (the party providing the end financing). The two
                                   parties may be the same or different entities.
                                   When the existing loan is currently registered on the MERS® System, and
                                   the current Servicer and the new Lender are different:
                                      The current Servicer submits a deactivation paid in full status on the
                                       old MIN.
                                      The consolidating lender generates a new MIN and places the new
                                       MIN and the SIS number on the Modification Agreement prior to
                                       recordation.
                                      The consolidating lender registers the new MIN on the MERS®
                                       System using the modification agreement note date and note
                                       amount.
                                                            OR (if both parties agree)

                                      The current Servicer transfers the loan to the consolidating lender
                                       on the MERS® System.



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                                      The consolidating lender places the existing MIN and the SIS
                                       number on the Modification Agreement prior to recordation.
                                   When the existing loan is currently registered on the MERS® System and
                                   the current Servicer and the new Lender are the same entities:

                                           The current Servicer/Lender places the existing MIN and the SIS
                                            number on the Modification Agreement prior to recordation.
                                           The current Servicer of the loan updates the existing MIN,
                                            adding the Modification Note Date and Amount on the MERS®
                                            System.
                                   If the existing loan is not currently registered on the MERS® System:
                                        The current Servicer places the new MIN and the SIS number on
                                         the assignment prior to recordation.
                                        The Consolidating Lender (who may or may not be the current
                                         Servicer) places the new MIN and the SIS number on the
                                         Modification Agreement prior to recordation.

                                        The Consolidating Lender registers the new MIN on the MERS®
                                         System and includes the Modification Agreement Note Date and
                                         Amount.

                                        If a recorder’s office or title insurer requests any assignment(s) to
                                         show continuity in the chain of title for purposes of the CEMA,
                                         please contact the MERSCORP Law dept. at mers@mersinc.org.


                                   Impact
                                   The CEMA process affects the following types of organizations:
                                           Servicers
                                           Subservicers

                                           Originators
                                           Third-party originators
                                           Investor
                                           Associated Members




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                                   Business Procedure
                                   When the existing loan is currently registered on the MERS® System, and
                                   the current Servicer and the Consolidating Lender are different:
                                       1. The current Servicer deactivates the old MIN as a paid in full.
                                       2. The consolidating lender generates a new MIN and places it on
                                          the Modification Agreement and other applicable documents
                                          prior to recordation.
                                       3. The consolidating lender prepares and records the Modification
                                          Agreement, including the new MIN (and the SIS number for
                                          MOM and Non-MOM loans).
                                       4. The Lender or new Servicer registers the new MIN, using the
                                          original Note Date, original Note Amount, and entering the
                                          Modification Agreement information including Modification
                                          Note Date and Modification Agreement Note Amount on the
                                          modification agreement tab at Registration.
                                                         OR (if both parties agree)
                                       1. The current Servicer transfers the loan to the consolidating
                                          lender on the MERS® System.
                                       2. The new Servicer confirms the transfer.
                                       3. The new Servicer prepares and records a Modification
                                          Agreement, placing the existing MIN on the Modification
                                          Agreement and other applicable documents prior to
                                          recordation.
                                       4. The new Servicer enters the Modification Agreement
                                          information, including Modification Note Date and Modification
                                          Agreement Note Amount, on the MERS® System.
                                   When the existing loan is currently registered on the MERS® System, and
                                   the current Servicer and new Lender are the same:
                                       1. The consolidating Lender/Servicer prepares and records a
                                          Modification Agreement, placing the existing MIN and SIS
                                          number on the Modification Agreement and other applicable
                                          documents prior to recordation.
                                       2. The Servicer adds the Modification Agreement Note Date and
                                          Modification Agreement Note Amount to the existing MIN using
                                          the Mod Agree option on the MIN Information menu, or via a
                                          batch process.




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                                   When assigning a loan to Mortgage Electronic Registration System, Inc.
                                   (“MERS”):
                                       1. The current Servicer prepares and records an assignment to
                                          MERS of the existing loan with a new MIN, placing the MIN and
                                          SIS number on the assignment prior to recordation.
                                       2. The consolidating lender (who may or may not be the current
                                          Servicer) prepares and records a Modification Agreement,
                                          placing the new MIN and SIS number on the Modification
                                          Agreement and other applicable documents prior to
                                          recordation.
                                       3. The consolidating lender or new Servicer registers the MIN
                                          within seven days of the assignment date, using the original
                                          Note Date and Original Note Amount from the existing loan at
                                          Registration.
                                       4. Modification Agreement information, including the
                                          Modification Agreement Note Date and Modification
                                          Agreement Note Amount (as well as any prior assignment and
                                          modification details), either at Registration, or as a MIN Update
                                          after Registration.


                                   Reports
                                   The following reports are generated during the CEMA process. For a
                                   detailed description of each report, see the MERS® System Reports
                                   Handbook:
                                   *   Deactivation Summary Report
                                   *   MIN Milestone Report for Associated Members
                                   *   Maintenance Verification Report




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                           Assumption of Mortgage
                                   Overview
                                   A mortgage debt is assumed when the following occurs:
                                          A new borrower assumes the outstanding mortgage debt.

                                          A new borrower is added to the existing loan obligation.
                                          An existing borrower is removed from the loan obligation
                                   The Servicer or Subservicer is responsible for entering the new
                                   borrower information on the system.
                                   When entering a mortgage assumption, you need:
                                          MIN
                                          New borrower name(s)
                                          New borrower SSN(s)
                                   Original borrower(s) information is needed to execute a lien release and
                                   remains in the system for the life of the loan. When an assumption
                                   occurs, the new borrowers become the current borrowers. Interim
                                   borrower(s) are not tracked.
                                   The assumption date is not captured on the MERS® System. The date
                                   the assumption information is entered on the MERS® System will be
                                   reflected in the MIN-level milestones.


                                   Impact
                                   The Assumption of Security Instrument process affects the following
                                   types of organizations:

                                          Servicers
                                          Subservicers
                                          Investors
                                          Associated Members



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                                      Business Procedure
                                          1. Select the Assumption function from the MERS® OnLine main
                                             menu
                                          2. Enter the MIN for the mortgage being assumed
Only information regarding the            3. If there is no information for the original borrower, the MERS®
original borrower and the current
borrower is stored. Interim                  System copies the current borrower information into the
borrowers are not tracked.                   original borrower fields
                                          4. Enter the information into the current borrower information
                                             fields for all borrowers remaining after the assumption:
                                                 Borrower Name:
                                                      o    Corporate Name
                                                           (Business, Trust, or other non-individual)
                                                      OR
                                                      o    First name
                                                      o    Middle name
                                                      o    Last name
                                                      o    Name Suffix
 For foreign nationals with neither
 a SSN nor a Tax ID, enter                       Social security number or tax ID
 111111111 for SSN.                               (required for primary borrower)
                                          5. Set the Owner Occupied flag.
                                          6. The assumption appears on the MIN-level milestones.


                                      Reports
                                      The following Assumption of Mortgage reports are available on the
                                      MERS® System. For a detailed description of each report, see the
                                      MERS® System Reports Handbook:
                                      *       Assumption Verification Report
                                      *       Assumption Rejects/Warnings Report
                                      *       MIN Milestone Report for Associated Members



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                                     Property Preservation
                                       Overview
                                   Servicers use property preservation companies to maintain and manage
                                   properties. For other Members and MERS® Link Subscribers to use the
                                   MERS® System to find and contact the property preservation company
                                   and/or contact for a property, each Member can identify one or more
                                   Property Preservation contacts for their organization, and up to four
                                   Property Preservation Companies as Associated Members on each MIN.
                                   Some municipalities have agreed to use MERS® Link to access these
                                   contacts in lieu of requiring Members maintaining local properties to
                                   maintain property preservation contact information on a local database
                                   for each property.
                                   Members with a Property Preservation Company Line of Business may
                                   insert or delete their Org ID as Property Preservation Company on any
                                   MIN on which they have a Property Preservation Company Relationship
                                   with the Servicer or Subservicer. Property Preservation Company Org
                                   IDs may be updated when the MIN is active or when it is in Foreclosure
                                   Complete status.
                                   Whenever the Servicer on a MIN is changed (e.g.by TOS, TOS/TOB
                                   Combo, Transfer to Non-MERS Status) all Property Preservation
                                   Company Org IDs are removed from the MIN.
                                   Once reflected on the MIN as an Associated Member, the Property
                                   Preservation Company receives all Associated Member reports, has
                                   view-only access to loan details, and appears in the MERS® OnLine and
                                   MERS® Link MIN Summaries for that MIN.
                                   Property Preservation contacts appear on the Member Summary
                                   available from the Org ID hyperlink available on the MERS® Link MIN
                                   Summary and the MERS® OnLine MIN Summary for Non-Rights holders.




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                                   Impact
                                   Property Preservation processing affects the following types of
                                   organizations:

                                               Servicers
                                               Subservicers
                                               MERS® Link Subscribers
                                               Municipalities


                                   Business Procedure
                                   1. Servicer, Subservicer, and Property Preservation Company each
                                      create one or more Property Preservation contacts using the
                                      Member Information Contacts page in MERS® OnLine.
                                   2. Property Preservation contacts are displayed on the MERS® Link
                                      Member Summary, and on the MERS® OnLine Member Summary,
                                      for each Member.
                                   3. Servicer or Subservicer may create a Relationship to a Property
                                      Preservation Company, using the Member Information
                                      Relationships page in MERS® OnLine, to allow that company to insert
                                      or remove itself as a Property Preservation Company on that
                                      Servicer or Subservicer’s loans.
                                   4. Any Member can specify up to four Property Preservation Company
                                      Org IDs in their Registration Default Settings so they will be included
                                      by default as Associated Members on all loans registered in MERS®
                                      OnLine.
                                   5. Servicer or Subservicer may insert a Property Preservation Company
                                      on its loans regardless of whether a relationship has been set up, as
                                      long as the loan is in Active or Foreclosure Complete status.
                                   6. Property Preservation Company may insert or remove itself on any
                                      loan for a Servicer or Subservicer for which they are reflected in a
                                      Property Preservation Company relationship if the loan is in Active
                                      or Foreclosure Complete status.
                                   7. Once reflected on the loan, Property Preservation Company may
                                      view all information for that loan except Social Security Numbers
                                      and Tax Identification Numbers.


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                                   8. Property Preservation Company appears in the MERS® Link and
                                      MERS® OnLine MIN Summaries for the loan, with an Org ID hyperlink
                                      to the Property Preservation company’s Member Summary on the
                                      MERS® Link MIN Summary and the MERS® OnLine MIN Summary for
                                      non-rightsholders.
                                   9. Servicer or Subservicer may update Property Preservation Company
                                      named on MIN in Active or Foreclosure Complete status.
                                   10. Property Preservation Company receives all Associated Member
                                       reports for each MIN on which it is reflected as a Property
                                       Preservation Company, and receives the Maintenance Verification
                                       report if it inserts or removes itself on a MIN.


                                   Reports
                                   The following reports are available on the MERS® System for Property
                                   Preservation Companies. For a detailed description of each report, see
                                   the MERS® System Reports Handbook:
                                          MIN Milestone Report for Associated Members

                                          Change Notification Report

                                          Maintenance Verification Report




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                                                                               Reporting
                                      Overview
                                      The MERS® System provides scheduled monthly reports, daily activity-
                                      based exception and confirmation reports, and on-request reports. The
MERSCORP prices transactions          reports reflect the previous days' processing and are not real time ad
on the last business day of the
month. The two-character report
                                      hoc reports. The MERS® System maintains reports generated from the
mnemonic for the monthly report is    previous day’s activity, and makes them available to you on-line for
LD.
                                      thirty calendar days.
                                      We suggest that you implement a procedure for downloading your
                                      reports at least once a week and storing them until they are no longer
                                      needed, or until after reconciliation of the data with your internal
                                      systems.
                                      The MERS® System provides a standard set of reports that you can
                                      access electronically.
                                         Tab-delimited text files can be imported into software applications
                                          your company supports for further manipulation.
                                         PDF files can be viewed or printed using Adobe Reader.
                                      You can view on-line or print your formatted reports from MERS®
Reports reflect updates submitted
to the MERS® System prior to 10       OnLine.
p.m. Eastern Time the previous
business day.                         Reports can also be retrieved through the File Transfer Protocol (FTP)
                                      process. The MERS® System places report files in each Member’s
                                      directory at the conclusion of each processing cycle, which can then be
                                      retrieved. See the MERS® System Integration Handbook Volume II
                                      for detailed instructions.
                                      If you have written a program to retrieve the report data files generated
                                      by the MERS® System, a consolidated report data file for selected daily
                                      transactions is available. This will allow you to develop one common
                                      program to process this file, and eliminate the need for a separate
                                      program for each report data file. To verify that your automated process
                                      has been successful, and to assist in recovery if your automated process
                                      is interrupted, the MERS® System also produces the List of Reports
                                      Produced.


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                                   As your business grows, and more MINs are registered, your reports will
                                   increase in size. Many of the reports generated by the MERS® System
                                   are mandatory, while others are optional. As each company has its own
                                   reconciliation and loan accountability process, you may determine that
                                   your organization does not need certain optional reports. The MERS®
                                   System provides the ability to select which optional reports you receive.

                                   More specific instructions can be found in the MERS® OnLine User
                                   Guide, or the Optional Reports Quick Reference Guide, available on
                                   our website at www.mersinc.org.


                                   Impact
                                   The Reporting process affects the following types of organizations:
                                          Servicers
                                          Subservicers
                                          Originators
                                          Third-party originators
                                          Interim funding organizations
                                          Investors
                                          Custodians
                                          Associated Members
                                          MERSCORP, Inc. Offices


                                   Business Procedure – Retrieving
                                   Reports
                                   To retrieve reports OnLine:
                                       1. Select Reports from the MERS® OnLine main menu
Reports generated by the               2. Select the day for which you want to view a report.
MERS® System are available
from the previous six reporting        3. Select the particular report you want to view.
cycles, and in ZIP format for 30
days. Contact the MERSCORP             4. View, print, or save the report
Help Desk at (888) 680-6377
for earlier reports.                   5. Review the report and reconcile with your internal systems.
                                       6. Correct errors, warnings, and rejects.
                                       7. Resolve and resubmit rejected transactions to MERS® System.


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                                   You can also use a system-to-system method to retrieve your reports.
                                   See the MERS® System Integration Handbook Volume II for
                                   information on using other methods to retrieve report files.
                                   After six processing days, reports are available only in zipped formats.
                                   Just download the zipped format and unzip it to view the report.
                                   After thirty days, reports will be archived; you will need to contact the
                                   MERS® Help Desk if you need to retrieve one of these archived reports,
                                   and there will be a fee.


                                   Business Procedure – Requesting a
                                   Portfolio Analysis Report
                                   The Portfolio Analysis Report is an on-demand report that shows
                                   extensive information about the MINs requested, and enables you to
                                   select parameters to restrict the search criteria. You can request this
                                   report via the MERS® OnLine application, from the Reports menu.
                                   The Portfolio Analysis Report is available free of charge for the first two
                                   report requests per month. Additional reports are available for a fee.
                                   When you request a report through MERS® OnLine, it will display the
                                   number of reports your organization has requested in the current
                                   month. It will alert you if you’ve reached the limit of free reports and
                                   will be charged for subsequent reports in that month.
                                   If you request a subsequent report, but the previous report has not yet
                                   generated, a Pending Request message will display listing the date the
                                   report is scheduled to run. You can proceed with your request to
                                   generate another report or cancel it.




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                                   When requesting the Portfolio Analysis Report, you are provided with
                                   the following options:
                                       Report Schedule capability allows you to choose when the report
                                       will be generated. Below are the available Frequency options:
                                          Every Month-end – last processing day of the month
                                          Every Quarter-end – last processing day of the quarter
                                          On Request – the date you want the report to be generated.
                                           This date, however, cannot be in the past or greater than sixty
                                           days from the current date, and must be a valid MERS® System
                                           processing date.
                                       Note and Registration Date Ranges

                                          For On Request Portfolio Analysis Reports, you can enter data in
                                           the Note from and through date fields, and the Registration
                                           from and through date fields to designate a specific range.
                                       Report Body (content)

                                          You can request the data on the report to be shown in Summary
                                           or in a Detailed format. If neither option is chosen, the default
                                           setting is Detail.
                                           When selecting detail criteria, you have the ability to include
                                           only default fields, or choose other fields to include on the
                                           report. The report confirmation page will show the specific
                                           fields you have selected.
                                       Report Medium
                                          You have the option to receive your Portfolio Analysis Report in
                                           report form or a data file or both. At least one option must be
                                           chosen when requesting your report.
                                          Select MINs
                                           To select the MINs to be included on the report, you will
                                           indicate the appropriate Line of Business (LOB). For example,
                                           you may want to show all MINs for which you are the Servicer.
                                           The LOBs you can choose from are limited to those already
                                           selected on your Member Information on the MERS® System.




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                                       Group MINs
                                          The MINs on the report will be grouped by the Line of Business
                                           you select on the “Group the Selected MINs by” field. Building
                                           on the above example, you can group the MINs for which you
                                           are Servicer by Investor. So you’d have a group of Freddie Mac
                                           MINs, then a group of Fannie Mae MINs, etc. You can also
                                           select which Organizations you want included on your report.
                                       Report Sort Criteria
                                          When the Report Detail option is selected, you must choose to
                                           have the data further sorted either by MIN within a Member’s
                                           group of MINs or by Pool/Investor number within a Member.
                                       MIN Status and MIN MOM Values
                                          You can select MINs with a MOM value of “MOM” or “Non-
                                           MOM” or “iRegistration” or “Any”. “Any” will select MOM,
                                           Non-MOM, and iRegistration MINs. On the report, MIN status is
                                           displayed as I for iRegistration, Y for MOM and N for Non-MOM.
                                          You can also select MINs with any MIN status or limit the report
                                           to MINs with certain MIN statuses (e.g. active, paid in full, pre-
                                           closing, etc.)


                                   Reports
                                   The following reports are associated with this procedure. For a detailed
                                   description of these reports, see the MERS® System Reports
                                   Handbook:
                                          Detail Portfolio Analysis Report (OB)
                                          Summary Portfolio Analysis Report (OC)




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                          MERSCORP Mail Services

                                      Overview
Members must not use the MERS         As the mortgagee of record, Mortgage Electronic Registration Systems,
address as the return address for
documents sent to be recorded.        Inc. (“MERS”) frequently receives mail from organizations that search
                                      the county land records to identify the mortgagee(s) with an interest in
                                      property. It is also possible, but unlikely, that for the same reason,
                                      MERS could receive funds intended for current Servicers or
                                      Subservicers. To address these situations and ensure that
                                      correspondence is promptly routed to the correct destination,
                                      MERSCORP has established a mail facility as part of its operation.
                                      MERS should never receive, and will not forward, mail or service of
                                      process for iRegistration loans.
All communication, mail images,       The MERSCORP Mail Center and Customer Service areas are responsible
and broadcast messages
generated by the MERSCORP             for the receipt, handling, and scanning of physical mail documents into
Help Desk are sent to the             electronic images. All mail, whether in the form of paper or funds, is
Member’s email address. Ensure
that personnel assigned to manage     indexed to the appropriate MIN and images are routed electronically to
the mailbox are given the             the current Servicer or Subservicer for that MIN. The Member’s email
appropriate password and trained
to handle and distribute
                                      address given to MERSCORP for official communications from
communication received. You can       MERSCORP is used to route the images to MERS® System Members. You
also create email rules to
automatically redistribute email to
                                      are responsible for notifying the MERSCORP Help Desk if this email
the appropriate persons or            address changes, and for forwarding documents to the new servicer or
departments. See Training Bulletin
                                      subservicer if you have sold the loan and not completed the TOS
2007-01 for subject line
conventions.                          transaction to reflect the transfer on the MERS® System.
                                      The MERS address should not be given directly to organizations that
                                      normally direct mail to the Servicer or Subservicer. (For example, hazard
                                      insurance companies and taxing authorities.) All types of mail currently
                                      received and handled by Servicers continue to be the Servicer’s
                                      responsibility.




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                                   Impact
                                   Document imaging and retrieval affects the following types of
                                   organizations:

                                          Servicers
                                          Subservicers
                                          MERSCORP, Inc. Offices


                                   Business Procedure
                                       1. Mail is received by the MERSCORP Mail Center, opened and
                                          prepared for electronic scanning.
                                       2. Mail is assigned an Image Control Number (ICN) and scanned by
                                          the MERSCORP Mail Center.
                                       3. MERSCORP Mail Center performs a quality assurance review on
                                          all images to ensure clarity and legibility.
                                       4. Original documents are filed in a temporary storage area in the
                                          MERSCORP Mail Center.
                                       5. Scanned images are transmitted to MERSCORP Customer
                                          Service area for routing to correct MERS® System Member.

Contact the MERS Help Desk             6. MERSCORP Customer Service attempts to identify the current
whenever your document                    Servicer or Subservicer of the document image based on the
handling information changes.             information contained in the document or by using the MERS®
                                          System to index the MIN.
                                           If the document images are successfully matched to a MOM
                                           (MERS as Original Mortgagee) or Non-MOM (assigned to MERS)
                                           MIN, the following occurs:
                                               Document images are forwarded to the Subservicer if one
You can create email rules to                   exists on the MIN, otherwise to the Servicer, by Member’s
automatically redistribute email
to the appropriate person or                    email address. (See Training Bulletin 2011-04 for subject
department.                                     line conventions.)
                                               MERSCORP Customer Service documents the date and time
                                                of this action in its tracking system.




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                                            If the document image cannot be associated with a MIN,
                                            MERSCORP Customer Service will:
                                                Send broadcast email message (with “Member Notice:
                                                 Unidentified Mail” in subject line) to all MERS® System
                                                 Members with borrower name, address, and/or other
                                                 identifying information (Lot, Block, Parcel, etc.)
                                                Contact the sender for further identifying information
                                            If the above steps have been taken and the Servicer still hasn’t
                                            been identified, MERSCORP will research the county land
                                            records*
                                            *A fee may be assessed to the Member not meeting MERS®
                                            System Quality Assurance Standards. Please refer to
                                            Announcement 2008-08 for details
                                        7. For items successfully routed to the current MERS® System
                                           Member Servicer or Subservicer, MERSCORP Customer Service
                                           also handles the disposition of the original mail document.
                                           Original mortgage documents and funds are forwarded to the
                                           Subservicer if one exists on the MIN, otherwise to the Servicer.

                                                For original mortgage documents, MERSCORP Customer
You can choose to have                           Service accesses the Member’s profile in the MERS® System
original mortgage documents
                                                 to determine how the Member has designated the
delivered to you by regular
mail, or by overnight delivery                   documents be forwarded to its operation. MERSCORP
at your expense.                                 Customer Service then ships the documents to the Member
                                                 using the mailing instructions indicated in the profile.
                                                 MERSCORP Customer Service updates the date and time of
                                                 this action in its tracking system.
                                                    The Regular Address in your Member Profile is used for
                                                     regular mail.

                                                    If you have chosen overnight mail, the Overnight
                                                     Address and overnight account information from your
                                                     Member Profile is used.
                                                For funds, MERSCORP Customer Service logs when the
                                                 funds were received, forwards the remittance plus any
                                                 accompanying attachments to the MERS® System Member
                                                 Servicer or Subservicer by overnight delivery, and
                                                 documents to whom the funds were sent.


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                                               All other unclaimed paper mail is stored in its physical hard
                                                copy form for a period of 30 calendar days. At that point, all
                                                paper mail is destroyed.


                                   Reports
                                   No reports are associated with this process.




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                                    MERSCORP Help Desk
                                    Overview
                                    The MERSCORP Help Desk serves as a point of contact for MERS® System
                                    Members in support of the following:
All communication, mail images,                MERS® System
and broadcast messages
generated by the MERSCORP                      Functional questions associated with mortgage banking
Help Desk are sent to each
Member’s official communication                Technical support
from MERSCORP email address.
                                               MERS® System connectivity
Ensure that personnel assigned to
manage the mailbox are given the               Changes to your official communication from MERSCORP
appropriate password and trained
to handle and distribute
                                                email address
communication received.
                                    Other highlights of the MERSCORP Customer Service/Help Desk are:
                                               Toll-free access to the Help Desk, 1-888-680-MERS(6377),
                                                8 a.m. to 10 p.m. eastern time, Monday through Friday.
                                               After hour technical support available for emergency
                                                technical issues.
                                               Broadcast bulletins regarding connectivity or system issues
                                                posted for MERS® System Members by email, OnLine
                                                broadcast message, and Help Desk Phone System.
                                               Real-time tracking system used for all open inquiries and
                                                issues to ensure timely resolution.
                                               Online MERS® ServicerID (www.mers-servicerid.org) and
                                                telephone Servicer Identification System (SIS) at 1-888-679-
                                                MERS(6377) available to general public and Members to
                                                provide Servicer contact information at the MIN level.
                                                Faxback feature on SIS can confirm Servicer contact
                                                information in writing.
                                               MERS® Link, a browser-based application that provides you
                                                information regarding the current Servicer of a mortgage
                                                registered on the MERS® System.
                                               XML Inquiry and Batch Inquiry transactions provide
                                                information on loans matching search criteria entered using
                                                a system-to-system interface.



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                                               Processing of system enhancement requests submitted
                                                from Members via the “Enhancement Request” option
                                                available on www.mersonline.org and www.mersinc.org.


                                   Impact
                                   The Customer Service/Help Desk impacts the following types of
                                   organizations:
                                               Members

                                               MERSCORP, Inc. Offices


                                   Business Procedure—Help Desk
                                      Member calls the MERSCORP Help Desk at 1-888-680-MERS(6377).
                                      A Help Desk representative answers the call.
                                      A record is opened in the tracking system
                                      One of the following occurs:

                                          If the item is a general inquiry or training support issue and does
                                           not impact additional users or processing, the Help Desk
                                           representative resolves the problem or responds to the
                                           Member’s request, updates the tracking record, and no further
                                           action is necessary.
                                          If the Help Desk representative determines that further action is
                                           required:
                                               The Help Desk representative coordinates the resolution of
                                                the problem with the appropriate MERSCORP area(s) and
                                                monitors the progress.
                                               An interim status is provided to the Member at a
                                                predetermined frequency based on the following service
                                                levels.




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                                                    Initiate Problem Resolution
                                                     Description                  Service Level

                                                     Severity 1—Significant       Immediately
                                                     problem affecting
                                                     multiple users

                                                     Severity 2—Significant       Within 2 hours
                                                     problem affecting a single
                                                     user

                                                     Severity 3—Problem has       Within 48 hours, except
                                                     reasonable                   for scheduled holidays
                                                     circumvention; user can
                                                     continue processing with
                                                     minimal loss of efficiency
                                                     or functionality

                                                     Severity 4—User inquiry      Within 5 days
                                                     or problem that does not
                                                     affect the user



                                                     Description                          Service Level

                                                     Application Support—Severity 1       4 hours

                                                     Application Support—Severity 2       8 hours

                                                     Other problems—Severity 1            24 hours

                                                     Other problems—Severity 2            48 hours

                                                   The Help Desk representative confirms with the
                                                    Member that resolution is acceptable.
                                                   The Help Desk representative verifies that all action
                                                    taken has been documented and closes the record in
                                                    the tracking system.




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                                   Business Procedure—MERS®
                                   ServicerID
                                      MERS® System Member or a member of the public accesses MERS®
                                       ServicerID at www.mers-servicerid.org.

                                          User chooses to search by the MERS® System Mortgage
                                           Identification Number (MIN), borrower and/or property
                                           information, or FHA/VA/MI certificate.
                                          One of three scenarios occurs:
                                               If no loan matching those search criteria is found, the
                                                system indicates no loans matched the criteria entered.
                                               If the MIN/SSN is on file and active, the system provides the
                                                name, city, state and telephone number of the current
                                                Servicer. The borrower can access the name, city, and state
                                                of the current Investor by providing more information.
                                                If the loan is an iRegistration, the system displays a
                                                disclaimer indicating the loan is registered on the MERS®
                                                System for informational purposes only, and Mortgage
                                                Electronic Registration Systems, Inc, (“MERS”) is not the
                                                mortgagee on this loan.
                                               If the MIN/SSN is on file but deactivated, the system
                                                provides the name, city, state, and telephone number of the
                                                last known MERS® System Servicer.




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                                      Business Procedure—Servicer
                                      Identification System (SIS)
                                         MERS® System Member or a member of the general public calls the
                                          Servicer Identification System (SIS) at 1-888-679-MERS(6377).
                                         The SIS prompts the caller to enter a MERS® System Mortgage
                                          Identification Number (MIN) or the Social Security Number (SSN) of
                                          the primary borrower and property ZIP code (optional).

                                         One of three scenarios occurs:
                                             If the MIN/SSN entered by the caller is not on file, the system
                                              indicates the Servicer/MIN is not on file.
                                             If the MIN/SSN is on file and active, the system provides the
                                              name, city, state and telephone number of the current Servicer.
                                              The name, city, state and telephone number of the current
                                              Investor is also provided unless the Investor has chosen not to
                                              disclose their contact information publicly.
                                              If the loan is an iRegistration, the system includes a disclaimer
                                              indicating the loan is registered on the MERS® System for
                                              informational purposes only, and MERS is not the mortgagee on
                                              this loan.

                                             If the MIN/SSN is on file but deactivated, the system provides
                                              the name, city, state, and telephone number of the last known
                                              Servicer.

Prospective Members can also                 If the caller chooses the faxback option, he or she is prompted
obtain general MERS® System                   to enter the 10-digit facsimile number.
membership information through
this faxback feature.                             The SIS sends the Servicer name, address and telephone
                                                   number to the caller by facsimile using the number entered
                                                   by the caller. The name, city, state and telephone number
                                                   of the current Investor is also provided unless the Investor
                                                   has chosen not to disclose their contact information
                                                   publicly.




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                                   Business Procedure—MERS® Link
                                          Any MERS® System Member with access to MERS® OnLine
                                           selects the MERSLink option on the MERS® OnLine Main Menu,
                                           OR
                                           a MERS® System Member or MERS® Link Subscriber selects the
                                           MERS® Link Sign On tab on the corporate website, and enters
                                           their Org ID, User ID, and Password to log in.

                                          MERS® Link prompts the user to enter one or more identifying
                                           characteristics on a loan.
                                          One of two results occurs:

                                               If the information entered by the User does not match any
                                                loan on file, the system indicates that the MIN is not on file.

                                               If the information entered by the User does match a loan on
                                                file, the system provides a loan summary page including
                                                Servicer, Investor (unless the Investor has chosen not to
                                                disclose their contact information in proprietary
                                                applications) and Property Preservation Company
                                                information.




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                                   Business Procedure—XML Inquiry
                                   XML Inquiry is available both during and outside normal processing
                                   hours, except during scheduled maintenance windows. You may send
                                   up to 30 requests per minute; for larger volumes, see Batch Inquiry on
                                   the next page.
                                          MERS® System Member sends XML Inquiry Request to MERS®
                                           System, requesting status or summary information for a specific
                                           MIN, property, or borrower.
                                          The MERS® System returns a synchronous response containing
                                           the requested information for up to 20 loans matching those
                                           search criteria. If more than 20 loans match the search criteria,
                                           information for the 20 loans registered most recently is
                                           returned, with an indicator that more than 20 loans matched
                                           the criteria in the request.
                                               For a status request, the response contains, for each MIN:
                                                   MIN
                                                   Status (active, inactive, or Pre-Closing)
                                                   MOM Indicator (Y for MOM loan,
                                                    N for Non-MOM or iRegistration)
                                                   iRegistration Indicator (Y for iRegistration,
                                                    N for MOM or Non-MOM)
                                                   Servicer Org ID and Name
                                                   Subservicer Org ID and Name, if present
                                                   Investor Org ID and Name, unless the requester is not
                                                    associated with the loan and the Investor has chosen
                                                    not to disclose their contact information in proprietary
                                                    applications
                                                   Property Preservation Company Org ID and Name, if
                                                    present
                                               For a summary request, the response contains the same
                                                information included on the MIN Summary page in MERS®
                                                OnLine; specific fields included depend on whether the
                                                requesting Member is associated with the MIN and whether
                                                the MIN has been archived.
                                   For more information about the XML MIN Inquiry transaction, see
                                   MERS® Integration Handbook Volume II.



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                                   Business Procedure—Batch Inquiry
                                      MERS® System Member sends Batch Inquiry via flat file to MERS®
                                       System, requesting status or summary information for one or more
                                       specific MINs, properties, or borrowers.
                                      The MERS® System returns a flat file containing the requested
                                       information matching those search criteria.

                                          For a status request, the response contains, for each MIN:
                                               MIN
                                               Status (active, inactive, or Pre-Closing)
                                               MOM Indicator (Y for MOM loan,
                                                N for Non-MOM, or I for iRegistration)
                                               Servicer Org ID and Name
                                               Subservicer Org ID and Name, if present
                                               Investor Org ID and Name, unless the requester is not
                                                associated with the loan and the Investor has chosen not to
                                                disclose their contact information in proprietary
                                                applications
                                          For a summary request, the response contains the same
                                           information included on the MIN Summary page in MERS®
                                           OnLine; specific fields included depend on whether the
                                           requesting Member is associated with the MIN and whether the
                                           MIN has been archived.
                                   For more information about the Batch Inquiry transaction, including the
                                   current parameters for maximum requests in the same file, see MERS®
                                   Integration Handbook Volume II.


                                   Reports
                                   No reports are associated with this process.




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                                                                                           Glossary
  Acquisition Date                 The date of acquisition recognized in the books and records of the Purchaser.

  Agency ID                        A number assigned by a government agency to uniquely identify a mortgage
                                   company.
  Assignment                       A transfer to another of any property, real or personal, or of any rights or estates
                                   in said property.
  Associated Member                A MERS® System Member that has been granted inquiry only access to loan
                                   information by the Servicer/Subservicer of a mortgage registered on MERS.
  Assumption                       Taking over by one party of an obligation that was originally incurred by another.
                                   In MERS® System, this results in replacement of the Primary Borrower and all
                                   Co-Borrowers.

  Batch                            A group of one of more MINs identified to be included in a Transfer of Beneficial or
                                   Servicing Rights transaction.
  Batch File                       A system-to system transaction used to update the MERS® System.

  Batch Inquiry                    Transaction used to look up information on loans matching search criteria entered
                                   using a flat file format.
  Beneficial Rights Transfer       A transfer of the security interest under the mortgage or deed of trust. These
                                   transfers are tracked for MERS® System Members on the MERS® System.
  BIR                              Business Integration Resource. The MERS employee who assists you in
                                   incorporating the MERS® System into your business processes.
  Bulk Transfer                    The process of transferring the servicing rights of multiple loans on the MERS
                                   System in a one-time transaction.
  CEMA                             Consolidation, Extension, and Modification Agreement. Also known as MECA

  Check digit                      The final digit of the 18-digit Mortgage Identification Number (MIN), which is
                                   calculated using the MOD 10 Weight 2 algorithm.
  Co-Borrower                      The first borrower listed on the Security Instrument is the Primary Borrower for
                                   that loan on the MERS® System. Each additional borrower listed on the Security
                                   Instrument is a Co-Borrower for that loan on the MERS® System. Names listed on
                                   the Note but not the Security Instrument should be entered as Co-Borrowers on
                                   the MERS® System. Names listed on the Security Instrument but not the Note
                                   should not be entered on the MERS® System.
  Confirmation                     The transaction used by an Investor, Servicer, or Subservicer to indicate if a
                                   pending transfer transaction should be accepted or rejected.




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  Contact Types                        Accounts Billing (mandatory)
                                        Person from the Member’s organization designated to receive MERSCORP
                                        monthly invoices.
                                        IMPORTANT: There can only be one individual designated for this contact
                                        type. Any discrepancies should be directed to the MERSCORP Accounting
                                        Department at billing@mersinc.org.
                                    Compliance Officer
                                        An Officer, who is responsible for regulatory internal requirements for MERS®
                                        System Member.
                                    Customer Service Primary (mandatory)
                                        Contact from the Member’s organization for handling public requests for
                                        MERS® System Members
                                    Customer Service Secondary
                                        Back-up for Customer Service Primary contact.
                                    eRegistry (mandatory for eRegistry Members)
                                        Person who is a contact for MERS® eRegistry questions.
                                    Executive Sponsor (mandatory)
                                        The senior executive within the Member’s organization under whose
                                        management the MERS® System operation falls.
                                    Legal (mandatory)
                                        Designated individual at Member’s organization responsible for coordinating
                                        communication between the MERSCORP Law Department and the Member’s
                                        internal law department regarding litigation and other legal issues.
                                    Mail Room
                                        Contact responsible for handling MERS® System mail for Member.
                                    Operational (mandatory)
                                        Person(s) from the Member’s organization responsible for overseeing or
                                        conducting the day-to-day MERS® System functions. This contact-type
                                        appears on Member Search on the corporate website at www.mersinc.org,
                                        and in the Member Summary on MERS® OnLine, and MERS® Link.
                                    Property Preservation
                                        Contact for handling property preservation for MERS® System Members. This
                                        contact-type appears on Member Summary in MERS® OnLine and MERS®
                                        Link.
                                    Quality Assurance Officer (mandatory)
                                        Officer from the Member’s organization responsible for MERS® System
                                        Quality Assurance.
                                    System Administrator Primary (mandatory)
                                        Person from the Member’s organization responsible for setting up unique
                                        User ID(s) for each person at your company needing access to MERS® OnLine.
                                        This person maintains your organization’s User IDs and Roles, including
                                        password resets, and keeps your Member Information current.
                                    System Administrator Secondary
                                        Back-up for System Administrator Primary.
                                    Technical (mandatory for Members using System to System connectivity)
                                        Person from the Member’s organization responsible for providing technical
                                        support to ensure system compatibility with the MERS® System.
  Conversion                       The process by which an iRegistration loan is converted to a Non-MOM loan if it is
                                   assigned to MERS. Uses the Registration transaction.




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  Deactivation                     When a loan becomes inactive on the MERS System for one of the following
                                   reasons:
                                    Paid in Full (includes payoff, deed in lieu, short sale, etc.)
                                    Transfer to non-MERS Status
                                    Involuntary transfer/default by Servicer
                                    Involuntary transfer/default by Subservicer
                                    Foreclosure Complete
                                    Deactivated - Assigned from MERS for Default or Bankruptcy
  Deactivation Reversal            The process for reactivating a MIN that was deactivated in error.

  DTD                              Document Type Definition. A file that defines the “markup language” that will be
                                   used to describe the data. It defines and names the elements that can be used in
                                   the document, the order in which the elements can appear, the element attributes
                                   that can be used, and other document features.
  EDI                              Electronic Data Interchange. The system-to-system exchange of business
                                   transactions between one or more business partners in a standard format.
  eNote                            A Transferable Record as defined by ESIGN or UETA, whichever is applicable.

  ESIGN                            Electronic Signatures in Global and National Commerce Act.
                                   A federal statute that establishes the legal validity and enforceability of electronic
                                   signatures, contracts, and other records in interstate and foreign commerce
                                   transactions, if not superseded by certain state laws otherwise authorizing such
                                   activities.
  ETA                              Electronic Tracking Agreement. An agreement that is used when a mortgage
                                   originator pledges mortgages to a warehouse lender as collateral through a line of
                                   credit or other financing arrangement.
  FIPS Code                        The code assigned by the Federal Information Processing Standards (FIPS)
                                   Publications issued by the National Institute of Standards and Technology (NIST) to
                                   represent a county or other entity treated as an equivalent legal and/or statistical
                                   subdivision of the 50 states, District of Columbia, and the possessions and freely
                                   associated areas of the United States.
  Flat File Format                 This is the optional proprietary format for system-to-system input to the MERS®
                                   System. Members that are not X12 capable can use this format.
  Flow Loan Registration           A loan registered on the MERS System 270 days or less after the note date.

  Flow Transfer                    MERS defines flow as a Transfer Date 270 days or less after the Note Date. There is
                                   no fee for this transaction nor limitations to the number of times a MIN can be
                                   included in Flow Transactions.




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  Foreclosure Status               The field reflecting the current status of a MIN in foreclosure on the MERS®
                                   System. “Foreclosure Complete,” “Reinstated or modified (option 1), not assigned
                                   back to MERS-deactivate,” and “Assigned from MERS for Default or Bankruptcy”
                                   statuses deactivate the MIN. The following is a list of MERS foreclosure statuses:

                                      Foreclosure pending (option 2), retained on the MERS System*
                                      Foreclosure pending (option 3), iRegistration
                                      Reinstated or modified (option 1), assigned back to MERS*
                                      Reinstated or modified (option 1), not assigned back to MERS-deactivation*
                                      Reinstated or modified (option 1), not assigned back to MERS- iRegistration*
                                      Reinstated or modified (option 2)**
                                      Reinstated or modified (option 3)
                                      Foreclosure complete
                                      Foreclosure status reset
                                      Assigned from MERS for Default or Bankruptcy
                                    * This option is no longer available.

                                   **This option is only available as an update to a loan in pending (option 2) status.

  FTP                              File Transfer Protocol

  Funding Date                     Funding Date is defined as the date the borrower becomes obligated for the debt
                                   and interest starts to accrue. In some states, this may be different from the date
                                   the borrower signs the note, or the date the note is drawn.
  GAL Contact                      The email address provided by the Member for Service of Process and other
                                   MERS® System communications. To change this email address, the Member must
                                   contact the Help Desk.
  General Public                   Refers to any non-MERS Member who requests information. Only selected
                                   information will be accessible through an automated servicer identification system
                                   and the customer must provide required information to activate and release
                                   requested information.
  Help Desk                        Provides support of MERS® systems and procedures, via telephone and email, to
                                   MERS® System Members.
  Integration                      The process by which a Member completes procedural changes, training, and
                                   system testing of transactions prior to being live in the MERS® System.
  Interim Funder                   Organization with an interim financial interest on a loan prior to the sale of the
                                   loan to the permanent Investor, who has chosen to have their secured interest in
                                   each loan represented in a way that only they can release on the MERS® System .
  Interim Funder Interest          The financial interest on a loan that an organization has prior to the sale of the
                                   loan to the permanent Investor. Examples of organizations are warehouse lenders,
                                   Wall Street firms, and other parties that extend interim funding to originators.
  Intracompany Transfer            Transactions reflecting seasoned servicing transfers between the Org IDs named in
                                   a Parent/Child agreement are billed Intracompany Transfer fees rather than
                                   Seasoned Servicing Transfer fees.
  Investor                         The owner of the beneficial interest in a loan.




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  iRegistration                    Loan registered on the MERS® System for information only, where MERS is not the
                                   mortgagee. iRegistration loans may be included in transactions (e.g. TOS, TOB,
                                   deactivation, foreclosure), but assignment information is optional.
  Lender                           The payee on the note.

  Lien Release                     An instrument releasing the security interest recorded in the county land records
                                   (also discharge, satisfaction, reconveyance).
  Line of Business (LOB)           The types of business in which a Member is active on the MERS® System. These
                                   are listed in the Member’s Member Profile.
  Member                           An organization who has signed a Membership Application, received a unique Org
                                   ID, and been approved for Integration, but has not completed Resignation.
  Member Profile                   MERS-specific information about a MERS® System Member that is required at the
                                   time of initial setup. The member profile indicates the Member’s MERS business
                                   process preferences, billing, and other information.
  MERS                             Mortgage Electronic Registration Systems, Inc., a wholly owned subsidiary of
                                   MERSCORP, Inc. MERS acts as the mortgagee of record in the public land records
                                   and as nominee for the lender and its successors and assigns.
  MERS® 1-2-3                      A complete online solution to achieve MERS® Ready status for Lenders that sell
                                   loans servicing-released. Through interfaces with approved document preparation
                                   companies, it generates a MIN to be presented on a MOM security instrument or
                                   assignment. It also warehouses data to pre-populate the fields on the MERS
                                   Registration page, thereby eliminating approximately 80% of the required data
                                   entry.
  MERS® eDelivery                  A secure method for distributing eMortgage packages from one MERS® eRegistry
                                   Member to another, using the existing MERS® eRegistry infrastructure and
                                   transaction security requirements.
  MERS® eRegistry                  An system of record that identifies the current owner (Controller) and custodian
                                   (Location) of the authoritative copy of registered eNotes.
  MERS® InvestorID                 An initiative to provide more transparency regarding residential mortgage loans.

  MERS® Link                       Browser-based access to the MERS® System to retrieve information about the
                                   current Servicer of a mortgage registered on the MERS® System. If supported by
                                   the Servicer, it may have a “hot link” to the Servicer’s website for Customer
                                   Service information. MERS® Link also can be accessed via the American Land Title
                                   Association web site or through a subscription to the service
  MERS® Lite Member                A lender that has signed a MERS® System Member Agreement solely so that it can
                                   sell loans with MERS as the nominee for the lender on the security instrument to
                                   other MERS® System Members. This type of Member sells servicing-released
                                   within 30 days of loan closing.
  MERS® OnLine                     Browser-based access to the MERS System, found at www.mersonline.org.

  MERS® Project Manager            Person responsible for managing the implementation and integration of the
                                   MERS® System process into the Member’s operations. Receives Integration
                                   Surveys, and administrative access to the Corporate Resolution Management
                                   System (CRMS).




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  MERS® Servicer ID                Browser-based access to servicer contact information for loans registered on the
                                   MERS® System. Available to the public at www.mers-servicerid.org.
  MERS® System                     An electronic registry that tracks changes in loans servicing and beneficial
                                   ownership rights. Member companies update the registry via MERS® OnLine (the
                                   browser-based interface) or through batch file or XML interfaces.
  MERS® System                     Person from the Member’s organization responsible for setting up unique User
  Administrator                    ID(s) for each person at your company needing access to MERS® OnLine. This
                                   person maintains your organization’s User IDs and Roles, including password
                                   resets, and keeps your Member Information current.
  MERSCORP                         MERSCORP, Inc., owns and operates the MERS® System, the MERS® eRegistry,
                                   MERS® eDelivery, and MERS® Commercial. MERSCORP is the service provider for
                                   Mortgage Electronic Registration Systems, Inc.
  MIN                              Mortgage Identification Number. The MIN is an 18-digit number composed of the
                                   7-digit Organization ID, the 10-digit sequence number, and the check digit.
  MIN Archival                     The process that removes MINs that have been deactivated on the MERS System.
                                   Limited information is still available on the MIN.
  MIN Status                       The field reflecting the reason for current status of a loan on the MERS® System.

  MOM                              MERS as the Original Mortgagee. Language written into security instruments that
                                   establishes MERS as the Original Mortgagee and nominee for the Lender, its
                                   successors and assigns.
  My MERS                          The MERS® OnLine functionality that allows Members to create a list of frequently
                                   used Org IDs.
  Non-MOM                          A loan for which MERS is the mortgagee through an assignment.

  Note Date                        Note Date is the date on the Note. In some states, the date the borrower signs the
                                   note, or the date the note is drawn, may or may not be the actual date on which
                                   interest begins to accrue (see Funding Date).
  Option 1 (beneficial rights)     The lender/seller of the beneficial interest initiates the transfer of beneficial rights
                                   outside of MERS (e.g., using MIDANET or MORNET). The Investor sends
                                   confirmation of the transfer to MERS through an X12 transaction. Once the X12
                                   file is submitted, it cannot be canceled. Interim funding interests are released
                                   automatically when the X12 transaction is processed by the MERS® System.
  Option 1 MIN Cycling             The automated transaction that reprocesses MINs that have been rejected due to
                                   reason of non-registration, when delivery has been attempted to an Option 1
                                   Investor. The cycle and reprocess occurs for 10 calendar days from the effective
                                   Transfer Date.
  Option 1TOS (Default by          An Option 1 Investor may use this transaction to reflect a transfer of servicing on
  Servicer)                        that Investor’s loans to another MERS® System Member Servicer due to default by
                                   the previous MERS Servicer. This transaction is billed to the Investor, and leaves
                                   the loan active on the MERS® System.
  Option 2 (beneficial rights)     In the Option 2 process, the current Investor, Servicer, or Subservicer creates a
                                   beneficial rights transfer transaction. Then the new Investor confirms the transfer.
                                   Interim funding interests must be released separately.
  Optional EDI Format              See Flat File format.


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  Organization Identification      A MERS assigned seven-digit number uniquely identifying a Member of MERS.
  Number (Org ID)                  The seven digits of the Org ID comprise the first seven digits of the 18-digit MIN.

  Original Borrower                The entity listed as the borrower on the original note. May be different from the
                                   current borrower on a loan if the loan has been assumed.
  Original Note Holder             The loan originator, if not a MERS® System Member. Displayed as Originating
                                   Organization.
  Originating Org ID               The Org ID of the loan originator. This organization’s Org ID and Name are
                                   displayed as Originating Organization.

  Originating Organization         The originator of the loan. If the originator is a MERS® System Member, that
                                   Member’s Org ID is entered in the Originating Org ID field, and its Org ID and
                                   Name are displayed for Originating Organization. If the originator is not a MERS®
                                   System Member, the originator’s name is entered in the Original Note Holder
                                   field and displayed for Originating Organization.

  Parent/Child Relationship        Relationship established by MERS on the MERS® System for Members who
                                   execute a Parent/Child Agreement. Only the parent Org ID is billed Membership
                                   fees.

  Passive Investor                 An Option 2 Investor that is a MERS® System Member but does not actively
                                   confirm transfers to or from it on the MERS® System.
  Physical Transfer Date           The date of the loans are transferred in the MERS® System database. This date
                                   will be the same as the Transfer Date unless the buyer does not confirm the
                                   transfer on time.
  Pool Number                      The number assigned to a grouping of loans by the Investor; required for
                                   securitization.
  Pre-Closing                      Loan registered on the MERS® System before the note date with a status of Pre-
                                   Closing (not active). May be registered as an active iRegistration, MOM, or Non-
                                   MOM when the loan closes, but a Pre-Closing may not be updated or included in
                                   any other transaction except Registration Reversal.
  Post-Closing                     Transaction used to activate a loan previously registered as a Pre-Closing on the
                                   MERS® System when the loan closes.
  Primary Borrower                 The first borrower listed on the Note is the Primary Borrower for that loan on the
                                   MERS® System. Each additional borrower listed on the Note is a Co-Borrower for
                                   that loan on the MERS® System.
  Property Preservation            MERS® System Member with which a Servicer or Subservicer contracts to
  Company                          maintain a property.

  Property Preservation            Contact for inquiries about maintenance of properties.
  Contact
  Reactivation                     The process of activating a previously deactivated MIN for the same borrower,
                                   property, and lien type. MINs deactivated by Paid in Full or Foreclosure Complete
                                   cannot be reactivated.
  Recordation                      The act of recording the loan assignment and/or security instrument in the public
                                   land records.



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  Registrar                        A company to whom a Member has contracted business activities such that the
                                   Registrar would be the initiator of the business activity that triggers a transaction
                                   to the MERS® System.
  Registration                     The process of entering required information into the MERS System to report to
                                   MERS that a loan exists with MERS as the Mortgagee, or to reflect an iRegistration.
  Registration Reversal            The process of reversing a loan that was registered in error.

  Sale Date (servicing rights)     In a servicing transfer, the date the contractual servicing rights are transferred
                                   from seller to buyer. This date is stipulated in the Purchase and Sale Agreement.
  Seasoned Loan                    A loan registered on the MERS System more than 270 days after the note date.
  Registration
  Seasoned Transfer                MERS defines “seasoned” as Transfer Date more than 270 days after the note
                                   date. A seasoned loan transfer fee is charged to the seller for seasoned servicing
                                   transfers.
  Security Instrument (SI)         A formal legal document securing repayment of a debt (e.g. mortgage or deed of
                                   trust).
  Sequence Number                  The 10-digit number assigned by the MERS® System Member to uniquely identify a
                                   loan.
                                   The 10 digits of the sequence number comprise the 8th through 17th digits of the
                                   18-digit MIN.
  Servicer                         The entity that has the contractual right to service a loan and responsibility for the
                                   servicing of the loan for the Investor. In some cases the Servicer contracts with a
                                   Subservicer. If so, both the Servicer and the Subservicer must be MERS® System
                                   Members to register the loans on the MERS System.
  Servicer Identification          Telephone-based access to the MERS System. It allows anyone to query the
  System (SIS)                     system to obtain information on the current servicer on a MERS-registered loan.
                                   This system was previously named the Voice Response Unit (VRU).
  Servicing Rights                 The ownership rights of the current Servicer for servicing loans.

  Servicing Rights Transfer        The sale of servicing rights from the current Servicer to a new Servicer. These
                                   transfers are tracked for MERS® System Members on the MERS® System.
  SIS Number                       Servicer Identification System number: 888-679-MERS(6377)

  Standard EDI Format              Accredited Standards Committee X12 standard.

  Subservicer                      The entity with whom the Servicer has contracted to service its loans. The
                                   Subservicer is not the legal owner of servicing rights.
  System to System                 An alternative to using MERS ® OnLine, it’s a method of transmitting information
                                   directly from a Member or vendor system to the MERS® System. This includes flat
                                   files and EDI X12 transmissions.
  TOB                              Transaction used to reflect a Transfer of Beneficial rights on the MERS® System.
                                   See Beneficial Rights Transfer.
  TOS                              Transaction used to reflect a Transfer of Servicing rights on the MERS® System. See
                                   Servicing Rights Transfer.




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  TOS Option 1 (default by         Transaction used by an Option 1 Investor to reflect a Transfer of Servicing Rights
  servicer)                        on the MERS® System due to default by servicer.

  TOS/TOB Combo                    Transaction used to reflect a simultaneous transfer of beneficial rights and
                                   servicing rights to an Option 2 Investor. Both flow and seasoned loans may be
                                   included in this transfer.
  TPO                              Third Party Originator. This membership category is available for an organization
                                   that will close loans in their name with Mortgage Electronic Registration Systems,
                                   Inc. (MERS) as original mortgagee, but will not perform transactions or review
                                   reports on the MERS® System
  Transfer Cancellation Date       The date the transfer transaction is canceled on the MERS System if all MIN
                                   confirmations and rejections are not received.
  Transfer Creation Date           The date that the transfer transaction is initiated on the MERS System.

  Transfer Date (beneficial        The date beneficial ownership of a loan is transferred from one Investor to
  rights)                          another. In most cases this will be concurrent with the funding date by the new
                                   Investor.
  Transfer Date (servicing         According to the Purchase and Sale Agreement between the buyer and the seller,
  rights )                         the date the responsibility for servicing the loans passes from seller to buyer.

  Transfer to Non-MERS             Transaction used to deactivate a loan on the MERS® System when it is assigned out
  Status                           of MERS, transferred to a Non-MERS Member, and/or the Member no longer
                                   wishes to track it as an iRegistration on the MERS® System.
  UETA                             Uniform Electronic Transaction Act. A uniform form of statute that various states
                                   have enacted to establish the legal validity and enforceability of electronic
                                   signatures, contracts, and other records within the enforcing state; when enacted
                                   by a state, it may take the place of the provisions of ESIGN.
  Update                           A change to information outside of a previously defined business process
                                   (corrections, updates to previously null fields, etc.)
  Vendor                           A MERS® System Member who performs various transactions on the MERS®
                                   System on behalf of another Member under a contractual agreement.
  Warehouse/Gestation              Associated Member with an interim financial interest on a loan prior to the sale of
  Lender                           the loan to the permanent Investor. Their interest in each loan is released
                                   automatically when servicing is transferred. The Warehouse/Gestation Lender has
                                   view only access to the loan on the MERS® System.
  X12 Format                       A predefined non-proprietary layout at a transaction set level. This is the
                                   recommended format for system-to-system transmissions to the MERS® System.
  XML                              Extensible Markup Language. XML is a markup language designed specifically for
                                   delivering information over the World Wide Web. In creating an XML document,
                                   the user creates and assigns the element names.
  XML Inquiry                      Transaction used to look up information on loans matching search criteria entered
                                   using an XML request.
  XML Registration                 Transaction used to register loans on the MERS® System using an XML request.




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